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   Case 1:22-cv-01378-MN-JLH Document 155-1 Filed 07/07/23 Page 2 of 199 PageID #: 6145
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                             District
                                                       __________     of Delaware
                                                                   District of __________

                             Apple Inc.                                        )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      22-cv-1378-MN-JLH
       Masimo Corporation and Sound United, LLC                                )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                               Nonin Medical, Inc., 13700 1st Avenue N, Plymouth, MN 55441-5443
                             c/o Corporation Services Company, 2345 Rice St, Suite 230, Roseville, MN 55113
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV
                            SEE ATTACHMENT A
 Place: TransPerfect                                                                   Date and Time:
           150 S. 5th Street                                                                             08/08/2023 10:00 am
           Minneapolis, MN 55402

          The deposition will be recorded by this method:                     Stenographically, audiotaped, and videotaped

       ✔
       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                       See Schedule A (attached). Documents to be produced on or before July 21, 2023, to:
                       Jamie Kringstein, Desmarais LLP, 230 Park Avenue, New York, NY 10169
                       jkringstein@desmaraisllp.com


       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/06/2023
                                   CLERK OF COURT
                                                                                         OR
                                                                                                             /s/ Jamie L. Kringstein
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Apple Inc.                                                    , who issues or requests this subpoena, are:
Jamie Kringstein | Desmarais LLP | 230 Park Ave., New York, NY 10169 | 212-808-2921 | jkringstein@desmaraisllp.com

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 22-cv-1378-MN-JLH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                  ATTACHMENT A
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                                             SCHEDULE A

                                             DEFINITIONS

             The following terms shall have the meanings set forth below whenever used in any

   Definition, Instruction, Request for Production, or Deposition Topic.

             1.    As used herein, the terms “Nonin,” “You,” or “Your” means Nonin Medical, Inc.

   and all of its predecessors (merged, acquired, or otherwise), successors, subsidiaries, divisions,

   departments, and affiliates thereof, and all officers, directors, principals, agents, employees,

   attorneys, and other persons acting on their behalf.

             2.    As used herein, “Apple” means Apple Inc., all of its predecessors (merged,

   acquired, or otherwise), successors, subsidiaries, divisions, departments, and affiliates thereof, and

   all officers, directors, principals, agents, employees, attorneys, and other persons acting on their

   behalf.

             3.    As used herein, “Masimo” means Masimo Corporation, Cercacor Laboratories,

   Inc., and all their predecessors (merged, acquired, or otherwise), successors, subsidiaries, parents,

   sisters, divisions, departments, partnerships, and affiliates thereof, and all of their officers,

   directors, principals, agents, employees, independent contractors working under their control,

   attorneys, and other persons acting on their behalf.

             4.    As used herein, “Masimo Asserted Patents” means U.S. Patent No. 10,687,743

   (“the ’743 Patent”), U.S. Patent No. 10,722,159 (“the ’159 Patent”), U.S. Patent No. 8,190,223

   (“the ’223 Patent”), U.S. Patent No. 10,736,507 (“the ’507 Patent”), and U.S. Patent No.

   10,984,911 (“the ’911 Patent”).

             5.    As used herein, “Relevant Date” means September 20, 2012.

             6.    As used herein, “Exhibits” means Exhibits 1-3 attached hereto.
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            7.      As used herein, “Blood Oxygen and Heart Rate Features” means the product

   feature(s) relating to monitoring, measuring, sensing, detecting, and/or obtaining blood oxygen

   (SpO2) and/or heart rate measurements, including all hardware, software, firmware, components,

   modules, applications, and devices involved in such features, that were made or sold before the

   Relevant Date.

            8.      As used herein, “Product” means any machine, manufacture, apparatus, device,

   system, process, service, method, or instrumentality which is designed to function together

   electrically, mechanically, chemically, or otherwise, to achieve a particular function or purpose,

   including those offered for sale, sold, imported, or under development.

            9.      As used herein, “Relevant Products” means (1) Nonin Onyx II Model 9650, (2)

   Nonin WristOx2 Model 3150, (3) Nonin 4100, (4) Nonin OEM II Module, (5) Nonin 8500M, (6)

   Nonin nVision, (7) Microsoft Health Vault, (8) the products described in Exhibits 1-3, (9) any

   Product made or sold by or for You having Blood Oxygen and Heart Rate Features before the

   Relevant Date, (10) any related Products or modules having Blood Oxygen and Heart Rate

   Features before the Relevant Date, and (11) any other software programs, applications, or modules

   that display Blood Oxygen or Heart Rate from the Relevant Products.

            10.     As used herein, “Source Code” means any human-readable programming language

   or format that defines software, firmware or integrated circuits, including but not limited to,

   computer code, scripts, assembly, binaries, object code, Register Transfer Level (“RTL”)

   descriptions, VHDL, Verilog, and other Hardware Description Language (“HDL”) formats.

            11.     The term “Third Party” means any person or entity other than You, Masimo, or

   Apple.




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          12.     As used herein, the term “document” shall have the full meaning ascribed to it by

   the Federal Rules of Civil Procedure and includes the original and every non-identical copy or

   reproduction in Your possession, custody, or control, and further is used in a broad sense to refer

   to any electronically stored information (“ESI”) or any tangible object or thing that contains,

   conveys, or records information.

          13.     As used herein, the singular of any word shall include the plural, and the plural shall

   include the singular.

          14.     As used herein, “person” means any natural person or any business, legal, or

   governmental entity or association.

          15.     As used herein, “include” and “including” shall be construed to mean “without

   limitation,” so as to give the broadest possible meaning to interrogatories and definitions

   containing those words.

          16.     As used herein, “and” and “or” shall be construed conjunctively and disjunctively

   so as to acquire the broadest meaning possible.

          17.     As used herein, “any” and “all” shall each be construed to mean “each and every,”

   so as to acquire the broadest meaning possible.

          18.     As used herein, the singular of any word shall include the plural, and the plural shall

   include the singular.

          19.     As used herein, “related” or “relating” to any given subject means, without

   limitation, identifying, describing, discussing, concerning, assessing, stating, reflecting

   constituting, containing, embodying, tending to support or refute, or referring directly or indirectly

   to, in any way, the particular subject matter identified.




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          20.     As used herein, “identify” as applied to a document shall mean to specify: (a) the

   type of the document (i.e., whether it is a letter, memorandum, e-mail, etc.); (b) the document’s

   title and general subject matter; (c) the number of pages of the document; (d) the date the document

   was prepared; (e) the name of each and every author, addressee, distributor, and recipient of the

   document; (f) the date each distributor distributed the document and the date each recipient

   received the document; and (g) the name of each person that has or had possession, custody, or

   control of the document.

          21.     Any term not specifically defined herein shall be defined in accordance with normal

   usage as well as with the Federal Rules of Civil Procedure and the Local Rules of the United States

   District Court for the District of Delaware.




                                                    4
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                  INSTRUCTIONS FOR REQUESTS FOR PRODUCTION

        1.      Apple’s Requests for Production seek responsive documents and information

 sufficient to answer each of the Requests that are known or available You or in Your possession,

 custody, or control. If, after exercising due diligence to secure the documents or information

 requested, You cannot fully respond to a Request for Production, state that such is the case and

 answer to the fullest extent possible, stating what responsive documents or information are

 available, what documents or information cannot be provided, why the documents or information

 are unavailable, and what efforts were made to obtain the unavailable documents or information.

 If documents or information responsive to a Request in this subpoena are in Your control, but not

 in Your possession or custody, promptly identify the entity with possession or custody.

        2.      Regardless of whether a production is in electronic or paper format, documents that

 were maintained together before production should be produced in the same form, sequence,

 organization, or other order or layout as they were maintained, including any labels, file folders,

 file jackets, covers, or containers in which such documents are located or with which such

 documents are associated. If copies of documents are produced in lieu of the originals, such copies

 should be legible and bound or stapled in the same manner as the original.

        3.      These Requests for Production shall be deemed continuing. Documents located,

 and information learned or acquired, at any time after Your response is due must be promptly

 supplemented at the place specified in this subpoena.

        4.      A copy of the Protective Order entered in this Action for the protection of any

 requested proprietary, confidential, or commercially sensitive information is attached hereto.




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                                 REQUESTS FOR PRODUCTION

        1.      Documents sufficient to identify and describe the functionality, features, and

 operation of the Blood Oxygen and Heart Rate Features of the Relevant Products and all

 components, modules, applications, hardware, software, and firmware contained therein,

 including, without limitation, user manuals, brochures, presentations, user guides, product

 literature, engineering specifications, circuit diagrams, architectural diagrams, bills of materials,

 technical manuals, product specifications, data sheets, laboratory notebooks, research papers, test

 data and results, analyses, invention disclosure forms, reports, service manuals, operator’s

 manuals, implementation guides, white papers, product tutorials, and non-public documentation.

        2.      Documents sufficient to identify and describe the conception, design, research,

 development, testing, use, operation, maintenance, marketing, modifying, sale, offer for sale, and

 supply of the Relevant Products, including the persons and entities involved.

        3.      Documents, communications, and things comparing the Apple Watch to the

 Relevant Products.

        4.      Other versions of the Exhibits and documentation related to the Exhibits.

        5.      Documents sufficient to show the earliest dates that each of the Relevant Products

 were first conceived; reduced to practice; and made, sold, used (including by third parties such as

 end users), offered for sale, in public use, and otherwise available to the public in the United States,

 including but not limited to documents relating to any conference, seminar, exhibition, convention,

 or trade show at which such Product is or was discussed, referred to, advertised, displayed,

 demonstrated, or shown, such as, without limitation, product specifications, catalogs,

 announcements, advertisements, brochures, articles, pamphlets, price lists, invoices, purchase

 orders, sales records, or other promotional, marketing, or sales materials.

        6.      Publications related to the Relevant Products that were made available to the public.


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        7.     Three samples of each Relevant Product.

        8.     Source Code sufficient to show the functionality of the Blood Oxygen and Heart

 Rate Features of the Relevant Products.

        9.     Documents sufficient to show the authorship and authenticity of all the documents

 produced in response to this subpoena.




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                                      DEPOSITION TOPICS

        1.      The functionality, features, and operation of the Blood Oxygen and Heart Rate

 Features of the Relevant Products.

        2.      The earliest dates that each Relevant Product was reduced to practice, made, sold,

 offered for sale, in public use, or otherwise available to the public.

        3.      The subject matter contained within the documents produced in response to

 Requests For Production herein, including the authentication thereof.

        4.      The authorship and authenticity of the documents produced in response to the

 Requests For Production herein.




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                     EXHIBIT 1
Case 1:22-cv-01378-MN-JLH Document 155-1 Filed 07/07/23 Page 15 of 199 PageID #:
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                                                                          Pulse Oximetry | Fingertip




The Onyx®II, the most trusted name
in fingertip pulse oximetry, is now
integrated with Bluetooth Wireless
Technology allowing patients to
take vital signs anytime, anywhere.




  Bluetooth® 2.0 Store & Forward   Extended Range   SmartPoint
                                                             TM
                                                                  Power Saver   Patient Proof
Wireless Technology  Memory          up to 100m     Technology
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Oximetry Unplugged – Revolutionizing Disease Management
                                                 TM




                                  With the increased need for remote disease management, the Onyx II, Model 9560
                                  with Bluetooth® wireless technology provides a pulse oximetry monitoring solution
                                  that simplifies the exchange of secure information. The integration of interoperable,
                                  Bluetooth wireless technology in health monitoring devices will allow patients, along
                                  with their clinicians, to more easily monitor vital signs in environments never before
                                  possible. As a result, patients will be able to go about their daily activities and send their
                                  vital data wirelessly through communication devices such as
                                  cell phones, PDAs and PCs, etc.

The benefits of this revolutionary product also include dramatic cost savings and
reducing the strain put on over-crowded healthcare facilities. By working to streamline
the monitoring/data sharing process, breakthrough devices such as the Onyx II 9560
enable clinicians to remotely monitor patients with chronic diseases such as Chronic
Obstructive Pulmonary Disease (COPD), Congestive Heart Failure (CHF) or Asthma.




Onyx II 9560 – A Closer Look
                 ®




          Bluetooth® 2.0 Technology
    Engineered with Bluetooth 2.0 Wireless Technology, the Onyx II 9560
    provides a secure wireless connection for vital information exchange.
    Extremely versatile, it easily connects to communication devices (cell
    phones, PDAs, PCs, etc.). More importantly, the 9560 is designed
    to meet the requirements of the emerging Bluetooth Health Device
    Profile (HDP), IEEE 11073 and Continua standards.




           Store & Forward Memory
    Ensures ultimate versatility by allowing patients to take
    readings when a wireless connection is not possible.
    When the patient returns into range, The Onyx II 9560
    automatically transmits the time-stamped data. The Onyx
    II 9560’s memory storage provides a minimum of 20
    single point measurements.




              SP SmartPoint™ Technology
              SmartPoint Technology provides a fast and accurate snapshot of the patient’s SpO2 and pulse rate and
              eliminates the guesswork of determining which oximetry values to use for analysis. The SmartPoint
              algorithm automatically determines when a high quality measurement is ready to be wirelessly
              transmitted and each measurement includes an indicator of quality.
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Clinically Proven Oximetry
Since 1995, Over One Million Onyx Devices Sold
The Nonin Onyx is the most widely used and trusted fingertip pulse oximeter by clinicians
and patients worldwide. The Onyx is a proven performer with the widest range of
patients from pediatric to adult, light to dark skin tones and good to low perfusion. The
accuracy of Onyx fingertip oximeters is a result of Nonin Medical’s superior PureSAT®
signal processing technology that removes noise, artifact and/or interference that may
affect readings — providing consistently accurate oximetry readings you can depend on.
                                                                                                             Onyx®, The World’s First Fingertip
                                                                                                             Pulse Oximeter
Revolutionary Onyx II, Model 9560
                                      The Onyx II, Model 9560 with Bluetooth wireless technology is designed with our proven
                                      PureSAT® oximetry technology and delivers the trusted, precision accuracy of the entire Onyx
                                      line. And now with the advantage of wireless monitoring capabilities — the built to last and
                                      easy-to-use Onyx II 9560 provides unparalleled versatility for patient and clinician. Plus, with
                                      the addition of innovative
                                      new features such as
                                      Extended Range and
                                      Power Saver — it’s ideal                              Why Bluetooth             ®


                                      for home patient use.              Bluetooth is a proven and widely accepted technology that
Onyx® II, Model 9560 - The World’s
                                                                           provides freedom from wired connections. An automatic wireless
First Bluetooth® Wireless Fingertip
Pulse Oximeter                                                             connection provides fast, reliable and secure transmissions of
                                                                           data even when the devices are not in line-of-sight. Bluetooth
                                                                           uses a license-free, globally available frequency range in
                                                                           the Industrial Scientific Medical (ISM) band — to ensure
       Extended Range
                                                                           communication compatibility worldwide.
 The Onyx II 9560 provides an extended range of up to 100
 meters (Class I) for added mobility and independence.                     Nonin products continue to revolutionize the way you look at
                                                                           pulse oximetry. With the integration of Bluetooth Wireless 2.0
                                                                           Technology into the Onyx II 9560 Fingertip Pulse Oximeters,
                                                                           Nonin is the first to eliminate the wire between the patient and
                  Patient Proof                                            the display.
            Unmatched durability for the home care environment,            The choice of Bluetooth Wireless Technology also offers other
            we’ve made the Onyx II 9560 rugged to take a beating           advantages:
            day after day. The most widely used fingertip oximeter
            comes with no wires or cables to hassle with, an               ü Internationally accepted communication standard
            automatic turn on/turn off, and is as convenient and           ü Ideal for short and long-range use up to a 100 meter radius
            easy-to-use as possible.
                                                                           ü Low power for long
                                                                             battery life
                                                                           ü Technology allows for
      Power Saver       TM

                                                                             compact design                 100m
Unlike traditional Bluetooth devices, the Onyx II 9560 has a new
                                                                           ü Reliable connections
power saving feature that automatically adjusts transmitted
power based on distance from the main unit. This unique feature            ü Data encryption feature to                     100m
allows for approximately 600 spot checks on 2 AAA batteries.                 safeguard patient data
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                                              6161
                                                                                          Nonin Medical, Inc.
                                                                                          13700 1st Avenue North                                 Phone: +1.763.553.9968
                                                                                          Plymouth MN 55441-5443, USA                            Fax:       +1.763.553.7807
                                                                                ®         Email: info@nonin.com                                  Toll Free: 800.356.8874



                 Your Partner of Choice. With more than 20 years of experience and dedication to the design and support of
                 noninvasive monitoring devices, NONIN has helped many medical professionals meet clinical and economic objectives.
                 Trusted by clinicians worldwide, countless tests are performed every day using NONIN pulse oximeters in more than
                 125 countries. More than 90 OEM partners around the world also rely on NONIN’s digital technology to successfully
                 integrate superior pulse oximetry and capnography into their products. NONIN’s dedication to technological leadership,
                 precision manufacturing and uncompromised customer support ensures quality products and service you expect.


                 www.nonin.com




Specifications
Oxygen Saturation Display Range                       0 – 100% SpO2                       Antenna
                                                                                              Type:                                               L-shaped PWB whip-type antenna
Pulse Rate Display Range                              18 to 321 beats per minute (BPM)
                                                                                          Transmitter
Oxygen Saturation Declared Accuracy Range (Arms*) 70 – 100% SpO2 ±2 digits                    Bluetooth Compliance:                               Version 2.0
Low Perfusion Oxygen Saturation Declared                                                  Operating Frequency:                                    2.4 – 2.4835 GHz
Accuracy Range (Arms*)                                70 – 100% SpO2 ±2 digits                Output Power:                                       <20 dBm
                                                                                              Operating Range:                                    100-meter radius indoors***
Pulse Rate Declared Accuracy Range (Arms*)            20 – 250 BPM ±3 digits                  Network Topology:                                   Star
                                                                                              Operation:                                          Bluetooth Slave
Low Perfusion Pulse Rate Declared Accuracy                                                    Antenna Type:                                       Internal
Range (Arms*)                                         40 – 240 ±3 digits                      Modulation Type:                                    Gaussian Frequency Shift Keying (GFSK)
Measurement Wavelengths and Output Power**                                                Frequency Hopping Spread Spectrum
   Red:                                    660 nanometers @ 0.8 mw maximum average            Band Width:                                         1 MHz
   Infrared:                               910 nanometers @ 1.2 mw maximum average

Temperature
    Operating:                                        +41° to +104°F / 5° to +40°C
    Storage/Transportation:                           -40° to +158°F / -40° to +70°C      Classifications per IEC 60601-1 / CSA 601.1 / UL 60601-1
                                                                                               Degree of Protection:                             Type BF-Applied Part
Humidity                                                                                       Enclosure Degree of Ingress Protection:           IP32
   Operating:                                         10 – 95% noncondensing                   Mode of Operation:                                Continuous
   Storage/Transportation:                            10 – 95% noncondensing

Altitude
                                                                                          This product complies with ISO 10993-1.
     Operating:                                       Up to 40,000 feet / 12,192 meters
     Hyperbaric Pressure:                             Up to 4 atmospheres                 *± 1 Arms represents approximately 68% of measurements.
                                                                                          **This information is especially useful for clinicians performing photodynamic therapy.
Battery Life
                                                                                          ***Line of sight when connected to a Class I device.
    Operating:                                        Approximately 600 spot checks
    Storage:                                          1 year, minimum                     Specifications are subject to change without notice.




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6459-001-01
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                                    6162




                     EXHIBIT 2
    Case 1:22-cv-01378-MN-JLH Document 155-1 Filed 07/07/23 Page 20 of 199 PageID #:
                                        6163
                                                                   Rev.      CR/CO          Date          Orig.
                                                                    A         8781        12/09/13         PDL
                                                                    B         9001        05/06/14         MLJ
                                                                    C         9213        09/11/14         MLJ
                                                                    D         10199        7/13/16         MLJ




NOTES:
  1. Compact Disk
     Material: Standard 12cm CD, replication or duplication
     Text and graphics: Black 1/c screen
     CD Graphics per Nonin electronic file 9584-000-04.eps
  2. Packaging
     Material: White paper sleeve with clear window. CD text and graphics must be visible through clear window.
  3. See sheet 2 for Master CD Directory.
  4. Sheet 3 of 3 is the CD.




Prepared By                     Date

MLJ                             06/13/16
Checked By                      Date
                                                                      MEDICAL, INC. MINNEAPOLIS, MN
BAK                             7/14/16


Title:                                                  Part Number              Rev            Sheet

OPERATORS MANUAL (CD), 3150                             9584-000                 D              1 of 2
    Case 1:22-cv-01378-MN-JLH Document 155-1 Filed 07/07/23 Page 21 of 199 PageID #:
                                        6164



                                      MODEL 3150 OPERATOR’S MANUAL
                                           MASTER CD DIRECTORY


         CD Directory:

         Volume in drive E is 3150 WristOx2
         Volume Serial Number is D42B-E542

         11/13/2015 02:33 PM       309,425   8266-000-03_SensorAccuracy.pdf
         06/13/2016 03:25 PM <DIR>         Operators Manuals
         10/01/2015 03:07 PM <DIR>         USB Driver
                  1 File(s)  309,425 bytes

         Directory of Operators Manuals

         06/13/2016 03:25 PM <DIR>         .
         06/13/2016 03:25 PM <DIR>         ..
         06/13/2016 03:15 PM      5,816,529     9584-001-04_3150_OperatorsManual_ENG.pdf
         06/06/2016 01:26 PM      5,934,574     9584-002-04_3150_OperatorsManual_FRE.pdf
         06/06/2016 03:53 PM      5,933,868     9584-003-04_3150_OperatorsManual_GER.pdf
         06/06/2016 03:37 PM      6,541,624     9584-004-04_3150_OperatorsManual_ITA.pdf
         06/13/2016 01:43 PM      5,835,841     9584-005-04_3150_OperatorsManual_SPA.pdf
         06/07/2016 08:11 AM      5,905,837     9584-006-04_3150_OperatorsManual_POR.pdf
         06/07/2016 09:29 AM      5,885,692     9584-007-04_3150_OperatorsManual_DUT.pdf
         06/07/2016 10:27 AM      6,264,182     9584-008-04_3150_OperatorsManual_GRK.pdf
         06/07/2016 11:50 AM      5,743,415     9584-009-04_3150_OperatorsManual_DAN.pdf
         06/07/2016 01:43 PM      5,716,940     9584-010-04_3150_OperatorsManual_SWE.pdf
         06/07/2016 02:07 PM      5,750,198     9584-011-04_3150_OperatorsManual_FIN.pdf
         06/07/2016 03:18 PM      6,158,175     9584-012-04_3150_OperatorsManual_POL.pdf
         06/13/2016 01:51 PM      5,772,387     9584-016-04_3150_OperatorsManual_NOR.pdf
                 13 File(s) 77,259,262 bytes

         Directory of USB Driver

         10/01/2015 03:07 PM <DIR>        .
         06/13/2016 03:25 PM <DIR>        ..
         12/12/2013 09:02 AM       2,068 NoninUSBDriver-CDC.inf
         12/12/2013 09:02 AM       8,661 nonin.cat
                  2 File(s)  10,729 bytes

           Total Files Listed:
                 16 File(s) 77,579,416 bytes
                 6 Dir(s)       0 bytes free



Title:                                                 Part Number            Rev          Sheet

OPERATORS MANUAL (CD), 3150                            9584-000               D            2 of 2
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                       Operator’s Manual

                               Model 3150
                 WristOx2® Pulse Oximeter

              Wrist-Worn Pulse Oximeter
               with Bluetooth® Wireless
                            Technology




       0123                                                  English
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                                    6166



          CAUTION: Federal law (USA) restricts this device to sale by or on the order of
          a licensed practitioner.

          Consult Instructions for Use.


 Nonin® reserves the right to make changes and improvements to this manual and the products it
 describes at any time, without notice or obligation.
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                                            nonin.com


                                             0123



                                             EC   REP

                               MPS, Medical Product Service GmbH
                                        Borngasse 20
                                 D-35619 Braunfels, Germany

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                                          9584-001-04
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 Indications for Use                6171



 Indications for Use
 The Nonin WristOx2®, Model 3150 Pulse Oximeter is a small, wrist-worn device indicated for
 use in measuring, displaying, and storing functional oxygen saturation of arterial hemoglobin
 (%SpO2) and pulse rate. It is intended for spot-checking and/or data collection and recording of
 adult and pediatric patients, during both no motion and motion conditions, and for patients who
 are well or poorly perfused. The intended use environments are hospitals, medical facilities,
 ambulatory, subacute, and sleep study environments, and mobile units.


 Warnings
  Do not use this device in a Magnetic Resonance (MR) environment or in the presence of flammable anesthetics
  or gases.
  This device is not defibrillation proof per IEC 60601-1.
  This device is intended only as an adjunct device in patient assessment. It must be used in conjunction with
  other methods of assessing clinical signs and symptoms.
  Check the pulse oximeter sensor application site every 4 hours to determine the positioning of the sensor
  and the circulation and skin sensitivity of the patient. Patient sensitivity varies depending on medical status or
  skin condition.
  Avoid excessive pressure to the sensor application site as this may cause damage to the skin beneath the sensor.
  Carefully route patient cables and connections to reduce the possibility of patient entanglement, strangulation, or
  injury to the patient.
  To avoid patient injury, use only Nonin-branded PureLight® pulse oximeter sensors. These sensors are
  manufactured to meet the accuracy specifications for Nonin pulse oximeters. Using other manufacturers’
  sensors can result in improper pulse oximeter performance.
  To prevent improper performance and/or patient injury, verify compatibility of the monitor, sensor(s), and
  accessories before use.
  No modifications to this device are allowed as it may affect device performance.
  The USB cable must be unplugged from the device before replacing batteries.
  Before changing the batteries, make sure the device is off and the sensor is not applied to a digit.
  This device should not be used adjacent to or stacked with other equipment. If adjacent or stacked use is
  necessary, the device should be observed carefully to verify normal operation.
  The use of accessories, sensors, and cables other than those listed in this manual may result in increased
  electromagnetic emission and/or decreased immunity of this device.
  Do not use the device when alarms are required.
  Do not use a damaged sensor. If the sensor is damaged in any way, discontinue use immediately and replace
  the sensor.
  This equipment complies with International IEC 60601-1-2 for electromagnetic compatibility for medical electrical
  equipment and/or systems. This standard is designed to provide reasonable protection against harmful
  interference in a typical medical installation. However, because of the proliferation of radio-frequency
  transmitting equipment and other sources of electrical noise in healthcare and other environments, it is possible
  that high levels of such interference due to close proximity or strength of a source might disrupt the performance
  of this device. Medical electrical equipment needs special precautions regarding EMC, and all equipment must
  be installed and put into service according to the EMC information specified in this manual.
  Only use Nonin-branded sensors with a length of 1 meter or less. Accuracy may degrade if sensor cable is over
  1 meter in length. Using the sensor cable adapter does not affect accuracy.


                                                                                                                        1
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                                    6172                         Indications for Use




  Cautions
  If this device fails to respond as described, refer to “Troubleshooting” or discontinue use until the situation has
  been corrected. Contact Nonin Technical Service.
  This device has motion tolerant software that minimizes the likelihood of motion artifact being misinterpreted as
  good pulse quality. In some circumstances, however, the device may still interpret motion as good pulse quality.
  Do not place liquids on top of this device.
  When setting the clock in Programmed Mode using nVISION software, verify all set times and dates are valid.
  Do not place the WristOx2, Model 3150, in liquid or clean it with agents containing ammonium chloride or
  isopropyl alcohol. Refer to the “Care and Maintenance” section of this operator’s manual.
  Use a detergent that is safe for skin and washable surfaces. Most detergents can be high sudsing, so use
  sparingly. Wipe with a damp, detergent free cloth to remove residue.
  After cleaning the single-patient use wristband, it should only be applied to the same patient; do not apply it to a
  different patient.
  Follow local, state, and national governing ordinances and recycling instructions regarding disposal or recycling
  of the device and device components, including batteries.
  In compliance with the European Directive on Waste Electrical and Electronic Equipment (WEEE) 2002/96/EC,
  do not dispose of this product as unsorted municipal waste. This device contains WEEE materials; please
  contact your distributor regarding take-back or recycling of the device. If you are unsure how to reach your
  distributor, please call Nonin for your distributor’s contact information.
  This device is designed to determine the percentage of arterial oxygen saturation of functional hemoglobin.
  Factors that may degrade pulse oximeter performance or affect the accuracy of the measurement include the
  following:
  - excessive ambient light             - incorrect sensor type                - methemoglobin
  - excessive motion                    - poor pulse quality                   - dysfunctional hemoglobin
  - electrosurgical interference        - venous pulsations                    - artificial nails or fingernail
  - blood flow restrictors (arterial    - anemia or low hemoglobin                polish
     catheters, blood pressure cuffs,      concentrations                      - residue (e.g., dried blood, dirt,
     infusion lines, etc.)              - cardiogreen and other                   grease, oil) in the light path
  - moisture in the sensor                 intravascular dyes
  - improperly applied sensor           - carboxyhemoglobin

  When using the monitor in the home, avoid exposing the monitor to lint and dust.
  When using the monitor around small children and pets, avoid leaving the monitor unattended. Cables pose a
  risk of injury, including strangulation.
  Do not perform any testing or maintenance on this device while it is being used to monitor a patient.
  This device is a precision electronic instrument and must be repaired by Nonin Technical Service. Field repair of
  this device is not possible. Except to replace batteries, do not attempt to open the case or repair the electronics.
  Opening the case may damage the device and void the warranty.
  Verify all visible indicators appear during the start-up (initialization) sequence. If any indicator does not appear,
  do not use the device. Contact Nonin Technical Service for assistance.
  Portable and mobile RF communications equipment can affect medical electrical equipment.
  Batteries may leak or explode if used or disposed of improperly. Remove batteries if the device will be stored for
  more than 30 days. Do not use different types of batteries at the same time. Do not mix fully charged and
  partially charged batteries at the same time. These actions may cause the batteries to leak.
  To avoid the risk of confusing or misinterpreting patient data when transmitting data via Bluetooth, verify the
  device is paired with the correct display unit.
  The pulse oximeter may not work when circulation is reduced. Warm or rub the finger or reposition the sensor.


 2
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 Indications for Use                6173




 Cautions (Continued)
  A functional tester cannot be used to assess the accuracy of the oximeter or sensor.
  Do not fasten the device too tightly around the patient’s wrist. Inaccurate readings and patient discomfort could
  result.
  If the WristOx2, Model 3150 is being used with wireless communication, use the device within its designated
  range of approximately 100 meters (spherical radius). Moving outside this range may cause missing or lost data.
  Failure of a network data coupling (serial cable/connectors/wireless connections) will result in loss of data
  transfer.



 Declaration of Conformity with FCC and Canadian Ministry of
 Health Rules for Electromagnetic Compatibility
 • Nonin Medical, Inc., of 13700 1st Avenue North, Plymouth, Minnesota, 55441, declares
   under its sole responsibility that Model 3150, WristOx2 Pulse Oximeter, to which this
   declaration relates, complies with part 15 of the FCC Rules. Operation is subject to the
   following two conditions: (1) this device may not cause harmful interference, and (2) this
   device must accept any interference received, including interference that may cause
   undesired operation.
 • Ministry of Health (Canada), Safety Code 6: standards include a substantial safety margin
   designed to ensure the safety of all persons, regardless of age and health. The exposure
   standard for wireless mobile phones employs a unit of measurement known as the Specific
   Absorption Rate, or SAR. The SAR limit set by the FCC is 1.6 W/kg.


 NCC
 警語低功率電波輻射性電機管理辦法第十二條經型式認證合格之低功率射頻電機，非經許可，公
 司、商號或使用者均不得擅自變更頻率、加大功率或變更原設計之特性及功能。第十四條低功率
 射頻電機之使用不得影響飛航安全及干擾合法通信；經發現有干擾現象時，應立即停用，並改善
 至無干擾時方得繼續使用。前項合法通信，指依電信規定作業之無線電信。低功率射頻電機須忍
 受合法通信或工業、科學及醫療用電波輻射性電機設備之干擾

 在 5.25-5.35 秭赫頻帶?操作之無線資訊傳輸設備，限於室?使用。


 Federal Communications Commission (FCC) Notice
 This device has been tested and found to comply with the limits for a class B digital device,
 pursuant to part 15 of the FCC Rules. These limits are designed to provide reasonable
 protection against harmful interference in a residential installation. This device generates, uses,
 and can radiate radio frequency energy. If not installed and used in accordance with the
 instructions, it may cause harmful interference to radio or television reception, which can be
 determined by turning the device off and on. The user is encouraged to try to correct the
 interference by one or more of the following measures:

 • Reorient or relocate the receiving antenna.
 • Increase the distance between the device and the receiver.


                                                                                                                      3
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                                    6174                         Indications for Use




 • Connect the device to an outlet on a circuit different from the outlet where the receiver is
   connected
 • Consult the dealer or an experienced radio/TV technician for assistance.
 • RF Exposure: For body worn operation, to maintain compliance with FCC RF exposure
   guidelines, use only accessories that contain no metallic components. Use of other
   accessories may violate FCC RF exposure guidelines and should be avoided.
 • The WristOx2, Model 3150, is designed and manufactured not to exceed the emission limits
   for exposure to radio frequency (RF) energy set by the United States FCC. These limits are
   part of comprehensive guidelines and establish permitted levels of RF energy for the
   general population. The guidelines are based on the safety standards previously set by both
   U.S. and international standards bodies. This device has been shown to be compliant for
   localized specific absorption rate (SAR) for uncontrolled environment/general population
   exposure limits specified in ANSI/IEEE Std. C95.1-2005.
 • The FCC requires the user to be notified that any changes or modifications to this device
   that are not expressly approved by Nonin Medical, Inc. may void the user’s authority to
   operate the device.
 Nonin’s use of Bluetooth wireless technology allows SpO2, pulse rate, and plethysmographic
 data to be transmitted through a Bluetooth radio to a compatible Bluetooth-enabled device.
 Nonin’s system removes the connection from the sensor cable to the display device, giving
 patients increased ability to move freely—without being hindered by cables. Nonin’s patient
 module uses a Bluetooth radio with a range of about 100 meters (328 feet) (spherical radius).




                                     100 m



                                                   100 m




 Point-to-Point Communications
 The WristOx2, Model 3150, features point-to-point communications, allowing one master device
 (the display device) to be paired to one slave device (the patient module). Once connected,
 neither device is detectable by any other Bluetooth-enabled device, which reduces the risk of
 interference and preserves data integrity.

         CAUTION: If the WristOx2, Model 3150 is being used with wireless communication,
     !   use the device within its designated range of approximately 100 meters (spherical
         radius). Moving outside this range may cause missing or lost data.



 4
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 Guide to Symbols                   6175



 Guide to Symbols
 This chapter describes the symbols that are found in this manual and on the WristOx2,
 Model 3150. Detailed information about display symbols can be found in “Displays, Controls,
 and Indicators.”

                                    Table 1: Labeling Symbols

    Symbol                                          Description

                  Caution!
          !
                  Consult Instructions for Use.


                  Follow Instructions for Use.


     EC   REP     Authorized Representative in the European Community.

                  CE Marking indicating conformance to EC directive No. 93/42/EEC concerning
     0123         medical devices.

                  Type BF-Applied Part (patient isolation from electrical shock)


                  No alarms


                  Indicates separate collection for electrical and electronic equipment (WEEE).

                  Continua Certified™ signifies that this product has been tested and proven to be
                  interoperable with other products that carry the Continua Certified symbol.

              ®
                  Bluetooth® figure mark


                  Non-ionizing electromagnetic radiation. Equipment includes RF transmitters.
                  Interference may occur in the vicinity of equipment marked with this symbol.

                  UL Mark for Canada and the United States with respect to electric shock, fire,
                  and mechanical hazards only in accordance with:
                  • ANSI/AAMI ES60601-1 (2005 + C1:09 + A2:10) and CAN/CSA-C22.2 No.
                    60601-1 (2008)
                  • ISO 80601-2-61:2011
                  Protected against spraying water and against access to hazardous parts with a
     IP33         tool, per IEC 60529.



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                                    6176                         Guide to Symbols




                         Table 1: Labeling Symbols (Continued)

     Symbol                                   Description

              Manufacturer


              Serial Number
     SN
     REF      Catalogue Number


     QTY      Quantity

              Date of Manufacture


              Country of Manufacture
      US


              Storage/shipping Temperature Range


              RoHS Compliant (China)

              Medical prescription required




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 Displays, Controls, and Indicators 6177



 Displays, Controls, and Indicators

                  Activation Switch               Sensor Port




                       Figure 1: Front Display (Startup Screen)



                        %SpO2 Display
                        This 3-digit display, located in the upper left corner of the LCD,
                        shows percent blood oxygen saturation (%SpO2). The range is
                        from 0 to 100 %.

                        This display also shows the month, year, and hour (24-hour
                        clock format) during startup.


                        Pulse Rate Display
                        This 3-digit display, located below the %SpO2 display, shows the
                        pulse rate in beats per minute (BPM). The range is from 18 to
                        321 BPM.

                        This display also shows the day and minute during startup.




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                                    6178               Displays, Controls, and Indicators




                           Activation Switch
                           This switch is located next to the sensor port.

                           Pressing this switch activates the Bluetooth radio for 3 minutes.

                           It can also be used to turn the device on when it is in Standby
                           mode. See “Activation Switch” section for more information.


                           Sensor Fault Indicator
                           This indicator displays if the device determines a sensor fault
                           exists (e.g., sensor disconnect, misalignment, or incompatibility
                           with the device). It also displays when the finger is removed from
                           the sensor.


                           Pulse Strength Indicator
                           A pulse strength indicator displays when the device is recording
                           data. The number bars on the display depends on the pulse
                           strength as determined by the oximeter.

                           Full and Partial Display Mode – This heart-shaped indicator is
        Full and Partial   followed by up to nine curved bars and displays next to the pulse
         Display Mode      rate.

                           Memory Volume (MVI) Display Mode – This indicator consists
                           of up to nine curved bars and displays next to the minutes of
        Memory Volume      stored data. For more information, see “Memory Volume (MVI)
         Display Mode      Display Mode” on page 14.


                           Poor Pulse Signal Indicator
                           This indicator displays when the pulse signal is inadequate or
                           the device does not sense a pulse. It may also display if there is
                           excessive motion at the sensor site.




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 Displays, Controls, and Indicators 6179



                         Battery Indicator
        Full
                         This indicator shows remaining battery life as either full, half, low,
        Half             and critical (as shown at left).

        Low              Replace the batteries when device reaches low state.

      Critical           When the battery reaches critical state:
                         • All indicators clear from the display except for the blinking
                           critical battery indicator.
                         • The current session closes.
                         • The Bluetooth radio shuts down.
                         • The clock settings are lost.
                         • The device reverts to Spot Check mode.


                         Bluetooth Indicator
                         This indicator displays when the Bluetooth radio is on. It appears
                         as either the Bluetooth logo or the Bluetooth logo with animated
                         bars.
           Bluetooth
           indicator     This indicator displays for the first 2 minutes the device is on. If a
                         master device does not connect to the device in those 2 minutes,
                         the Bluetooth radio shuts down and the icon no longer displays.

                         When the device is connected to a master device, the indicator
                         displays with animated bars.
          Bluetooth
        indicator with
                         If the Bluetooth radio is on when the device enters Standby
        animated bars
                         mode or connects to the USB interface cable, the Bluetooth
                         indicator appears on the LCD while the Bluetooth radio shuts
                         down. It will be the only indicator on the LCD and will display for
                         up to 10 seconds.


                         SmartPoint Indicator
                         This indicator displays during the startup sequence.




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                                    6180                              Introduction




 Introduction
 The Bluetooth-enabled WristOx2, Model 3150, is a small, wrist-worn device that displays,
 measures, and stores patient SpO2 and pulse rate data. The device includes a Bluetooth radio
 with a range (spherical radius) of approximately 100 meters (328 feet).

 The device ships ready to use in Spot Check turn on mode. In Spot Check turn on mode,
 inserting a finger in the sensor automatically turns the device on. Approximately 10 seconds
 after the finger is removed, the device enters Standby mode.

 Advanced memory and programming features are available with Nonin’s nVISION® software
 (version 6.3 or greater). See the “nVISION Software” section to learn more about using the
 device with nVISION.

 NOTE: If using the WristOx2, Model 3150 with 3rd party software, please disregard
 nVISION information.


 Unpacking the WristOx2, Model 3150
 The WristOx2, Model 3150, standard or starter kit includes the items listed below. Once the
 shipping carton is unpacked, verify these items were received. Contact the carrier immediately
 if the shipping carton is damaged.


 Standard Kit
 • Model 3150, WristOx2 Pulse Oximeter
 • Model 8000SM-WO2, reusable soft sensor
 • 1 wristband
 • 2 AAA (1.5 volt) alkaline batteries
 • Operator’s manual (CD)
 • USB driver software (on operator’s manual CD) – required to use the PC USB interface cable


 Starter Kit
 A starter kit is required to configure the device and download data to a PC. The starter kit
 consists of the standard kit, plus:

 • 3 wristbands
 • nVISION SpO2 data management software (CD)
 • Model 3150SC, PC USB interface cable


 Batteries
 The device uses 2 AAA batteries.

 With new alkaline batteries, battery life is approximately 53 hours (minimum) when not
 connected to a Bluetooth device. When connected to a Bluetooth device, battery life will vary
 depending on class of operation. See “Specifications” for detailed battery life information.
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 Introduction                       6181


 The battery indicator shows one of four states: full, half, low, and critical. Replace the batteries
 when device reaches low state. A low battery has a minimum of 10 minutes before it reaches
 critical state. Actual battery life depends on Bluetooth radio use. In critical battery mode:
 • The battery indicator blinks.
 • The device no longer monitors or records patient data.
 • The clock settings are lost.
 • The device reverts to Spot Check mode.
 When batteries are removed in low battery mode, the device maintains the time and date for up
 to 30 seconds. After battery replacement, check the device’s screen during startup to ensure
 date and time are set. Use nVISION software to synchronize the clock and change the operation
 mode (see “Accessing nVISION Settings” on page 29).

 Remove the batteries and disconnect the sensor if the device is to be stored for more than
 1 month. In storage, battery life is approximately 9 months.

 NOTES:
 • This device contains non-volatile memory. Removing or replacing batteries does not affect
   the data stored in memory. Stored data remains in memory until overwritten by newer data
   or cleared from memory with nVISION software (version 6.3 or greater).
 • If batteries are replaced while recording data, the session will terminate and some data
   from the session may not be saved. The terminated session will be time stamped with the
   current date/time the next time the device turns on.
 • To avoid potential battery cell damage for all battery types, remove batteries from the
   device when the critical battery indicator displays. Leaving rechargeable batteries in the
   device during critical battery will decrease battery life.
 • If clock settings are lost, the date and time restarts at 01:01:10:00:00.


 Bluetooth Technology
 Bluetooth technology allows wireless connections between electronic communications and
 computing devices. The technology is based on a radio link that offers fast and reliable data
 transmissions. Bluetooth uses a license-free, globally available frequency range in the ISM
 band—intended to ensure communication compatibility worldwide.
 Nonin’s use of Bluetooth wireless technology allows SpO2 and pulse rate data to be transmitted
 through a Bluetooth radio to a compatible Bluetooth-enabled device. Nonin’s wireless system
 removes the cable connection from the device, giving patients increased ability to move freely.

 To make efficient use of battery life, Nonin’s WristOx2, Model 3150, uses an automatically
 switchable Class 1/Class 2 Bluetooth radio with a maximum range (spherical radius) of about
 100 meters (328 feet). Obstacles and other conditions may affect range, and class of operation
 and connection mode will impact battery life. See “Specifications” for detailed battery life
 information.




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                                    6182                          Operation Modes




 Operation Modes
 The WristOx2, Model 3150, has three states: Cable, Standby, and On.


 Cable
 The device is in Cable mode when it is connected to a PC using the USB interface cable. While
 in Cable mode, the device does not collect or save data and the Bluetooth radio is off.

 NOTE: To save battery life, the Model 3150 will automatically shut off after 60 minutes
 when it is connected to a PC using the USB interface cable.


 Standby
 When the device is in Standby mode, the screen is blank and the device appears to be off. In
 Standby, it is ready for a signal that will turn the device on (e.g., pressing activation switch,
 inserting finger in sensor [Spot Check mode], connecting sensor [Sensor Activation mode], or
 programmed start time [Programmed mode]). While in Standby mode, the device does not
 collect or save data and the Bluetooth radio is off.


 On
 When the device is on, it can collect and save data. The device features three turn on modes:
 • Spot Check mode
 • Sensor Activation mode
 • Programmed mode
 The device is delivered in Spot Check mode. nVISION software (version 6.3 or greater) is
 needed to access the device settings and change Spot Check mode to Sensor Activation or
 Programmed mode (see “nVISION Software”). nVISION software (version 6.4 or greater) is
 needed to access memory volume (MVI) display mode.

 The device recalls the active settings when the device is shut off and turned on again.


 Spot Check Mode
 Spot Check mode is the default turn on operation mode.

 The device automatically turns on when a finger is inserted into the sensor. It enters Standby
 mode 10 seconds after the finger is removed. If the sensor is disconnected, the device enters
 Standby mode immediately.

 In this mode, the sensor can be left connected to the device.

 NOTE: If the device determines that a sensor fault exists (a sensor failure, misalignment,
 or incompatibility with the device) or if a pulse oximeter sensor signal cannot be detected,
 the device enters Standby mode after 3 minutes.

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 Operation Modes                    6183



 Sensor Activation Mode
 Sensor Activation mode may be selected through nVISION software. In this mode, the device
 turns on when the activation switch is pressed or when the sensor is disconnected and
 reconnected. This mode is useful when using a sensor that is not easily removed from the
 sensor site (e.g., disposable or wrap sensor).

 NOTE: The sensor does not need to be applied to a finger to turn the device on.

 If the sensor is not used for at least 10 minutes or if an inadequate pulse signal is detected, the
 device automatically enters Standby mode. To turn the device on again, press the activation
 switch or disconnect and reconnect the sensor.
 This mode allows for Full or Partial display (see figure 2 for display comparison). When using
 Partial display, the SpO2 and pulse rate readings do not display. The user will only see the
 battery indicator and the animated pulse strength indicator.




                    Full Display                                      Partial Display
                        Figure 2: Comparison of Full and Partial Display


 Programmed Mode
 Programmed mode may be selected and setup through nVISION software. With the software,
 the user can program the device to start and stop for up to three sessions. Once programmed,
 the next start time displays on the LCD every 30 seconds in HH:MM format.

         CAUTION: When setting the clock in Programmed Mode using nVISION
    !    software, verify all set times and dates are valid.

 A sensor must be connected for Programmed mode to function.

 If the programmed device is in Standby mode and the activation switch is pressed, the user
 activates the Bluetooth radio and the device for 3 minutes. During this time, the user is able to
 take and store measurements. After 3 minutes, the device returns to Standby mode.

 This mode allows for Full or Partial display (see figure 2 above for display comparison). When
 using Partial display, the SpO2 and pulse rate readings do not display. The user will only see the
 battery indicator and the animated pulse strength indicator.

 NOTE: A programmed device reverts to Spot Check mode if the clock is not set or if the
 clock settings are lost when replacing the batteries.




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                                    6184                          Operation Modes




 Memory Volume (MVI) Display Mode

 NOTE: When the device is in Memory Volume display mode, the %SpO2 and pulse rate
 readings do not display on the screen.

 MVI display mode is selected using nVISION software (version 6.4 or greater) or it can be
 enabled using an OEM command (refer to the Model 3150 OEM Specification and Technical
 Information for details). MVI display mode functions with all operating modes (spot check,
 sensor activation, and programmed).

 Memory Volume display mode is used to quickly see how many hours and minutes of valid data
 are stored in the device’s memory.

 In Memory Volume display mode, the display screen (figure 3) only shows:

 • The volume of data (in hours and minutes) stored in memory
      • hours: display range of 0 – 199
      • minutes: display range of 0 – 59
 • The battery indicator
 • The pulse strength indicator
 When the animated pulse strength indicator displays, the device is recording data. The number
 next to the indicator are the minutes of stored data, not the pulse rate.




                   Hours                                                Battery
                                                                       Indicator



                                                                    Pulse Strength
                                                                      Indicator
                    Minutes



                              Figure 3: Memory Volume Display Mode

 The example in figure 3 shows a device with 10 hours and 56 minutes of stored data.




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 Using the WristOx2, Model 3150     6185



 Using the WristOx2, Model 3150
 WARNING: Do not use the device when alarms are required.

 WARNING: The USB cable must be unplugged from the device before replacing batteries.


 Installing Batteries
 WARNING: Before changing the batteries, make sure the device is off and the sensor
 is not applied to a digit.

 1. Open the battery compartment by sliding the battery door off the back of the
    device (figure 4).




                                 Figure 4: Remove Battery Door

 2. Insert 2 new AAA batteries (figure 5). Battery orientation is shown inside the battery
    compartment.




                                    Figure 5: Insert Batteries

 3. Replace battery door by sliding it back into place.



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                                    6186                Using the WristOx2, Model 3150




 4. Inserting batteries does not turn the device on. In Spot Check mode, the device turns on
    when a finger is inserted in the sensor.

 NOTE: When batteries are removed in low battery mode, the device maintains the time
 and date for up to 30 seconds. After battery replacement, check the device’s screen
 during startup to ensure date and time are set. If the battery level is at or below the critical
 level, clock settings are lost and the device reverts to Spot Check mode. Use nVISION
 software to synchronize the clock and change the operation mode (see “Accessing
 nVISION Settings” on page 29).


 Attaching the Wristband
 The WristOx2, Model 3150, is designed to be applied to the patient’s wrist using a wristband.

 This section contains instructions for attaching the wristband to the device. See the “Patient
 Application” section for instructions on how to apply the device to the patient.


 Wristband Description
 The adjustable wristband has a long segment, a short segment, and a plastic ring (figure 6). The
 wristband uses hook and loop fasteners to secure the wristband to the device and to the patient.

 The long segment has two fasteners to accommodate a wide range of wrist sizes.

 Figures 7 and 8 demonstrate how to attach the wristband to the device. Figure 9 shows front
 and back views of the attached wristband.


            Long Segment
                                                                    Rectangle
                                                                    Fastener
                                                                                            Square
                                                                                           Fastener




      Plastic Ring
                                                                            Short Segment
                                         Figure 6: Wristband



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                          Figure 7: Thread Short Segment




                          Figure 8: Secure Long Segment




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           Fasteners              Sensor Connector




                                        Front View




                                        Back View


             Figure 9: Device with Wristband Attached (Front and Back Views)




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 Using the WristOx2, Model 3150     6189



 Attaching the Sensor
 The sensor can be connected to the device before or after applying the device to the patient.

 The following steps apply to these Nonin sensors:
 • 8000SS-WO2, 8000SM-WO2, 8000SL-WO2
 • 8000AA-WO2
 • 8000J-WO2

 NOTE: Refer to the sensor Instructions for Use for appropriate sensor sizing.

 If using another Nonin-branded sensor, use sensor adapter cable 3150I (see “Parts and
 Accessories”).

 WARNING: Only use Nonin-branded sensors with a length of 1 meter or less.
 Accuracy may degrade if sensor cable is over 1 meter in length. Using the sensor
 cable adapter does not affect accuracy.

 1. Insert the sensor connector into the sensor port at the top of the device (figure 10). The
    Nonin logo on the sensor connector should face the front of the device.
 2. Push the connector until it clicks into place.
 3. The device is ready to use.




                                     Figure 10: Attach Sensor



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                                    6190                Using the WristOx2, Model 3150




 Patient Application
 The WristOx2, Model 3150, is usually worn on the back of a patient’s wrist.

 NOTE: The wristband can be used to secure the device to an alternate location (e.g., the
 upper arm or a bed rail).

 NOTE: Ensure the wristband fits comfortably on the patient’s arm. Do not over-tighten the
 wrist band.

 1. Verify the wristband has been attached properly to the device (figure 9). If the wristband
    has not been attached to the device, see “Attaching the Wristband.”
 2. Place the device on the patient’s wrist.
 3. Thread the rounded end of the wristband through the plastic ring. Pull the strap through
    the plastic ring until the device fits comfortably on the wrist (figure 11).




                           Figure 11: Thread and Tighten Wristband

 4. Fold the wristband back over the plastic ring (figure 12) and attach the fastener to the
    wristband (figure 13 or figure 14). Wrist circumference will determine which fastener is
    used.

 NOTE: When using the rectangle fastener, the end of the wristband can be shortened. To
 do so, fold the end of the wristband so the square fastener attaches onto the wristband
 (figure 13).




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                           Figure 12: Fasten Wristband




                      Figure 13: Using the Rectangle Fastener




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                             Figure 14: Using the Square Fastener

 5. Attach the sensor if it is not already connected (see “Attaching the Sensor”).
 6. Apply the sensor to the patient (figure 15). Refer to the sensor Instructions for Use for
    proper sensor application sites and sensor application cautions and warnings.




                               Figure 15: Apply Sensor to Patient

 7. When in Spot Check mode, inserting a finger in the sensor automatically turns the device
    on. When the finger is removed, the device enters Standby mode in approximately 10
    seconds.

 NOTE: Depending on the sensor and ambient light conditions, it may take up to
 3 minutes for the device to enter Standby mode.

 8. If the device does not turn on, verify battery orientation, operation mode, and sensor
    connection. Refer to “Troubleshooting” for additional information.


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 Using the WristOx2, Model 3150     6193



 Verifying Operation
 When the WristOx2, Model 3150, first turns on, it performs a startup sequence and self-test. It
 occurs:

 • When a sensor is applied to a patient (Spot Check mode).
 • When a sensor is attached to the device (Sensor Activation mode).
 • At a programmed start time when a sensor is attached to the device (Programmed mode).
 • After the activation switch is pressed while the device is in Standby mode.
 • After the device disconnects from nVISION (Bluetooth connection only).
 Verify all indicators display during the startup sequence. Indicators appear in the following order
 for 1 second each.


 Startup Sequence and Self-Test

  1. r and the software revision level:




  2. All display icons:




  3. Date/time using 24-hour clock format (MM:DD:YY:HH:MM)
     (example shows 23 April 2010 at 5:57 p.m.):




      Month and Day                  Year                   Hour and Minutes
        (MM:DD)                      (YY)                      (HH:MM)

 If the time is not set, the device displays 01:01:10:00:00.

 If any indicator does not display, do not use the device. Contact Nonin Technical Service for
 assistance.




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                                    6194                Using the WristOx2, Model 3150




 Activation Switch
 The activation switch is located next to the sensor port at the top of the WristOx2, Model 3150.
 It is primarily used to:

 • Activate the Bluetooth radio when the device is either on or in Standby.
 • Activate the device when it is in Sensor Activation mode so the user does not need to
   disconnect and reconnect the sensor.
 It will also activate the device when it is in Spot Check and Programmed modes.


 Activate Bluetooth Radio
 When the device’s Bluetooth radio is on, a master device can connect to it. If a connection is
 not made, the Bluetooth radio shuts down.
 Pressing the activation switch turns the Bluetooth radio on for 3 minutes. The device will remain
 on until the Bluetooth radio shuts down. For example, if in Sensor Activation mode, unplugging
 the sensor will not put the device in Standby.


 Activate Device
 When in Sensor Activation mode, the device enters Standby mode after 10 minutes without a
 signal. Pressing the activation switch allows the user to turn the device on without disconnecting
 and reconnecting the sensor.


 Error Codes
 This device includes error codes that indicate problems with the unit. When an error occurs, the
 device displays the letters “Er” and a two-digit code (table 2).
                                       Table 2: Error Codes

   Error Code                                       Description
      01         Configuration sector error
      02         Patient data pointer error
                 Main memory pointer error (Device memory is intact; however, the most recent
      03
                 session may be missing from the device.)
      04         Data format 13 stored packet pointer error
                 Main data format 13 pointer error (Device memory is intact; however, the most
      05
                 recent stored measurement may be missing from the device.)

 Some error codes may be corrected by the user. See “Troubleshooting” for more information.




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 Troubleshooting

         Problem                   Possible Cause                      Possible Solution

                           Batteries inserted wrong.          Check batteries.
                           Batteries are depleted.            Replace batteries.
                           Sensor is disconnected.            Reconnect sensor.

  Device will not                                             Press the activation switch.
  activate.                Device is in Sensor Activation
                           mode and has timed out.            Disconnect and then reconnect the
                                                              sensor.
                                                              Use nVISION software to select
                           Device is in Programmed
                                                              Spot Check or Sensor Activation
                           mode.
                                                              mode.
  %SpO2 and pulse rate     Device set in Partial Display      Use nVISION software to select Full
  do not display.          mode.                              Display mode. Reconnect sensor.
  Poor pulse signal
                           Excessive patient motion.          Reduce patient motion.
  indicator displays.

  Poor pulse signal                                           Reposition or replace sensor, or
  indicator displays and   Inadequate pulse signal.           place sensor on a different finger.
  pulse strength
                                                              Remove and reconnect sensor.
  indicator shows two
  bars or less.            Hands are cold.                    Warm sensor application site.
                                                              Refer to sensor Instructions for Use
                           Sensor applied incorrectly.
                                                              for proper sensor application.
                           Device needs repair.               Contact Nonin Technical Service.
                           Possible interference from
                           blood flow restrictors (arterial
                                                              Reduce or eliminate restriction.
                           catheters, blood pressure
                           cuffs, infusion lines, etc.).
  No pulse display on
  pulse strength bar       Reduced circulation due to         Check sensor alignment, reposition
  graph indicator.         excess pressure from sensor.       sensor, verify correct sensor size.
                                                              Shield sensor from light source.
                           Excessive ambient light.
                                                              Check sensor alignment.
                           Sensor applied to polished or      Remove fingernail polish or an
                           artificial nail.                   artificial nail.
                           Sensor Light-Emitting Diode
                                                              Contact Nonin Technical Service.
                           (LED) is not lit.




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                                    6196                           Troubleshooting




          Problem                 Possible Cause                     Possible Solution

                                                            Device reverts to default settings
                                                            (Spot-Check mode, 4-second
                           Device configuration memory      sample rate). Use nVISION software
  Er 01 displays on LCD.
                           failure.                         to change settings. If error code
                                                            continues, contact Nonin Technical
                                                            Service.
  Er 02 or 04 displays
                       Device memory failure.               Contact Nonin Technical Service.
  on LCD.
                           Device failure. Device memory
  Er 03 or 05 displays     intact, but device may have lost If error code continues, contact
  on LCD.                  most recent session or stored Nonin Technical Service.
                           data.
  Dashes continually                                        Replace sensor with a Nonin-
                           Sensor malfunction.
  display on LCD.                                           branded sensor.
                         Data collection start and stop     Use nVISION software to program
  Device does not record times are set incorrectly.         correct start and stop times.
  in Programmed mode. Clock settings are lost after         Use nVISION software to reset
                           replacing batteries.             clock.
                                                            Verify device is in range while being
                           Device is out of range.          paired (approximately 100 meters
  Devices will not pair.                                    [328 feet] spherical radius).
                                                            Press activation switch to turn on
                           Bluetooth radio has timed out.
                                                            Bluetooth radio.
  %SpO2 indicator and
                           Device has been set to           Use nVISION software to configure
  the heart in the pulse
                           Memory Volume (MVI) display      the device to full or partial display
  strength indicator do
                           mode.                            mode.
  not display.

 If these solutions do not correct the problem, please contact Nonin Technical Service at
 (800) 356-8874 (USA and Canada), + 1 (763) 553-9968, or +31 (0)13 - 79 99 040 (Europe).




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 Care and Maintenance               6197



 Care and Maintenance
 The device requires no calibration or maintenance other than battery replacement. The device’s
 expected service life is 5 years.


 Cleaning the Device
 Wipe the device with a soft cloth dampened with a 10% bleach/90% water solution (household
 bleach [containing less than 10% sodium hypochlorite]). Do not use undiluted bleach or any
 cleaning solution other than those recommended here, as permanent damage could result. Dry
 with a soft cloth, or allow to air dry.

 Clean once per week or more frequently if handled by multiple users.

        CAUTION: Do not place the WristOx2, Model 3150, in liquid or clean it with agents
   !    containing ammonium chloride or isopropyl alcohol.


 Cleaning the Sensor
 Refer to the sensor Instructions for Use for cleaning information.


 Cleaning the Wristband
 The wristband is designed for single-patient use. If it needs to be cleaned, hand wash with a
 mild detergent (see note) in cool water (30 °C/86 °F). Allow to air dry.
 Do not machine wash or dry. The wristband will shrink if placed in a dryer.

 NOTES:
 • Mild detergents, such as hand and dish washing liquid detergents, dissolve dirt and grease.
   To clean washable surfaces, use in a solution of warm water.
 • Replace the wristband if the hook and loop fastener no longer secures the wristband to the
   device or to the patient.

        CAUTION: Use a detergent that is safe for skin and washable surfaces. Most
    !   detergents can be high sudsing, so use sparingly. Wipe with a damp, detergent-free
        cloth to remove residue.

        CAUTION: After cleaning the single-patient use wristband, it should only be applied
    !   to the same patient; do not apply it to a different patient.


 Storing
 Store the device within the stated environmental specifications. See “Specifications” for
 additional information.

 Remove the batteries and disconnect the sensor if it is to be stored for more than 1 month.

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                                    6198                         Memory and Data




 Memory and Data
 The WristOx2, Model 3150 measures, collects, and stores up to 1,080 hours of SpO2 and pulse
 rate data with a 4-second data collection rate. Data collected at a 1 or 2-second rate reduces
 memory capacity to 270 or 540 hours, respectively.

 When the memory is full, the device overwrites the oldest existing data with the new data. Each
 time the device is turned on, data are automatically stored in memory. Data collection of less
 than 1 minute is not retained in memory.

 Each time the device turns on, the current oximeter time and date (if the clock is set properly)
 are stored in memory to allow quick differentiation of recording sessions. Patient SpO2 and
 pulse rate are stored every 4 seconds (default), or every 1 or 2 seconds if programmed using
 nVISION software. The oxygen saturation values are stored in 1% increments in the range of
 0 to 100%.

 This device contains non-volatile memory. Removing or replacing batteries does not affect the
 data stored in memory. Stored data remains in memory until overwritten by newer data or
 cleared from memory with nVISION software.

 NOTE: Downloading data in memory does not clear memory. To clear memory, see
 “nVISION Settings.”




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 nVISION Software                   6199



 nVISION Software
 Nonin’s nVISION software (version 6.3 or greater) works with Microsoft Windows® operating
 systems. It allows users to transfer recorded patient data from the device to a PC and then
 analyze, report, and archive the data. The software is required to access the device’s additional
 modes of operation and advanced features.


 nVISION Settings
 The following WristOx2, Model 3150, settings are programmed using nVISION:

 • Date and time – 24-hour clock format
 • Display options – allows clinicians to choose the best display option for each patient:
    • Full display shows %SpO2 and pulse rate data
    • Partial display shows pulse strength indicator, but not %SpO2 and pulse rate data
    • MVI (memory volume) display shows pulse strength indicator and volume (hours and
      minutes) of data stored in memory. %SpO2 and pulse rate readings do not display on the
      screen.
 • Patient data storage (sample) rate – 1, 2, or 4 seconds
 • Operation Modes – Sensor Activation, Spot-Checking, and Programmed (see “Activation
   Options”)
 • Patient ID – up to 50 alphanumeric characters
 • Bluetooth Radio – disable at startup
 • Synchronize device time/date to the PC time/date
 • Download and save patient data to a PC
 • Clear device memory
 To access nVISION settings, connect the device to a PC using either the PC USB interface
 cable or a Bluetooth connection.


 Accessing nVISION Settings
 1. Connect the device to a PC using the USB interface cable (see “Cable Connection”) or
    Bluetooth (see “Bluetooth Connection”).

 NOTE: If using Windows 2000, the WristOx2, Model 3150 will only connect to a PC with a
 Bluetooth connection. Windows 2000 does not function with the USB interface cable.

 2. Open nVISION.
 3. Click the Data Capture icon, or select New Data Capture from the File drop down menu.
 4. Select 3150 from the list of oximeters.
 5. Click Settings.
 6. “Enter Wrist Oximeter Settings” window opens (figure 16). Update or change settings as
    needed.
 7. Click OK.

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                                    6200                         nVISION Software




 8. For more information, see nVISION Help.




                              Figure 16: nVISION Settings Window


 Cable Connection
 NOTE: To save battery life, the Model 3150 will automatically shut off after 60 minutes
 when it is connected to a PC using the USB interface cable.

 To connect the device to a PC, use the PC USB interface cable found in the starter kit. Once
 connected to a PC, the device settings may be accessed and data can be downloaded using
 nVISION software.

 The USB driver software for the cable needs to be installed before the device can connect to
 the PC. The software is located in the USB Driver folder on the Operator’s Manual CD.

 1. Install USB driver if needed. See appropriate “USB Driver Installation” section for more
    information.
 2. Connect the cable to the USB port on the PC.
 3. Connect the cable to the device’s sensor port.
 4. When the device is ready to use with nVISION, these indicators display on the LCD:
      • CP

      • Battery indicator

 5. For more information about nVISION, refer to nVISION Help.

 NOTE: Disconnect the USB interface cable from the device when the data transfer or
 device configuration is complete. Leaving the cable connected will reduce battery life.

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 nVISION Software                   6201



 USB Driver Installation (Windows 7)
 1. The USB driver software is on the Model 3150 Operator’s Manual CD. Insert the CD into
    the PC’s CD/DVD drive.
 2. Connect the Model 31501SC USB cable to the sensor port on the Model 3150 and a USB
    port on the PC.
 3. Open the Device Manager by clicking Start / Control Panel / System and then selecting
    Device Manager.
 4. Expand Other devices.
 5. Right click Model 3150 and select Update Driver Software...
 6. Update Driver Software - Model 3150 window opens. Choose Browse my computer for
    driver software.
 7. Browse to the USB Driver folder on the Operator’s Manual CD and click OK.
 8. Click Next.
 9. In the Windows Security pop-up window, select Install this driver software anyway.
 10. Driver software installs. When Windows has successfully updated the driver software,
     click Close.
 11. In the Device Manager window, look up the communications (comm or COM) port for the
     device. Expand Ports (COM & LPT). One port should say “Nonin Model 3150 (COM#).”
     Make a note of the COM#. It is needed to set up the Model 3150 with nVISION software.

 USB Driver Installation (Windows 8)
 1. The USB driver software is on the Model 3150 Operator’s Manual CD. Insert the CD into
    the PC’s CD/DVD drive.
 2. Connect the Model 3150SC USB cable to the sensor port on the Model 3150 and a USB
    port on the PC.
 3. Open the Device Manager by right clicking in the bottom left corner of the screen and then
    click Device Manager. Device Manager window opens.
 4. If needed, expand Other devices.
 5. Right click Model 3150 and select Update Driver Software...
 6. Update Driver Software - Model 3150 window opens. Choose Browse my computer for
    driver software.
 7. Browse to the USB Driver folder on the Operator’s Manual CD and click Next. Verify that
    “Include subfolders” is checked.
 8. In the Windows Security pop-up window, check “Always trust software from Nonin
    Medical, Inc.” and then click Install.
 9. Driver software installs. When Windows has successfully updated the driver software,
    click Close.
 10. In the Device Manager window, look up the communications (comm or COM) port for the
     device. Expand Ports (COM & LPT). One port should say “Nonin Model 3150 (COM#).”
     Make a note of the COM#. It is needed to set up the Model 3150 with nVISION software.




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                                    6202                         nVISION Software




 USB Driver Installation (Windows 10)
 1. The USB driver software is on the Model 3150 Operator’s Manual CD. Insert the CD into
    the PC’s CD/DVD drive.
 2. Connect the Model 3150SC USB cable to the sensor port on the Model 3150 and a USB
    port on the PC.
 3. Type Device Manager in the taskbar’s search box, then select Device Manager from the
    list of results. Device Manager window opens.
 4. If needed, expand Other devices.
 5. Right click Model 3150 and select Update Driver Software...
 6. Update Driver Software - Model 3150 window opens. Choose Browse my computer for
    driver software.
 7. Browse to the USB Driver folder on the Operator’s Manual CD and click Next. Verify that
    “Include subfolders” is checked. NOTE: If the Windows Security pop-up window displays,
    check “Always trust software from Nonin Medical, Inc.” and then click Install.
 8. Driver software installs. When Windows has successfully updated the driver software,
    click Close.
 9. In the Device Manager window, look up the communications (comm or COM) port for the
    device. Expand Ports (COM & LPT). One port should say “Nonin Model 3150 (COM#).”
    Make a note of the COM#. It is needed to set up the Model 3150 with nVISION software.


 Bluetooth Connection
 NOTE: Etched onto the device is the word “pin” followed by a 6-digit number. This is the
 device’s unique identification number, also known as the Bluetooth Passkey or PIN Code.
 This number is used when pairing the device to the host system. Refer to the host
 system’s operator’s manual for additional information.

 Before a Bluetooth master device can connect with the WristOx2, Model 3150 (slave device),
 the devices must be paired. Once paired, the WristOx2, Model 3150, will automatically connect
 with the last paired master device when turned on or activated.

 1. To connect the WristOx2, Model 3150, to a PC or another device using Bluetooth, see
    Nonin’s online Bluetooth Connection Tutorial:
             http://www.nonin.com/training/products/3150/bluetooth_connection_tutorial/
 2. When nVISION connects to the WristOx2, Model 3150, the device stops recording patient
    data and the following indicators display on the LCD:
      • CP
      • Battery indicator
      • Bluetooth icon with animated bars
 3. For more information about nVISION, refer to nVISION Help.




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 nVISION Software                   6203



 Bluetooth Security
 The Bluetooth radio contained in the 3150 is compliant to version 2.0 of the Bluetooth
 Specification. It supports the Serial Port Protocol (SPP) and the Health Device Profile (HDP)
 with security mode 2 (service level enforced). The supported encryption key size is up to 128
 bits and encryption is enforced on all outgoing and incoming data channels. While the 3150 is
 in a Bluetooth connection, it will be unavailable for other connections.

  Bluetooth Profiles Supported:        Serial Port Profile (SPP), Health Device Profile (HDP)
  Security Mode:                       Mode 2 (service-level enforced security)
  Authentication and Encryption:       Enforced on all data channels (outgoing and incoming)
  Encryption Key Size:                 Up to 128 bits


 Connecting the Device into a Medical System
 Incorporating the device into a medical system requires the integrator to identify, analyze, and
 evaluate the risks to patient, operators, and third parties. Subsequent changes to the medical
 system after device integration could introduce new risks and will require additional analysis.
 Changes to the medical system that must be evaluated include:
 • Changing the system configuration
 • Adding devices to or disconnecting devices from the system
 • Updating or upgrading equipment connected to the system
 Issues resulting from user-initiated system changes may include corruption or loss of data.

 NOTES:
 • When using the sensor port to connect the device to other equipment, follow each device’s
   cleaning instructions.
 • Verify all equipment connected to the device is suitable for the patient’s environment.

         CAUTION: Failure of a network data coupling (serial cable/connectors/wireless
    !    connections) will result in loss of data transfer.




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                                    6204                      Parts and Accessories




 Parts and Accessories
 For more information about Nonin parts, accessories, and sensors, contact your distributor,
 or contact Nonin at (800) 356-8874 (USA and Canada), +1 (763) 553-9968, or
 +31 (0)13 - 79 99 040 (Europe). This information is also available on Nonin’s website:
 www.nonin.com.

      Model Number                                   Description

  3100CC               Carrying Case
  3150 Manual          CD with Operator’s Manual and USB Driver Software
  3150SC               PC USB Interface Cable
                       nVISION Software (version 6.3 or greater). Used with Microsoft
  nVISION
                       Windows operating systems.
                       Sensor Interface Cable. Used to connect 1-meter, 9-pin connector
  3150I                sensors to the WristOx2, Model 3150. For compatible 1-meter sensors,
                       see below, contact Nonin or your distributor, or visit www.nonin.com.
  3150WB               Wristband
  3100WBE              Wristband Extender, 5 in. (13 cm)


 Sensors
  WARNING: Only use Nonin-branded sensors with a length of 1 meter or less.
  Accuracy may degrade if sensor cable is over 1 meter in length. Using the sensor
  cable adapter does not affect accuracy.


       Model Number                                    Description

  Reusable Pulse Oximeter Sensors – 12 inch (0.3 meter) length
  8000AA-WO2               Adult Articulated Finger Clip Sensor
  8000J-WO2                Adult Flex Sensor
  8000SS-WO2               Soft Sensor Small
  8000SM-WO2               Soft Sensor Medium
  8000SL-WO2               Soft Sensor Large




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 Parts and Accessories              6205



   Model Number                                     Description

  Optional Pulse Oximeter Sensors (use with Interface Cable 3150I)
  Reusable – 1 meter length
  8000AA             Adult Articulated Finger Clip Sensor
  8000AP             Pediatric Finger Clip Sensor
  8000Q2             Ear Clip Sensor
  8000R              Reflectance Sensor
  8000H              Reflectance Sensor Holder
  8000SS             Soft Sensor (small)
  8000SM             Soft Sensor (medium)
  8000SL             Soft Sensor (large)
  8000J / 8000JFW    Adult Flex Reusable Sensor / FlexiWrap® Single-Use Sensor Wrap
  Disposable – 1 meter length
  6000 Series        Disposable Sensors
   6000CA            Adult
   6000CP            Pediatric
  7000 Series        Flexi-Form® III Single-Patient Use Sensors
   7000A             Adult
   7000P             Pediatric
  6500MA             Adult/Pediatric
  6500SA             Adult/Pediatric




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                                    6206                Service, Support, and Warranty




 Service, Support, and Warranty
 Service and Support
 For information about the device and accessories, contact your local sales representative or distributor.
 For the sales representative or distributor in your area, contact Nonin.
 A return authorization number is required before returning any product to Nonin. To obtain this return
 authorization number, contact Nonin’s Technical Service Department at:
                                           Nonin Medical, Inc.
                                         13700 1st Avenue North
                                   Plymouth, Minnesota 55441-5443 USA
                                    (800) 356-8874 (USA and Canada)
                                             + 1 (763) 553-9968
                                         Fax: + 1 (763) 553-7807
                                    E-mail: technicalservice@nonin.com

                                            Nonin Medical B.V.
                                            Prins Hendriklaan 26
                                      1075 BD Amsterdam, Netherlands
                                      +31 (0)13 - 79 99 040 (Europe)
                                         Fax: +31 (0)13 - 79 99 042
                                   E-mail: technicalserviceintl@nonin.com
                                                  nonin.com


 Warranty
 NONIN MEDICAL, INCORPORATED, (Nonin) warrants to the purchaser the Model 3150, WristOx2
 Pulse Oximeter for 3 years from the date of purchase. Nonin shall repair or replace any WristOx2,
 Model 3150, found to be defective in accordance with this warranty, free of charge, for which Nonin has
 been notified by the purchaser by serial number that there is a defect, provided said notification occurs
 within the applicable warranty period. This warranty shall be the sole and exclusive remedy by the
 purchaser hereunder for any WristOx2, Model 3150, delivered to the purchaser that is found to be
 defective in any manner, whether such remedies be in contract, tort, or by law.
 This warranty excludes cost of delivery to and from Nonin. All repaired units shall be received by the
 purchaser at Nonin’s place of business. Nonin reserves the right to charge a fee for a warranty repair
 request on any unit found to be within specifications.
 The WristOx2, Model 3150, is a precision electronic instrument and must be repaired by knowledgeable
 and specially trained Nonin personnel only. Accordingly, any sign or evidence of opening the WristOx2,
 Model 3150, field service by non-Nonin personnel, tampering, or any kind of misuse of the WristOx2,
 Model 3150, shall void the warranty.
 All non-warranty work shall be performed according to Nonin standard rates and charges in effect at the
 time of delivery to Nonin.
 DISCLAIMER/EXCLUSIVITY OF WARRANTY:
 THE WARRANTIES IN THIS MANUAL ARE EXCLUSIVE, AND NO OTHER WARRANTIES OF ANY
 KIND, WHETHER STATUTORY, WRITTEN, ORAL, OR IMPLIED, SHALL APPLY.




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 Technical Information
 NOTE: This product complies with ISO 10993-1, Biological Evaluation of Medical Devices
 Part 1: Evaluation and Testing.

           CAUTION: A functional tester cannot be used to assess the accuracy of a pulse
    !      oximeter monitor or sensor.

           CAUTION: Portable and mobile RF communications equipment can affect medical
    !      electrical equipment.


 Manufacturer’s Declaration
 Refer to the following table for specific information regarding this device’s compliance to
 IEC 60601-1-2.
                                 Table 3: Electromagnetic Emissions

        Emissions Test      Compliance              Electromagnetic Environment—Guidance

  This device is intended for use in the electromagnetic environment specified below. The customer and/or
                    user of this device should ensure that it is used in such an environment.
  RF Emissions             Group 2         This device must emit electromagnetic energy in order to
  CISPR 11                                 perform its intended function. Nearby electronic equipment
                                           may be affected.
  RF Emissions             Class B         This device is suitable for use in all establishments, including
  CISPR 11                                 domestic and those directly connected to the public low-
                                           voltage power supply network that supplies buildings used for
  Harmonic Emissions       N/A             domestic purposes.
  IEC 61000-3-2
  Voltage Fluctuations/    N/A
  Flicker Emissions
  IEC 61000-3-3




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                                  Table 4: Electromagnetic Immunity

                                                            Compliance          Electromagnetic
          Immunity Test          IEC 60601 Test Level
                                                              Level          Environment—Guidance

  This device is intended for use in the electromagnetic environment specified below. The customer and/or
                    user of this device should ensure that it is used in such an environment.
  Electrostatic Discharge      ±8 kV contact              ±8 kV contact    Floors should be wood,
  (ESD)                        ±15 kV air                 ±15 kV air       concrete, or ceramic tile. If
  IEC 61000-4-2                                                            floors are covered with
                                                                           synthetic material, relative
                                                                           humidity should be at least
                                                                           30%.
  Electrical Fast Transient/   ±2 kV for power supply     N/A              Mains power quality should be
  Burst                        lines                                       that of a typical commercial or
  IEC 61000-4-4                ±1 kV for input/output                      hospital environment.
                               lines
  Surge                        ±1 kV differential mode    N/A              Mains power quality should be
  IEC 61000-4-5                ±2 kV common mode                           that of a typical commercial or
                                                                           hospital environment.
  Voltage dips, short          ±5% UT (>95% dip in UT) N/A                 Mains power quality should be
  interruptions, and voltage   for 0.5 cycle                               that of a typical commercial or
  variations on power supply   ±40% UT (60% dip in UT)                     hospital environment.
  input lines                   for 5 cycles
  IEC 61000-4-11               ±70% UT (30% dip in UT)
                                for 25 cycles
                               <5% UT (>95% dip in UT)
                               for 5 seconds
  Power Frequency (50/60       30 A/m                     30 A/m           Power frequency magnetic
  Hz) Magnetic Field                                                       fields should be at levels
  IEC 61000-4-8                                                            characteristic of a typical
                                                                           location in a typical commercial
                                                                           or hospital environment.
  NOTE: UT is the AC mains voltage before application of the test level.




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        Table 5: Guidance and Manufacturer’s Declaration—Electromagnetic Immunity

                         IEC 60601 Test        Compliance
   Immunity Test                                                   Electromagnetic Environment—Guidance
                             Level               Level

  This device is intended for use in the electromagnetic environment specified below. The customer and/or
                    user of this device should ensure that it is used in such an environment.
  Portable and mobile RF communications equipment should be used no closer to any part of the device,
  including cables, than the recommended separation distance calculated from the equation applicable to
  the frequency of the transmitter.

                                                                      Recommended Separation Distance

  Conducted RF        3 Vrms                   3 Vrms            d = 1.17 P
  IEC 61000-4-6       150 kHz to 80 MHz
  Radiated RF         3 V/m                    3 V/m            80 MHz to 800 MHz d = 1.17 P
  IEC 61000-4-3       80 MHz to 2.7 GHz 3 V/m                   800 MHz to 2.7 GHz d = 2.33 P
                                                                where P is the maximum output power rating of
                                                                the transmitter in watts (W) according to the
                                                                transmitter manufacturer and d is the
                                                                recommended separation distance in meters (m).
                                                                Field strengths from fixed RF transmitters, as
                                                                determined by an electromagnetic site surveya,
                                                                should be less than the compliance level in each
                                                                frequency range.b
                                                                Interference may occur in the vicinity of
                                                                equipment marked with the symbol:



 NOTES:
 1. At 80 MHz and 800 MHz, the higher frequency range applies.
 2. These guidelines may not apply in all situations. Electromagnetic propagation is affected by absorption
 and reflection from structures, objects, and people.
 a. Field strengths from fixed transmitters, such as base stations for radio (cellular/cordless) telephones and land
    mobile radios, amateur radio, AM and FM radio broadcast, and TV broadcast cannot be predicted theoretically
    with accuracy. To assess the electromagnetic environment due to fixed RF transmitters, an electromagnetic
    site survey should be considered. If the measured field strength in the location in which the device is used
    exceeds the applicable RF compliance level above, the device should be observed to verify normal operation.
    If abnormal performance is observed, additional measures may be necessary, such as reorienting or relocat-
    ing the device.
 b. Over the frequency range 150 kHz to 80 MHz, field strengths should be less than 3 V/m.




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                            Table 6: Recommended Separation Distances
  This table details the recommended separation distances between portable and mobile RF
  communications equipment and this device
  This device is intended for use in an electromagnetic environment in which radiated RF disturbances are
  controlled. Users of this device can help prevent electromagnetic interference by maintaining a minimum
   distance between portable and mobile RF communication equipment (transmitters) and the device as
       recommended below, according to maximum output power of the communications equipment.

                                    Separation Distance According to Frequency of Transmitter

   Rated Maximum Output          150 kHz to 80 MHz         80 MHz to 800 MHz         800 MHz to 2.7 GHz
    Power of Transmitter
                                    d = 1.17 P                d = 1.17 P                d = 2.33 P
             W
             0.01                       0.12                       0.12                      0.23
              0.1                       0.37                       0.37                      0.73
              1                          1.2                       1.2                        2.3
              10                         3.7                       3.7                        7.3
             100                         12                         12                        23
  For transmitters rated at a maximum output power not listed above, the recommended separation
  distance d in meters (m) can be estimated using the equation applicable to the frequency of the
  transmitter, where P is the maximum output power rating of the transmitter in watts (W) according to the
  transmitter manufacturer.
  NOTES:
  1. At 80 MHz and 800 MHz, the higher frequency range applies.
  2. These guidelines may not apply in all situations. Electromagnetic propagation is affected by absorption
  and reflection from structures, objects, and people.




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 Equipment Response Time
 If the signal from the sensor is inadequate, the last measured SpO2 and pulse rate values freeze
 for 10 seconds and are then replaced with dashes.

  SpO2 Values                                     Average                          Latency

  Standard/Fast Averaged SpO2                      4 beat exponential               2 beats


  Pulse Rate Values                               Response                          Latency

  Standard/Fast Averaged Pulse Rate                4 beat exponential                2 beats


  Equipment Delays                             Delay

  Display Update Delay                         1.5 seconds



 Example - SpO2 Exponential Averaging
 SpO2 decreases 0.75% per second (7.5% over 10 seconds)
 Pulse Rate = 75 BPM


                                              SaO2 Reference                       4 Beat Average
                         100

                         95

                         90

                         85
                  SpO2




                         80

                         75

                         70

                         65

                         60
                           0.0


                                 8.0


                                       16.0


                                                   24.0


                                                           32.0


                                                                     40.0


                                                                            48.0


                                                                                   56.0


                                                                                           64.0


                                                                                                    72.0


                                                                                                           80.0




                                                               Time in seconds




 Specific to this example:

 • The response of the 4-beat average is 1.5 seconds.




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 Testing Summary
 SpO2 accuracy and low perfusion testing was conducted by Nonin Medical, Inc., as described
 below.


 SpO2 Accuracy Testing
 During motion and no-motion conditions at an independent research laboratory, SpO2 accuracy
 testing is conducted during induced hypoxia studies on healthy, male and female, non-smoking,
 light- to dark-skinned subjects that are 18 years of age and older. The measured arterial
 hemoglobin saturation value (SpO2) of the sensors is compared to arterial hemoglobin oxygen
 (SaO2) value, determined from blood samples with a laboratory co-oximeter. The accuracy of
 the sensors in comparison to the co-oximeter samples measured over the SpO2 range of 70 –
 100%. Accuracy data is calculated using the root-mean-squared (Arms value) for all subjects,
 per ISO 80601-2-61, Medical Electrical Equipment—Particular requirements for the basic
 safety and essential performance of pulse oximeter equipment for medical use.


 Pulse Rate Motion Testing
 This test measures pulse rate oximeter accuracy with motion artifact simulation introduced by
 a pulse oximeter tester. This test determines whether the oximeter meets the criteria of
 ISO 80601-2-61 for pulse rate during simulated movement, tremor, and spike motions.


 Low Perfusion Testing
 This test uses an SpO2 Simulator to provide a simulated pulse rate, with adjustable amplitude
 settings at various SpO2 levels for the oximeter to read. The oximeter must maintain accuracy
 in accordance with ISO 80601-2-61 for heart rate and SpO2 at the lowest obtainable pulse
 amplitude (0.3% modulation).


 Principles of Operation
 Pulse oximetry is a non-invasive method that passes red and infrared light through perfused
 tissue and detects the fluctuating signals caused by arterial pulses. Well-oxygenated blood is
 bright red, while poorly oxygenated blood is dark red. The pulse oximeter determines functional
 oxygen saturation of arterial hemoglobin (SpO2) from this color difference by measuring the
 ratio of absorbed red and infrared light as volume fluctuates with each pulse.




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 Specifications

 Oximeter Specifications

  Oxygen Saturation Display Range:                        0 to 100 % SpO2

  Pulse Rate Display Range:                               18 to 321 beats per minute (BPM)

  Displays:

                                              Numeric: 3-digit LCD

                                       Pulse Strength: Pulse Strength Bar Graph

  Accuracy – Sensors:                                     Declared accuracy data for compatible sensors can be
                                                          found in Nonin’s Sensor Accuracy document.

  Measurement Wavelengths and Output Powera:

                                                   Red: 660 nanometers @ 0.8 mW max. avg.

                                               Infrared: 910 nanometers @ 1.2 mW max. avg.

 a.This information is especially useful for clinicians performing photodynamic therapy.


 System Specifications

  Temperature:

                                                       Operating: -5 °C to 40 °C (23 °F to 104 °F)

                                        Storage/Transportation: -40 °C to 70 °C (40 °F to 158 °F)

           Time (from storage) for monitor to be ready for its 10 minutes to warm from -40 °C to -5 °C
                                               intended use: 10 minutes to cool from 70 °C to 40 °C

  Device temperature will not exceed 41°C as measured during a controlled environment test.

  Humidity:

                                                       Operating: 10 % to 95 % noncondensing

                                        Storage/Transportation: 10 % to 95 % noncondensing

  Operating Altitude:                                               Up to 4,000 meters (13,123 feet)

  Operating Hyperbaric Pressure:                                    Up to 4 atmospheres




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                                    6214                       Technical Information




  Power Requirements:                                            Two AAA (1.5V) batteries

  Battery Life (expected minimum):
                                                                                Rechargeable Rechargeable
  NOTE: Based on testing new and fully-charged batteries. See     Alkaline
                                                                                    AAA           AAA
    footnotes for brands used. Refer to battery manufacturers’     AAAa
                                                                                 (700 mAh)b   (1100 mAh)c
    operator’s manuals for instructions for use.

                              Storage: MVI display mode off: 9 months           Not specified     Not specified
                                        MVI display mode on: 25 days

               Operating without Bluetooth, continuous use: 53 hours            36 hours          55 hours

  Operating at 100 m (Bluetooth Class 1d), continuous use: 19 hours             15 hours          24 hours

      Operating at 10 m (Bluetooth Class 2), continuous use: 21 hours           16 hours          24 hours

  Dimensions (without sensor or wristband):                      51 mm x 73 mm x 19 mm (H x W x D)
                                                                 (2.0 in. x 2.9 in. x 0.75 in.)

  Weight (with batteries and wristband):                         70.0 g (2.5 oz)

  Memory:

                                                          Type: Non-volatile

                                                     Capacity: up to 1,080 hours (4 sec. data storage rate)
                                                               up to 540 hours (2 sec. data storage rate)
                                                               up to 270 hours (1 sec. data storage rate)

  Classification per ANSI/AAMI ES60601-1 and CAN/CSA-C22.2 No. 60601-1:

                                           Type of Protection: Internally powered (battery power)

                                        Degree of Protection: Type BF-Applied Part

                                           Mode of Operation: Continuous

                    Enclosure Degree of Ingress Protection: IP33

  This product complies with ISO 10993-1, Biological evaluation of medical devices – Part 1: Evaluation
  and testing.

 a.Batteries used: Harding Model LR03 Alkaline AAA
 b.Batteries used: Energizer Recharge® Power Plus Model NH12BP NiMH AAA
    Charger used: Energizer Model CH15MN2
 c.Batteries used: Ansmann Model 5035232 NiMH AAA
    Charger used: Ansmann PL 8 Model AN12510
 d. When operating with Bluetooth, typical battery life may vary depending on proximity to host connection and
    configuration of host-to-device communications. Times provided are minimum times for common configurations.




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 Transmitter
  Bluetooth Compliance:        Version 2.0

  Operating Frequency:         2.4 to 2.4835 GHz

  Output Power:                < 20 dBm

  Operating Range:             100-meter (328-foot) radius indoors

  Network Topology:            Point-to-Point

  Operation:                   Slave

  Antenna Type:                Internal

  Modulation Type:             Frequency Shift Keying
                               Frequency Hopping Spread Spectrum

  Band Width:                  1 MHz




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                     EXHIBIT 3
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                                                 User Guide

                                             nVISION                          ®


                                   Pulse Oximetry
                        Data Management Software
                                       Version 6.4




   0123                                                         English
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                                                              0123




                                                        EC   REP

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                                             D-35619 Braunfels, Germany




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nVISION Software
  Nonin’s nVISION® software provides a convenient user interface for capturing, editing, storing, analyzing, and
  printing patient data from many Nonin pulse oximeters.
  nVISION enables users of Nonin pulse oximeters to capture (download) patient data during memory playback
  by reading the serial communications port and then saving the data to a disk file on a PC with a Windows®
  XP SP3, Vista, 7 (32 bit and 64 bit), or 8 (32 bit and 64 bit) operating system. nVISION also enables users to
  review, analyze, and edit saved data sets and to print reports.
  NOTE:      Do not use nVISION data as the sole basis for making a medical diagnosis!
  Remarque : Ne basez pas votre diagnostic médical uniquement sur les données de nVISION !
  Hinweis: Zum Stellen einer medizinischen Diagnose dürfen nVISION-Daten nicht als ausschließliche Grundlage
  verwendet werden!
  Nota:      Non usare i dati nVISION come unica base per la diagnosi medica.
  Nota:      No utilice la información de nVISION como única base para realizar un diagnóstico médico.
  Observação: Não utilize os dados do nVISION como base exclusiva para estabelecer um diagnóstico médico!
  NB:        Gebruik de gegevens van nVISION niet als de enige basis voor een medische diagnose!
  Obs!       Data från nVISION skall ej användas som enda underlag för medicinska diagnoser!
  Bemærk: Brug ikke nVISION data som eneste grundlag for at stille medicinsk diagnose!
  See Also:
   Overview of nVISION
   Getting Help With nVISION
   Computer Requirements
   System Setup
   Installing and Uninstalling nVISION Software
   Using the Glossary
   Capturing and Saving Data
   Tutorial




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Overview of nVISION
   The topics listed in this overview describe the basic features of nVISION and explain how the software works.
   The organization of this overview follows the order in which the topics are displayed in the nVISION Help Table
   of Contents. Click on the underlined topics for detailed information.
   NOTE: Review the Tutorial section for a detailed demonstration of nVISION software.

Using nVISION Online Help
   This section provides the steps required for effectively using nVISION Help.
    Getting Help With nVISION
    Printing Help Topics
    Using the Glossary
Getting Started
   This section provides computer and system setup requirements, software installation instructions, and a setup
   and use quick tour.
    Computer Requirements
    Installing and Uninstalling nVISION Software
    System Setup
    Setup and Use Quick Tour
Toolbar and Menus
   This section provides detailed information about the nVISION toolbar and pull-down menu commands.
    nVISION Toolbar
    File Menu Commands
    Edit Menu Commands
    Options Menu Commands
    Report Menu Commands
    Help Menu Commands
Capturing and Saving Data
   This section provides detailed instructions on downloading data from a pulse oximeter and saving the data set
   on a PC.
    Capturing and Saving Data
Data Analysis
   This section provides instructions for setting display and analysis parameters and for editing and analyzing
   patient data.
    Editing Data
    Analyzing Data
Data Reports
   This section provides instructions for setting report parameters and printing reports.
    Report Descriptions
    Printing Reports




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Tutorial
   This section is intended to help you become familiar with nVISION software by walking you through the
   downloading and analysis of a practice data set.
    Tutorial
Glossary of Terms
   This section contains definitions of terms as well as graphics and other useful information.
    Using the Glossary
FAQs (Frequently Asked Questions)
   This section provides answers to common questions about nVISION software.
    FAQs
Customer Support
   This section provides detailed information on contacting Nonin Customer Support.
    Customer Support


Symbols

     Symbol        Description

                   Follow instructions for use.

            0123   CE Marking indicating conformance to EC Directive No. 93/42/EEC concerning medical devices.

       EC   REP    Authorized Representative in the European Community.

                   Medical prescription required


   See Also:
    nVISION Software




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Getting Help with nVISION
   Nonin nVISION software comes with an online Help System to help you understand and use the software. A
   Glossary of Terms is also included in the Help System.

To Use nVISION Help:
   1. Select Help Topics from the Help menu.
   2. Choose the Contents tab to review the table of contents
   -or-
   choose the Index tab to search the index entries
   -or-
   choose the Find tab to search for a specific word or words (a full-text search) in the Help Topics.
   See Also:
    Printing Help Topics
    Help Menu Commands
    Using the Glossary
    Contacting Customer Support
Printing Help Topics
   You can print Help Topics using any of the methods listed below.
   To Print Help Topics:
   •      Press the Print button at the bottom of the Help Topics Contents tab:
       • To print an entire book (section) from the Help Table of Contents, highlight (choose) the book and then
         press the Print button at the bottom of the Help Topics Content tab.
       • To print an individual topic, highlight (choose) the topic and press the Print button at the bottom of the
         Help Topics Contents tab.
   -or-
       • Press the Print button at the top of any open Help Topic window.
   -or-
       • Select the Print Topic command from the File menu of any open Help Topic window.
   -or-
       • Right-click (use the right mouse button), and choose “Print Topic” when any Help Topic or popup
         window is open.
   The Print dialog box appears when any of these printing methods is used.

       Tip! You can copy text (without the graphics) in any open Help Topic or popup window. Select Copy from
   the menu that appears when you right-click any open Help topic or popup window.
   See Also:
    Getting Help With nVISION
    Using the Glossary




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Using the Glossary of Terms

To Find Terms in the Glossary:
   1. Click the Glossary button at the top of any open Help Topic window, or choose Glossary of Terms from the
      Help system Table of Contents. The Help Glossary of Terms window appears.
   2. Scroll through the glossary, or click on the alphabetized buttons at the top of the Glossary of Terms window
      to choose the desired glossary term.

To Print a Definition from the Glossary of Terms:
   1. Select the glossary term by left-clicking once on the underlined glossary text. A popup window with a
      definition, graphic, or other information appears (just like the one that appears when you left-click on the
      previous underlined words).
   2. Right-click once on the popup window. A menu appears.
   3. Choose Print Topic. The print dialog box appears.
   4. Make your print selection.
   5. Left-click anywhere on the screen to close the popup window.

       Tip! You can copy text (without the graphics) in any open Help Topic or popup window. Choose Copy from
   the menu that appears when you right-click any open Help topic or popup window.
   See Also:
    Getting Help With nVISION
    Printing Help Topics




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Getting Started
Computer Requirements
   Nonin nVISION software is a 32-bit application that will operate on a host computer that meets the following
   minimum requirements:
   •   IBM-compatible PC with a 133 MHz Pentium microprocessor or equivalent
   •   Windows XP SP3, Windows Vista, Windows 7 (32 bit and 64 bit) or Windows 8 (32 bit and 64 bit)
       operating systems
   •   At least 256Mb of RAM (memory)
   •   At least 20Mb free space on the hard drive
   •   CD-ROM drive (24X speed)
   •   Video card with 800 x600 VGA resolution
   •   At least 1 serial communications port
   NOTE: Be sure to read the “ReadMe.txt” file on the nVISION CD-ROM for any late-breaking information about
   nVISION software.
   See Also:
    Installing and Uninstalling nVISION Software
    System Setup
    Setup and Use Quick Tour
Installing and Uninstalling nVISION Software
   Instructions for installing nVISION software are printed on the nVISION CD-ROM jacket. The nVISION software
   installation instructions are also included below for reference and can be printed if desired.

   You can install, uninstall, and reinstall nVISION software using the standard Windows “Add/Remove Programs”
   application found in the Windows Control Panel pull-down menu. During the installation process, the install
   program will ask for a key code. The installation will not proceed if an invalid key code is entered. (When
   calling Nonin Customer Support, you will be asked to provide this key code.)

   NOTE: Before beginning nVISION software installation, ensure that the PC meets the minimum system
   requirements.

   NOTE: When installing nVISION, any version currently installed will automatically be overwritten.

To Install nVISION Software
   1. Insert the nVISION CD into the CD-ROM drive with the label facing upward.
   2. The install will start automatically. Follow the on-screen instructions until the installation is complete.
   3. Click on Start.
   4. Point to Programs.
   5. Go to the nVISION entry and click on the nVISION program icon            .
   NOTE: After nVISION is running, use the nVISION online Help system for instructions on using nVISION
   software.




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To Uninstall nVISION Software
   1. Start the “Add/Remove Programs” application found in the Windows Control Panel pull-down menu.
   2. Scroll through the list and highlight nVISION.
   3. Answer “yes” to the questions regarding files to be removed.
   4. Follow the on-screen instructions for uninstalling the program.

To Reinstall nVISION Software
   See “To Install nVISION software” above.
   See Also:
    Computer Requirements
    System Setup
    Setup and Use Quick Tour
System Setup
   nVISION software is one part of an integrated system consisting of a Nonin pulse oximeter, the appropriate
   Nonin serial cable, a PC and PC monitor, nVISION software, the appropriate parallel cable or network
   connection, and a printer.
   The following diagram depicts the relationship of the components in the system:




   nVISION software is compatible with most Nonin pulse oximeters that store data into memory, as well as the
   TrendSense memory module.
   NOTES:

   •   Nonin serial cables are necessary for downloading unless the oximeter has a Bluetooth capability.
   •   In order for stored data to correlate to a 24-hour clock (international time), the time and date must be
       set in the pulse oximeter before recording patient data. If time and date are not set in the pulse oximeter
       before recording patient data, nVISION will automatically assign the time set in the PC at the time of
       download as the study time.
   •   nVISION is not a networked application.
   See Also:
    Computer Requirements
    Installing and Uninstalling nVISION Software
    Setup and Use Quick Tour
    Capturing and Saving Data
    Comm Port




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Setup and Use Quick Tour
   Follow these steps for a quick tour of nVISION software:
   1. Install nVISION software on the PC.
   2. Connect the serial cable between the pulse oximeter and the PC.
   3. Set the Report Title and the units of measure.
   4. Set the display parameters.
   5. Set the analysis parameters.
   6. Capture data (download data) or open a saved data set.
   7. Edit the data.
   8. Analyze the data.
   9. Print a report.
   See Also:
    Overview of nVISION
    Computer Requirements
    Installing and Uninstalling nVISION Software
    System Setup
    Capturing and Saving Data
    Editing Data
    Analyzing Data
    Printing Reports
    Tutorial




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Toolbar and Menus
nVISION Toolbar
  The nVISION toolbar provides shortcuts to some frequently used commands. The tools and associated pull-
  down menu commands are shown below. Click on a command for more information.
      File > New Data Capture

      File > Open Saved Data

      File > Print

     File > Print Preview

     Edit > Summarize Data

      Edit > Exclude Data

      Options > Display Parameters

     Options > Language

File Menu Commands
  The following commands appear under the File pull-down menu. Click on a
  command for more information.
  New Data Capture captures data played back from the pulse oximeter.
  Open Saved Data opens a saved data set.
  Close closes a data set.
  Save saves an open data set using the same file name.
  Save As saves an open data set to a specified file name.
  Import (Importing Data) imports a previously exported nVISION data set as a
  new data set.
  Export (Exporting Data) exports the currently open data set to an ASCII or PDF
  file.
  Save XML Data saves the three XML files associated with the Oximetry Report into the XMLData folder.
  Print displays the print dialog box for the current report.
  Print Preview displays the report as it would appear if printed.
  Print Setup selects a printer and printer connection.
  Exit exits nVISION.




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New Data Capture (File Menu)
   The nVISION Data Capture feature accepts up to 72 hours of data downloaded from Nonin pulse oximeters.
   When the New Data Capture command under the File menu is selected or the Data Capture icon     on the
   toolbar is clicked, the New Data Capture dialog box appears:




   This dialog box lists the available models of Nonin Pulse Oximeters. Specific instructions for downloading data
   from the selected pulse oximeter appear in the instruction box. When a different pulse oximeter is selected, the
   instructions change accordingly. When the user selects any oximeter other than the 3100 or 3150 selection,
   the Settings button will be disabled. See Capturing and Saving Data for more information about 31XX Settings.

   •   To capture (download) data, select the appropriate pulse oximeter and press Start. Then follow the
       directions in the instruction box to initiate the pulse oximeter’s Playback mode.
   •   When Start is selected and the pulse oximeter is in Playback mode, the dialog box changes as shown:




   •   When Cancel is selected, the dialog box closes.

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NOTE: When Start is selected and the pulse oximeter is not in Playback mode, the Not In Playback Mode
dialog box (not shown) appears and then closes when OK is pressed.

•   The Select Oximeter radio buttons and the Start and Cancel buttons are disabled, and the Stop button is
    enabled.
•   The Status changes to “Waiting,” and then to “Receiving” when patient data are received.




•   The Start Date and Start Time change to reflect the recording currently being captured.
•   The Time Received updates periodically, indicating how many hours of data have been captured for the
    recording currently being captured.
•   The Progress Bar shows the download progress for the recording currently being captured.
•   The Captured Recordings dialog box updates as each recording is captured, with the most recent recording
    shown at the top.
When the Stop command is selected, Data Capture (downloading) terminates. If no complete data sets have
been captured, the Main window appears. When at least one complete data set has been captured and/or
when all data sets have been captured, the Select Recordings dialog box appears:




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NOTE: Depending on the software revision, some 8600 pulse oximeters may not automatically advance to
the Select Recordings dialog box after transferring data. If after one minute, nVISION does not advance to the
Select Recordings dialog box, click on Stop to proceed to the Select Recordings dialog box.

NOTE: When the 3100 or 3150 Wrist Oximeter is used, data sets that have been recorded with different
sample rates cannot be merged. This means that as soon as the user selects the first data set, only data sets
that have the same sample rates may also be selected.

When Done is selected but not all of the data sets have been saved, the OK to skip remaining recording(s)
dialog box appears.




•   When No or Cancel is selected, the dialog box closes and the Select Recordings dialog box reappears.
•   When Yes is selected, the Main window appears and the remaining recordings are not saved.
NOTE: You can highlight one or more recordings (click on each entry) from the list in the Captured Recordings
dialog box to be saved as a single data set. If the clock was not set, a ten-minute interval appears between
datasets. When more than one recording is selected, the time between the recordings will be marked as
artifact.

•   When Save is selected with the recording(s) highlighted (selected), the Patient History File dialog box
    appears:




•   When Cancel is selected, the Select Recordings dialog box reappears.



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When a patient is selected and OK is pressed, the Save Data Set dialog box appears, with information about
the selected patient appearing in the dialog box as shown below.




•   When New is selected, the Save Data Set dialog box appears with no patient information entered.




Click in each box to enter patient information, or use your computer Tab key to navigate to the next box.
NOTE: You are not required to enter any data in the fields. If you do not enter any patient information and
then select Save, the file name will default to “No Patient” and the patient information will remain blank.
NOTE: On an initial download, if the date of birth (DOB) field is filled in, the Age field will be calculated
automatically when the Save button is clicked or the cursor is moved to the Age field.
•   When Cancel is selected, the Select Recordings dialog box appears if there are still recordings that have not
    been saved.
•   When Save is selected, the data set is saved to a file with the created file name, and the Select Recordings
    dialog box reappears if there are data sets remaining. The recently-saved data set no longer appears in the
    dialog box.




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   The file name for storing the data set is generated from the Name, recording date, and recording time, as
   shown. You are not allowed to change this generated name at this time. (If you wish to change the name at
   another time, use the Save As command in the File pull-down menu.)
   See Also:
    File Menu Commands

Open Saved Data (File Menu)

   When the Open Saved Data command under the File pull-down menu is selected or the Open icon              on the
   toolbar is clicked, a list of available data sets appears in a dialog box:




   When this dialog box opens, the starting folder is the default data directory (Data Path) selected through the
   Options menu. The case studies (data sets) are listed in alphabetical order. Use standard Windows buttons to
   navigate through the directory structure or access the “quick search” function by typing the first few letters of
   the case study in the File name: box.
   When Open is selected, the highlighted data set will appear on the Main window in the Oximetry Report
   format. Only one data set can be open at any time.
   When Cancel is selected, the dialog box closes.
   See Also:
    File Menu Commands

Close (File Menu)
   When the Close command under the File menu is selected, the currently open case closes, the Main Window
   remains.
   See Also:
    File Menu Commands

Save (File Menu)
   When the Save command under the File menu is selected, the open case and any changes made to it are saved
   under the same file name, which overwrites the previous data set.
   See Also:
    File Menu Commands




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Save As (File Menu)
   The Save As command allows you to save any data set with a different file name. For example, you may choose
   to perform some specific data editing on an existing data set but not want to modify or overwrite results from
   a previous analysis. The Save As command allows you to perform modifications to an existing data set and save
   it with a different file name while maintaining the original data set.
   When the Save As command under the File menu is selected, the Save Data As dialog box appears:




   When this dialog box appears, users can enter a new file name for the data set. Data sets can be saved in any
   computer directory, but the default location is set by the user through the (Data Path) command in the Options
   pull-down menu. The case studies appearing in the Save Data As dialog box are listed in alphabetical order, and
   standard Windows buttons are available for navigating the directory structure.
   The default name created for the new data set is the old file name with a number enclosed in parentheses. The
   number in parentheses corresponds to the number of data set copies that have been saved. You may use this
   name or create a different name by typing into the File name box.
   Because only one data set can be open at any time, the data set with the new file name becomes the open
   data set.
   See Also:
    File Menu Commands

Importing Data
   The Import command allows you to import data that has previously been exported from nVISION. Selecting
   Import from the File pull-down menu allows you to import an exported data set from an ASCII file into the
   “DataSets” directory and the Patient History database.
   When you select Import from the File pull-down menu, the Import Data dialog box appears:




   When the Import Data dialog box is open, the starting folder is the default data directory selected through the

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   Options pull-down menu and stored in the system registry. The case studies are listed in alphabetical order, and
   standard Windows buttons are available for navigating through the directory structure.
   Use the following procedure to import data to nVISION:
   1. Select Import from the File pull-down menu. The Import Data dialog box appears.
   2. Locate and click on the data set you want to import.
   3. Click the Open button.
   Since only one case can be available at a time, importing a case closes the previously opened case. When
   Cancel is selected, the dialog box closes.
   See Also:
    Exporting Data
    File Menu Commands

Exporting Data
   The Export command allows you to export data from nVISION to a comma delimited file so it can be read into
   either a spreadsheet program such as Microsoft Excel or as a PDF file. An exported comma delimited case can
   be emailed to another person who also has nVISION installed on their PC and wishes to view and analyze the
   data.
   Selecting Export from the File pull-down menu allows you to convert a data set from the internal format to a
   fixed format ASCII character file or a PDF file.
   Exported data formats are Patient ID, Year, Month, Day, Hr, Min, Sec, Pulse Rate, %SpO2, and Respiration Rate
   (if available)—all on the same line but separated by commas. Patient information from the Patient History file
   precedes data lines in an exported file.
   When you select Export from the File pull-down menu, the Export Data dialog box appears:




   When the Export Data dialog box is open, the starting folder is the default data directory selected through the
   Options pull-down menu. The case studies are listed in alphabetical order, and standard Windows buttons are
   available for navigating the directory structure.
   The default name for the new data set is the old name—but with a different extension. You may keep or
   change this name.
   PDF files cannot be read back into nVision.
   See Also:
    Importing Data
    File Menu Commands

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Save XML Data
   This command will cause the Oximetry Report data to be saved in an XML file with the same name as the .nmi
   file the study is saved in. Two other files in a .png format will be saved with the same name plus SpO2 or Pulse
   added to the name. These are the SpO2 and Pulse graphs which are referenced in the XML file. All three files
   must remain in the same directory to display properly. This can be opened in Microsoft Internet Explorer or any
   other XML utility.
   The Save XML Data command will be grayed out on all reports except the Oximetry Report. Once the XML files
   have been saved, they cannot be saved again until the study has been reopened with the Open Saved Data
   option in the File menu.

Print (File Menu)

   When the Print command under the File menu is selected or the Print icon      on the toolbar is clicked, the
   standard Windows Print dialog box will appear, allowing you to print the currently selected report:




   When Cancel is selected, the dialog box closes.
   See Also:
    File Menu Commands




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Print Preview (File Menu)

   When the Print Preview command under the File menu is selected or the Print Preview icon    on the toolbar is
   clicked, the report data is displayed as it would appear if printed.




   •   When Print is selected, the Print dialog box appears.
   •   The Next Page and Prev Page (previous page) buttons allow you to navigate through the pages when
       previewing a multi-page report.
   •   The Two Page button allows you to preview two pages of the report at one time. This button toggles
       between Two Page and One Page.
   •   The Zoom In and Zoom Out buttons allow you to zoom in or out when previewing the report.
   •   When Close is selected, the Print Preview dialog box closes.
   See Also:
    File Menu Commands




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Print Setup (File Menu)
   When the Print Setup command under the File menu is selected, the standard Windows Print Setup dialog box
   appears:




   When Cancel is selected, the dialog box closes.
   See Also:
    File Menu Commands

Exit (File Menu)
   When the Exit command under the File menu is selected, the nVISION program terminates.
   NOTE: No files are saved unless you specifically follow through with the Save or Save As command.
   See Also:
    File Menu Commands
Edit Menu Commands
   The following commands appear under the Edit menu. Click on a command for more information.
   •   Summarize Data
   •   Exclude Data
   •   Patient Info
   •   Patient History File

Summarize Data (Edit Menu)
   The Summarize Data command is under the Edit menu. This command is only
   available when the Strip Chart Report is active and when an area of interest on a Strip Chart Report is selected
   using the mouse.
   To Select an Area of Interest for Analysis:
   1. Select a portion of the data by using the mouse to position the cursor at one edge of the desired area of
      the data graph and pressing and holding the left mouse button.
   2. Drag the cursor across the desired area. While the cursor is being dragged, the boundaries of the selected

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    area are marked with a dashed-line rectangle. These boundaries are visible and move as the mouse is
    moved to show the area selected.
3. When the area of interest is within the rectangle, release the left mouse button. A dashed-line rectangle
   remains after the left button is released.
Choosing the Summarize Data command from the Edit pull-down menu on the Main Window menu bar or the
Summarize icon   from the toolbar causes the Summary Statistics dialog box to appear.




When Exclude is selected from the Summary Statistics dialog box, the time interval is added to any existing
excluded data segments, and the Excluded Data Segments dialog box appears with the time interval
highlighted.




•   When Cancel is selected from the Summary Statistics dialog box, the dialog box closes, the dashed-line
    rectangle disappears from the strip chart, and the data remains in the analysis.

Tip!
You don’t have to use the Summarize Data command. You can go directly to exclude data by clicking on the
Exclude Data icon .
See Also:
 File Menu Commands




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Exclude Data (Edit Menu)
   The Exclude Data command, which is under the Edit pull-down menu, is used to exclude selected data
   segments within a case study from the data analysis.
   When you select an area of interest on the Strip Chart Report and then select the Exclude Data command, the
   Exclude Data dialog box appears with the just-selected data interval excluded. Excluded data will appear as
   crosshatched patterns when viewed in the Strip Chart or Full Report window or on the printed reports.




   When either the Exclude Data command is selected or the Exclude icon        on the toolbar is clicked, the
   Exclude Data Segments dialog box appears:




   You can select any single data segment from the Exclude Data Segments list box, using a vertical scroll bar to
   move up and down the list. The selected data segment appears highlighted.
   •   When the Undo command is selected, any currently selected data segment is un-excluded from the analysis
       and the dialog box closes.


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   •     When the Undo All command is selected, all shown data segments are un-excluded from the analysis and
         the dialog box closes.
   •     When the OK command is selected, the dialog box is removed, regardless of whether or not a data
         segment is highlighted. All data segments listed are excluded from the analysis.
   NOTE: Manually excluded data are identified in the Strip Chart and Full Study Reports by crosshatched
   patterns. On the Oximetry Report, excluded data are included in the calculation of % Artifact and in the
   “Duration” time used to calculate the Index. Excluded data are not used in any other calculations on the
   Oximetry Report.
   See Also:
    File Menu Commands

Patient Info (Edit Menu)
   After a saved data set is opened, the Patient Info command is available under the Edit pull-down menu. When
   the Patient Info command is selected, the Edit Patient Information dialog box appears, allowing users to make
   case-specific changes to patient information.

   NOTE: The data set date/time stamp is automatically inserted at the top of the dialog box.




   •     When Update is selected, the patient information is updated and automatically saved in the recording, and
         the dialog box closes.
   •     When Cancel is selected, any changes made will not be saved, and the dialog box closes.
   NOTE: When patient information is updated in the Edit Patient Information dialog box, those updates will
   only be reflected in the currently open recording. This allows nVISION users to track and record patient
   changes without changing the patient history file.

   Tip
   NOTE: Field lengths are limited. The Note 1 and Note 2 fields are limited to 40 characters; the Comments field
   is limited to 80 characters.
   See Also:
    File Menu Commands



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Patient History File (Edit Menu)
   The Patient History File, located under the Edit pull-down menu, serves as a “starting point” for downloading
   patient data. It is used to store and update entered patient information. The Patient History File recalls the
   patient information to be associated with a new data file so that the user does not have to re-enter it.
   NOTE: Six example case studies are placed in the “DataSets” directory and the Patient History File as part of
   the initial installation of nVISION.
   NOTE: Information in the Patient History File can be updated when no data set is open. When information is
   updated, those updates are stored in the patient history file, but they are not applied to individual recordings
   and reports. This allows nVISION users to track and record the patient history without changing the captured
   recordings. Case-specific information can be saved with individual recordings by making changes in the Edit
   Patient Information dialog box.

Editing Stored Patient Information
   When Patient History File is selected from the Edit pull-down, the Patient History File dialog box appears:




   The Patient History File can be sorted by Last Name or Patient ID Number using either the radio buttons in
   the search criteria section of the dialog box or by typing a the first few letters of a name or ID number in the
   Search text box. Only one search may be enabled at a time. The Patient Name and Patient ID Numbers for all
   history file records—sorted by the selected search criteria—are shown in the Patient Name/Patient ID display
   window.
    If you select a patient record and choose Delete, the Confirm Delete dialog box appears with the current
    patient name displayed. This command allows you to delete patient history information.



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NOTE: You must delete saved case studies (recordings) individually.

•     When No is selected, the Confirm Delete dialog box closes and no record is deleted.
•     When Yes is selected, the Confirm Delete dialog box closes and the record is deleted.




Use the following procedure to edit patient history files.
1. In the Patient Name/Patient ID display window, click on the data segment you wish to edit.
2. Click the Edit button at the bottom of the dialog box. The Edit Patient History File dialog box appears, with
   current patient information displayed.




NOTE: When information is updated in the Edit Patient History File dialog box, those updates are stored in the
patient history file, but they are not applied to individual recordings. Case-specific information can be saved
with individual recordings by making changes in the Edit Patient Information dialog box. Changes made in the
Edit Patient Information dialog box do not affect the Patient History File; they only apply to the currently open
recording.

3. Click in each box to edit patient information, or use your computer’s Tab key to navigate to each box.
•     When Done is selected, the patient information is updated and the dialog box closes.
•     When Cancel is selected, the dialog box closes and no changes are saved.

Tip
NOTE: If you need to delete all text in one of the boxes, enter one space (press the Space bar one time) before
clicking the Done button.
See Also:
 File Menu Commands


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Options Menu Commands
   The commands in the Options menu allow the user to configure several nVISION parameters. The selected
   configuration options are saved by nVISION. If no settings are changed by the user, nVISION will use the default
   configuration.
   The following commands appear under the Options menu. Click on a
   command for more information.
   •   Comm Port
   •   Data Path
   •   XML Options
   •   Analysis Parameters
   •   Display Parameters
   •   Language

Comm Port (Options Menu)
   When the Comm Port (communications port) command under the Options menu is selected, the Configure
   Communications Port dialog box appears:




   •   When OK is selected, the currently selected communications port will be used for data capture and the
       dialog box closes.
   •   When Cancel is selected, any changes to the communications port are lost and the dialog box closes.
   If a Bluetooth wireless connection is being used, the Comm port associated with that device when it was paired
   must be selected. Refer to the instructions for the Bluetooth stack being used to determine how to do this.
   See Also:
    Options Menu Commands

Data Path (Options Menu)
   When the Data Path command under the Options menu is selected, the Select Data Storage Path dialog box
   appears:




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  •   When OK is selected, the currently selected path is used for the default data capture path and the dialog
      box closes. Data sets (case studies) are stored to the currently selected location.
  •   When Cancel is selected, any changes to the default data storage path is lost and the dialog box closes.
  •   When Browse is selected, the Select Folder dialog box appears, allowing the user to browse the directory
      structure:




  •   When Cancel is selected, the Select Folder dialog box closes.
  •   When Open is selected, the Select Folder dialog box closes and the Select Data Storage Path dialog box
      appears, with the current folder from the Select Folder dialog box selected.
   See Also:
   Options Menu Commands

XML Options
  When the XML Options command under the Options menu is selected, the XML Options dialog box appears:




  •   When Color Graphs is selected, the graph lines in the XML graph files will be the same color as on the
      screen. Otherwise they will be black.
  •   When Auto Save XML files is selected, the XML files will be saved at the same time as the study when it is
      downloaded from the oximeter and selected from the list.
  •   When Auto Save PDF file is selected, the PDF file will be generated and saved when the study is first
      downloaded.
  •   When OK is selected, the currently selected path is used for the default data capture path and the dialog
      box closes. Data sets (case studies) are stored to the currently selected location.
  •   When Cancel is selected, any changes to the default data storage path is lost and the dialog box closes.




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   •   When Browse is selected, the Select Folder dialog box appears, allowing the user to browse the directory
       structure:




Analysis Parameters (Options Menu)
   The Analysis Parameters command is under the Options pull-down menu. When the Analysis Parameters
   command is selected, the following data analysis parameters can be changed:

   SpO2 Parameters
       • Percent Drop for Event (%): value, in %, to qualify as an SpO2 (Desaturation) Event.
       • Minimum Event Duration (sec): value, in seconds, of SpO2 decrease that qualifies as an SpO2
         (desaturation) event.
       • Desaturation Criteria Level (%): value, in %, below which the SpO2 level must drop to be classified in a
         special category of statistics. This threshold is indicated on the SpO2 graph by a red guide line.
   Pulse Rate Parameters
       • Rate Change For Event (bpm): value, in beats per minute, to qualify as a Pulse Rate Event.
       • Minimum Event Duration (sec): value, in seconds, of Pulse Rate Change to qualify as a pulse rate event.
   Respiratory Rate Parameters
       • Time Since Last Breath (sec): value, in seconds, since last breath to qualify as a Respiratory Pause Event.
   6 Minute Walk Data Frequency
       • Controls whether the 6 minute walk report shows data in 30 second or 1 minute intervals.




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System Analysis Parameters




   System default parameters can be changed to reflect your protocol. They will be applied to any new
   downloaded data set when initially opened.
   With no data set open, select the Analysis Parameters command. The System Analysis Parameters dialog box
   opens. The values shown on screen may be set to factory defaults (shown above) or may reflect changes set by
   a user like the box shown below:




   Click in any box to change a value, or use the computer’s Tab key to navigate between boxes.
   •   When OK is selected, any changes made to the analysis parameters are saved and the dialog box closes.
   •   When Defaults is selected, all parameters are reset to the factory default settings.
   •   When Cancel is selected, any changes to the analysis parameters are lost and the dialog box closes.
   NOTE: The System Analysis Parameters are saved with the case when data are downloaded from the pulse
   oximeter and saved as a data set.




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Case Specific Analysis Parameters
   To change the Analysis Parameters on a per case basis, open the pertinent data set. Select the Analysis
   Parameters command from the Options pull-down menu. The Case Specific Analysis Parameters dialog box
   appears:




   The values shown on screen may be set to System parameters by clicking the Defaults button or may reflect
   changes set by a user and saved with the case.
   Click in any box to change a value or use the computer’s Tab key to navigate between boxes.
   •   When OK is selected, any changes made to the analysis parameters are saved for use by this case only
       and the dialog box closes. If you wish to save these parameters as a separate data set, select the Save As
       command from the File pull-down menu and save the data set with a new file name. Otherwise, the Save
       command can be used to store the new analysis parameters with the data set.
   •   When Defaults is selected, all parameters are reset to the System Analysis Parameters in effect at that time.
   •   When Cancel is selected, any changes to the analysis parameters are lost and the dialog box closes.
   See Also:
    Options Menu Commands
    Display Parameters
    Editing Data
    Analyzing Data




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Display Parameters (Options Menu)
   Display parameters are items that are set up or modified to obtain desired report outputs. Selecting the Display
   Parameters command from the Options pull-down menu brings up a dialog box that allows you to adjust the
   scales for viewing data. Through this dialog box, you can select how much time on the x-axis will fit in the
   window and adjust the range of values for pulse rate, saturation, or respiration rate on the y-axis.

   After selecting the Display Parameters command or clicking the Display Parameters icon        on the toolbar, the
   Display Parameters dialog box appears:




   The display parameter choices are as follows:
   •   If All Data is not checked, the amount of data indicated by Time Interval will be displayed on a single screen
       or on one printed page of the Full Study Report or Strip Chart Report.
   •   When All Data is checked, the x-axis is automatically adjusted so that all data fits on the screen at one time
       when viewed with the Strip Chart Report or printed with the Full Study Report. (In some cases, up to 5
       minutes of data may be off screen.)
   •   Maximum SpO2(%): The upper limit on the y-axis of the SpO2 graph.
   •   Minimum SpO2(%): The lower limit on the y-axis of the SpO2 graph.
   •   Maximum Pulse Rate (bpm): The upper limit on the y-axis for the pulse rate graph.
   •   Minimum Pulse Rate (bpm): The lower limit on the y-axis for the pulse rate graph.
   The Display Parameters dialog box also contains check boxes to enable or disable the SpO2 graph, Pulse Rate
   graph, and Respiration Rate graph on the Strip Chart Report.

   The line width selection determines the width of the line used in graphs. Narrow provides the most data
   resolution. The other values are typically only useful when faxing reports.

   •   When OK is selected, any changes to the display parameters are saved and the dialog box closes.
   •   When Cancel is selected, any changes to the display parameters are lost and the dialog box closes.
   See Also:
    Options Menu Commands



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Language (Options Menu)
   The Language command, which is located under the Options pull-down menu, allows you to switch between
   several languages for generating and printing reports.

   After selecting the Language command or clicking the Language icon       on the toolbar, the Language dialog
   box appears:




   See Also:
    Options Menu Commands
Report Menu Commands
   The commands in the Report menu allow you to select the type of report (Oximetry, Strip Chart, Full Study,
   Respiration Rate, or Summary Report) you’d like to generate, view, or print. The Report Title command allows
   you to set the report title.
   Click on a command below for more information.
   •   Oximetry Report
   •   Strip Chart Report
   •   Full Study Report
   •   Respiration Rate Report
   •   Summary Report
   •   6 Minute Walk Report
   Only one of the report types may be selected at a time. The currently selected report type will be indicated in
   the Report menu with a check mark to the left of the report type. The default report type is Strip Chart when a
   data set is first opened.
   See Also:
    Report Descriptions
    Printing Reports




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Oximetry Report (Report Menu)
   The Oximetry Report command is under the Report menu. When the Oximetry Report command is selected, the
   following report appears on screen for the currently open data set.
   NOTE: The Oximetry Report is one page in length.




   •   The vertical scroll bar can be used to examine the report data.
   •   When the Print Preview command is selected, the report is shown as it would appear when printed.
   •   When the Print command is selected, the report is printed.


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The Oximetry Report is a one-page summary of a case study that focuses primarily on event data as defined by
the analysis parameters. Excluded data are subtracted from the total study time (duration) to indicate the time
analyzed.
The key sleep study statistic is called the “index,” which is calculated as events per hour. Summary statistics
for events will be total number of events, cumulative time spent in events, average event duration, raw index
value, and the adjusted index where artifact and excluded data are not used. The duration of the record and
total time interval analyzed will be reported.
The basal SpO2 is calculated as an average of steady-state readings (average of SpO2 readings during non-
event times). A further analysis of SpO2 values divides the record into 2 types of data representation, based on
the Desaturation Criteria Level set in the Analysis Parameters dialog box.
The cumulative time spent below the Desaturation Criteria Level is reported. The total number of events that
occurred below the Desaturation Criteria Level is reported. The minimum SpO2 value is reported. An average
low SpO2 value and an average low SpO2 value below the “Desaturation Criteria Level” is reported.
De-Sat Event Reporting
 nVISION uses a drop of 6% and an event duration of 8 seconds as the default desaturation event criteria.
 The Analysis Parameters command on the Options pull-down menu allows the user to select a different
 percentage change as the desaturation criteria or a different value for the amount of time over which the
 drop in saturation must occur. A summary in the Oximetry Report shows the number of events occurring
 in each 5-percentage point interval from 30% to 100% and the cumulative percent of time spent below
 each interval level.
Pulse Rate Event Reporting
 nVISION uses a pulse rate change of 6 bpm and an event duration of 8 seconds as the default pulse rate
 event criteria. The Analysis Parameters command on the Options pull-down menu allows you to select
 a different pulse rate change or a different value for the amount of time over which the change in pulse
 rate must occur in order to be considered an event. A Pulse Data summary section in the Oximetry Report
 shows the average pulse rate in bpm and the minimum pulse rate seen.
Mark Events on Data Graphs
 An “Event Bar” is located below the Graphic Summary strip chart in the Oximetry Report to show where
 events occurred when the analysis parameters were applied. Events for each type of parameter are
 evaluated separately and located under the respective graph.
See Also:
 Report Menu Commands
 Print Preview
 Printing Reports




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Strip Chart Report (Report Menu)
   The Strip Chart Report command is under the Report menu. When the Strip Chart Report command is selected,
   the following report appears on screen for the currently open data set:




   NOTE: This report may be more than one page long, depending upon the duration of the recording and the
   time interval selected in the Display Parameters dialog box.
   The Strip Chart Report allows the user to view raw data on the screen as a visual strip chart recording. The
   purpose of the Strip Chart report is to allow the user to evaluate the data and perform the necessary analysis to
   exclude noisy or suspect data and to select the scales for printing the Full Study Report. A scroll bar along the
   bottom of the data display window, as well as Page Up and Page Down keys on the keyboard, allow the user
   to move through the data. The timelines are synchronized between stacked windows.
   Artifact data are seen as a gap in the graph, rather than going to zero; so as not to be interpreted as an event.
   The X-axis and Y-axis scales are adjustable by selecting the Display Parameters command in the Options pull-
   down menu.
   The user can select a portion of the data over which to calculate summary statistics. For more information on
   obtaining summary statistics for selected data within a data set, see Summarize Data.
   When the cursor is placed over a point in a graph, right-clicking the mouse displays the data values at that time
   in the right side of the status bar.


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   nVISION provides an additional strip chart for respiration rate with the Nonin 9840 series and TrendSense
   devices.
   Event bars are marked according to analysis parameter criteria and are located above the corresponding data.
   When the Strip Chart Report is active, the Print icon on the toolbar allows the user to print what is currently
   shown in the window.
   A status bar, located at the bottom of the screen, shows the Display Time Interval and the Elapsed time since
   the start of the data set.
   •   When the Print Preview command is selected, the screen is shown as it would appear when printed.
   •   When the Print command is selected, the screen is printed.
   See Also:
    Report Menu Commands
    Print Preview
    Printing Reports

Full Study Report (Report Menu)
   The Full Study Report command is under the Report menu. When the Full Study Report command is selected,
   the following report appears on screen for the currently open data set:




   The Full Study Report includes all the data, represented in graphical format, arranged on as many pages as it


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  take to print that data to the scale selected by the settings from the Display Parameters dialog. Crosshatched
  patterns are drawn on the graphs to show the segments excluded from analysis.
  NOTE: This report may be more than one page long, depending upon the duration of the recording and the
  time interval selected in the Display Parameters dialog box.
   Events, which are calculated using the default or user-defined event criteria, are indicated by black bars above
   the data in the Full Study Report.

  •   When Print Preview is selected, the report is shown as it would appear when printed.
  •   When Print is selected, the report is printed.
  See Also:
   Report Menu Commands
   Print Preview
   Capnography

Capnography
  nVision will supply capnography data on a second graph of the respiration report if such data is available from
  the TrendSense module. Two parameters are available under Analysis Parameters to set the high and low event
  lines. Another parameter is available under Display Parameters to set the maximum value for the Y-axis of the
  capnography graph. All values displayed are in mmHg (millimeters of mercury).
  Note: All capnography data will be displayed in mmHG. Data collected in kPa (Kilopascals) will be converted to
  mmHG during the download.




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Respiration Rate Report (Report Menu)
   The Respiration Rate Report command is available under the Report menu when respiration data has been
   recorded (using the Nonin Model 9840 or TrendSense series). When the Respiration Rate Report command is
   selected, the following report appears on screen for the currently open data set:




   The Analysis Parameters command on the Options pull-down menu allows the user to select a respiratory
   pause criteria to calculate summary respiratory data. Summary statistics are the total number of pauses,
   cumulative time spent in pauses, average pause duration, minimum respiration rate, and average respiration
   rate where artifact and excluded data are not included.

   •   When Print Preview is selected, the report is shown as it would appear when printed.
   •   When Print is selected, the report is printed.
   See Also:
    Report Menu Commands
    Print Preview
    Printing Reports
    Capnography




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Summary Report (Report Menu)
   The Summary Report can be selected from the Report menu. When Summary Report is selected, the following
   report appears on screen for the currently open data set:




   The Summary Report provides a good overview—using case-specific analysis parameters—of the patient during
   the monitoring period. The report is divided into four sections:
   •   Patient Data
   •   Numerical Data Summary, with detailed event data, %SpO2 data, and pulse rate data
   •   Analysis parameters (parameters used to analyze patient data)
   •   Graphic summary



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   The Summary Report includes a number of graphic summaries:
   •   First is a graphical representation of the patient’s SpO2 data.
   •   Directly under this graph is a summary of detected SpO2 events (identified by vertical bars).
   •   Next is a graphical representation of the patient’s pulse rate data.
   •   Directly under this graph is a summary of detected pulse events (identified by vertical bars).
   •   Time is indicated under the last graphic summary (in this case, the Pulse Rate graph). Time is marked to the
       nearest hour.
   In addition, the Summary Report includes an Interpretation Area (for reviewer comments) and a Physician
   Signature Block (for insurance and record-keeping purposes). Data can be entered in the Interpretation Area by
   double clicking within the blank space. This opens a new window for data entry.
   NOTE: See Oximetry Report for information about De-Sat Event Reporting, Pulse Rate Event Reporting, and
   Marking Events on Data Graphs.

Report Title (Report Menu)
   The Report Title command is under the Report menu. When the Report Title command is selected, the
   following dialog box appears:




   NOTE: Before capturing (downloading) new data for the first time, choose the Report Title command from the
   Report pull-down menu The Report Title dialog box appears. Enter the report title (usually a facility name). The
   dialog box also contains the Units of Measure radio button for inches/pounds (in/lb) or centimeters/kilograms
   (cm/kg). Select the desired English or metric units. These settings remain in nVISION until you change them.
   Often these settings will be changed only once, at the time of the initial setup.
   Report Title and Units of Measurement
   The Report pull-down menu includes a command that allows the user to customize the title that appears
   on printed reports. This same dialog box allows the user to select English or Metric units used for patient
   information.
   •   When OK is selected, any changes to the report title and units of measure made are saved and the dialog
       box closes.
   •   When Cancel is selected, any changes to the report title and units of measure are lost and the dialog box
       closes.
   See Also:
    Report Menu Commands
    Print Preview
    Printing Reports


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6 Minute Walk Report (Report Menu)
   The 6 Minute Walk Report can be selected from the Report menu. When this report is selected, the following
   report appears on the screen.




   Double clicking anywhere on the screen brings up a data input window that allows the user to enter data for
   all the fields that are not filled in by the oximetry data. All data is automatically saved when the window is
   closed.
   Printing the 6 Minute Walk Report will cause both the first page and any additional pages containing the
   oximetry data to be printed. Only the first page can be displayed by nVISION.




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Help Menu Commands
   The following commands appear under the Help pull-down menu.

Help Topics
   Use the Help Topics to learn more about nVISION software.
   •   Choose the Contents tab to review the Help table of contents
   •   Choose the Index tab to review the Help index entries
   •   Choose the Find tab to search for a specific word or words in the Help topics.

About nVISION
   The About nVISION window displays information about nVISION software, including version number, key code
   number, and registration information.

Help Topics (Help Menu)
   The Help Topics command is under the Help menu. When the Help Topics command is selected, a dialog box
   with Contents, Index, and Find tabs appears.




   See Also:
    Getting Help With nVISION




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About nVISION (Help Menu)
   When the About nVISION command under the Help menu is selected, the About nVISION dialog box appears.
   Each version of nVISION displays a unique key code in the About nVISION dialog box. This key code is
   necessary for installing nVISION software and for obtaining customer support for the software.




   This window displays the nVISION software Version Number and the key code entered when installing nVISION
   software.
   See Also:
    Help Menu Commands




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Capturing and Saving Data
   NOTE: Before capturing (downloading) new data for the first time, choose the Report Title command from the
   Report pull-down menu The Report Title dialog box appears. Enter the report title (usually a facility name). The
   dialog box also contains the Units of Measure radio button for inches/pounds (in/lb) or centimeters/kilograms
   (cm/kg). Select the desired English or metric units. These settings remain in nVISION until you change them.
   (Often these settings will be changed only once.)

To Capture Patient Data from a Nonin Pulse Oximeter:
   1. Connect the Nonin Pulse Oximeter to the PC using the appropriate serial cable. Check the pulse oximeter
      operator’s manual for more information, or contact Nonin Customer Support.
   NOTE: For more information about downloading data, review the pulse oximeter operator’s manual or
   contact Nonin Customer Support.

   2. Choose New Data Capture from the File pull-down menu, or click on the Data Capture icon          on the
      toolbar. The New Data Capture window appears.




   The New Data Capture window has Start, Stop and Cancel buttons to control the download process.
   •   The Start button tells nVISION that the pulse oximeter will be turned on in memory playback mode.
   •   The Stop button stops the download when the desired segment has been transferred.
   •   The Cancel button cancels the new data capture and returns the user to the Main window.




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The New Data Capture window also has a Settings button, which is only available when 3100 or 3150 is
selected. When you choose Settings, the Enter Wrist Oximeter Settings dialog box appears:




All of the fields of this dialog box are filled in with the current settings of the wrist oximeter. If Spot Checking is
selected, the Display field’s “Full” and “Partial” options are unavailable.
The Bluetooth check box only appears if the 3150 oximeter was selected. If this check box is cleared it will
inhibit the Bluetooth radio from turning on to save battery power. Pressing the button on the 3150 will turn
the radio back on regardless of this setting. Refer to the 3150 Instructions for Use for more information on the
operation of that device.
Current date and time fields are updated every second. When you press the Sync with PC button, the current
date and time fields are updated to match the current local time of the PC to which the device is connected.




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When you select the Programmed Activation Option, three sets of start and stop times are enabled, allowing
you to program the start and stop times for the wrist oximeter:




At least one of the intervals selected must have a future stop time selected, with an earlier start time. The
device time must be set to at least 1/1/2002. When these conditions are not met, the following dialog box
appears:




You may then select Yes or No. If Yes is selected, the settings will be transmitted to the wrist oximeter. If no is
selected, you will be returned to the settings option.




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When you select the Sensor Activation Option, the following dialog box appears:




The Display field’s “Full” and “Partial” options are available with the Sensor Activation option.
The Settings dialog box contains OK, Cancel, and Clear Memory buttons.
•   If you press OK, the current settings are programmed to the wrist oximeter, the dialog box closes, and you
    are returned to the New Data Capture dialog box.
•   If you press Cancel, the current settings are ignored, the dialog box closes, and you are returned to the
    New Data Capture dialog box.
•   If you press Clear Memory, the following dialog box is displayed:




If you select Yes, all wrist oximeter memory is cleared, and you are returned to the Settings dialog box. If you
select either No or Cancel, patient data is not cleared, and you are returned to the Settings dialog box.
3. Select your pulse oximeter model by clicking on the corresponding radio button in the Select Oximeter
   menu.
4. Select the communications port your Oximeter will be transmitting data on. See also Comm Port.
5. Click the Start button at the bottom of the New Data Capture dialog box. (Be sure the pulse oximeter is off
   before you click the Start button.)




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6. Press the correct sequence of buttons on the pulse oximeter, following the specific instructions for your
   oximeter model, as described in the instructions displayed. The pulse oximeter will download the patient
   data sets (files) to the PC.




A Status line at the top of the New Data Capture dialog box displays whether or not the nVISION program is
receiving data from the device. This status field will display a “Waiting” message until data is received, when
it displays a “Receiving” message. Start Date, Start Time, and Time Received fields also appear in the Captured
Recording window. In addition, a Percent Completion bar indicates any data transfer in progress.




Each data set will appear in the Captured Recordings section after the “data dump” is complete.
After all data from the oximeter are downloaded, the Select Recordings dialog box will appear. The Start Date,
Start Time, and Duration of each recorded data segment obtained during the download are displayed in list
form in the display window. No data segments will be saved until you select the desired data segment(s), click
the Save button, click the New button on the Patient History File dialog box, and finally complete the required
patient history information in the Save Data Set dialog box.

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Select Recordings for Analysis
   After the pulse oximeter finishes downloading or after you click Stop in the New Data Capture dialog box or,
   the Select Recordings dialog box appears, allowing you to specify which recording(s) you want to save.




   nVISION has its own internal database of patient information. You must select the associated patient
   information to be saved with each captured recording.

   NOTE: The Select Recordings dialog box will close automatically when all data sets have been saved. Click on
   the Done button at the bottom of the Select Recordings dialog box if you do not wish to save any more data
   segments from the current download session. You will be prompted to click on a Yes, No, or Cancel button.
   •   Clicking Yes will dispose of the remaining data.
   •   Clicking No or Cancel will allow you to return to the Select Recordings dialog box.
   NOTE: All unsaved data segments from a download session will be erased from nVISION if the No or Cancel
   buttons are clicked. The data remains in the pulse oximeter for future downloads until erased from oximeter
   memory.
   7. Click on the recording(s) you wish to save. The selected recording(s) will be highlighted.
   NOTE: In order to merge data sets or recordings that are close together in time, nVISION allows users to select
   multiple recording to be saved as one data file. The time between recordings will be marked as excluded.
   NOTE: When a 3100 or 3150 Wrist Oximeter is used, data sets that have been recorded with different sample
   rates cannot be merged. This means that when users select the first data set, only data sets that have the same
   sample rates may also be selected.
   8. Click on the Save button at the bottom of the Select Recordings dialog box.
   9. After you click the Save button, the Patient History File dialog box appears. If the patient is new, click the
      New button at the bottom of the dialog box.




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Completing Save Data Set Information—New Patient
  The Save Data Set dialog provides space to enter pertinent patient information that will be associated with the
  specific data set(s) selected in step 7 above. The data set date/time stamp is automatically shown at the top of
  the dialog box after “Recording.”
  NOTE: The file name of a recording is comprised of the patient name, date, and time of the recording. If the
  pulse oximeter’s date and time are not set, nVISION uses the date and time set in the PC when the data were
  downloaded to generate a file name for the data set. This prevents multiple files with identical names.




  10. Click in each box to enter patient information, or use your computer Tab key to navigate to the next box.
      Enter information Last Name, First Name, MI (Middle Initial), Physician, ID Number, Height, Weight, Gender
      and DOB (Date of Birth). When you enter a DOB, the patient’s age is automatically calculated—based on
      your computer’s current system date—and appears in the Age box. If desired, you can enter text in Note 1,
      Note 2, or Comments fields.
  NOTE: If you need to delete all text entered in the Note 1, Note 2, or Comments fields, enter one space (press
  the Space bar one time) before clicking the Save button.
  As you enter text, you will see the new information appearing at the bottom of the Save Data Set dialog box
  under the File Name display.
  NOTE: Date of Birth numbers must be entered in the following format: YYYY/MM/DD.
  NOTE: “Note 1” and “Note 2” originate from the Patient History file, but they can be changed within a
  specific patient record when that record is open and is stored as part of the captured recording. Changing Note
  1 and Note 2 does not change the Patient History file.
  11. When you have finished entering the patient information, click on the Save button at the bottom of the
      dialog box. The Capture and Save Data sequence is completed. The Save Data Set dialog box disappears
      and the Select Recordings dialog box reappears if there are any data sets remaining. At this point you may
      select another data set(s) and begin at step 7 above or click on the Done button to exit Capture/Save Data
      mode.
  NOTE: If you do not click Save, the data set will not be updated.




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Completing Save Data Set Information—Existing Patient History file
   If the patient’s information has already been entered, find the entry in the list and click OK. The Save Data Set
   dialog box will appear with all the information filled in—except the Comments field, which will allow a unique
   text string to be associated with each recording.




       Tip! If the pulse oximeter is not in playback mode you will see the following error message:




   Click OK and begin data capture by selecting New Data Capture from the File pull-down menu, or click on the
   Data Capture icon    on the toolbar. The New Data Capture window will reappear. Turn off the oximeter.

If nVISION is not receiving the downloaded files:
   •   Check the Comm Port.
   •   Ensure that you have clicked on the Start button at the bottom of the New Data Capture dialog box.
   See Also:
    Setup and Use Quick Tour
    Comm Port




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Data Analysis
Editing Data

Data Display and Editing Window
   The Data Display and Editing window can be opened with either the Open Saved Data command on the File
   pull-down menu or the corresponding Open Saved Data icon      on the toolbar.




   In general, data sets are edited before beginning analysis. Double-click on the file name to open a data set for
   editing. The file opens automatically in the Strip Chart Report, showing the raw data acquired from a Nonin
   pulse oximeter.
   NOTE: Events are indicated by a black bar above the graph, and they correspond to the data directly below
   the bar.




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   A graphic display of the SpO2 data stacked over the pulse rate data (along a timeline) allows the user to
   evaluate data, identify and exclude noisy artifact data, and select the type of analysis. The name of the file
   associated with the data is displayed at the top of the report under “Patient Data.”
   NOTE: You have the option to change the Report Title. Choose the Report Title command from the Report
   menu. A dialog box appears. Enter the report title (usually a hospital or facility name). The dialog box also
   contains the Units of Measure radio button for in/lb or cm/kg. Select the desired English or metric units.
   Editing data is a two step process. First, you must adjust the Display Parameters of the Report display to your
   desired values in order to format the Full Study Report. Then, you must identify and exclude noisy artifact data.

Adjusting Display Parameters
   After selecting the Display Parameters command or clicking the Display Parameters icon         on the toolbar, the
   Display Parameters dialog box appears:




   •   When All Data is checked, the x-axis is automatically adjusted so that all data fits on the screen at one time
       when viewed with the Strip Chart Report or printed with the Full Study Report.
   The Display Parameters command is used to achieve the desired data resolution and to print specific patient
   data. The Analysis Parameters command is used to set the desired event-marking criteria.
   1. Click on the All Data check box to disable that function.
   2. You may edit the Time Interval; the maximum and minimum SpO2, and the Pulse Rate figures at this point
      to expand or contract the scale in order to more accurately assess points of noisy data.
   NOTE: The edited Time Interval is shown as Display time in the lower left corner of the window.
   3. Click on the Respiration Rate Graph Enabled check box to disable that function.
   NOTE: For oximeters with respiration rate information, do not disable the Respiration Rate Graph Enabled
   check box.




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   4. Click OK to save changes to the display. (When Cancel is selected, any changes made to the display
      parameters are lost.) The Strip Chart Report now reflects changes made.




Identifying and Excluding Data
   1. Place the cursor on any graph point. Right-clicking displays the time of the graph point and data values at
      bottom right of window.




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2. Use the scroll button, arrow keys, or Page Up and Page Down keys to navigate through the graphed data.
3. Place the cursor before data to be excluded, left-click the mouse, and hold and drag to the point after
   the artifact data. A red dashed-line rectangle appears and encloses the data area. If you click inside that
   enclosed area, you see the selected time interval at the bottom right of window.
To review the enclosed area statistics in more detail before excluding the data, select Summarize Data from the
Edit pull-down menu or click on the icon . The Summary Statistics dialog box appears:




Click the Exclude button to accept the data selection. Click the Cancel button to return to the displayed Strip
Chart report.
NOTE: The Summary Statistics dialog box will display Respiratory Rate data even if it is not displayed on screen
if this data is part of the saved data set file.




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You can exclude data directly by following steps 1 through 3 above and then selecting Exclude Data from the
Edit pull-down menu or by clicking on the icon . This brings up the Exclude Data dialog box.




Click OK to save the excluded data segment. The area is now marked with a crosshatched pattern.




You can undo any or all selected data sequences by clicking Undo or Undo All on the Exclude Data dialog box.
After excluding all noisy data desired, select Save or Save As under the File pull-down menu to retain these
edits with the raw data.




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Analyzing Data
   After the mechanics of capturing and saving data, etc., analyzing data is primarily adjusting parameters so that
   the resulting event determination and statistics make sense.
   Before you get to this stage, you may have done the following for a particular recording:
   •   Downloaded data from a pulse oximeter
   •   Saved the recording to the Data Sets folder
   •   Adjusted the Display Parameters
   •   Adjusted the Analysis Parameters
   The Analysis Parameters command is under the Options pull-down menu. The Analysis Parameters command
   allows the user to select SpO2 Parameters, Pulse Rate Parameters, and Respiratory Pause Parameters (when
   available).
   For detailed information about setting and changing Analysis Parameters, see Analysis Parameters.

Report Considerations
   You can see the effects of adjusted parameters by reviewing the Oximetry Report.
   1. Open a saved data set by choosing Open Saved Data from the File pull-down menu or choosing the OPEN
      icon    from the toolbar. The Strip Chart Report automatically opens.
   2. Select Display Parameters and Edit Data to exclude noisy or suspect data.
   3. Select Oximetry Report from the Report pull-down menu. The Index number under Event Data is the most
      important value because events per hour are used as a diagnostic aid. The Adjusted Index number under
      Event Data is calculated after excluded data are removed from the analysis.
   4. If new case-specific analysis parameters were used, the user may wish to save the recording again or save it
      as a new recording (using the Save As command from the File pull-down menu).
   See Also:
    Capturing and Saving Data
    Editing Data




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Data Reports
Report Descriptions
   Six reports are available from the Report pull-down menu: Oximetry, Strip Chart, Full Study, Respiration Rate,
   Summary, and 6 Minute Walk Reports.
   General Overview
   •   SpO2 data is graphically displayed in green on the SpO2 graph, pulse rate data is graphically displayed in
       blue, and (when available) respiratory rate data is displayed in violet on the Respiration Rate report.
   •   On the SpO2 graph, a gray dashed guide line is spaced every 10 percent—or every 5 percent if the
       minimum and maximum SpO2 values are less than or equal to 20 percent apart.
   •   On the Pulse Rate graph, a gray dashed guide line is spaced every 10 beats per minute (BPM)—or every 20
       BPM if the minimum and maximum pulse rate values are >100 BPM apart.
   •   On the Respiration Rate graph, a gray dashed guide line is spaced every 10 beats per minute (BPM).

Oximetry Report
   The Oximetry Report provides a convenient data summary of the patient during the monitoring period. The
   Oximetry Report is a one-page summary that focuses primarily on event data as defined by the analysis
   parameters. The report is divided into four sections:
   •   Patient Data
   •   Numerical Data Summary - Detailed event data, %SpO2 data, and pulse rate data.
   •   Analysis Parameters - Parameters used to analyze the data set and calculate and report events.
   •   Graphic Summary - Includes a number of graphic summaries, including SpO2 data, detected SpO2 events,
       pulse rate data, detected pulse rate events, and time. Events are calculated as defined by the analysis
       parameters and are indicated with black vertical lines below the timeline. A red dashed guide line on the
       SpO2 graph indicates the threshold as set by desaturation event criteria (an analysis parameter).

Strip Chart Report
   The Strip Chart Report is the default report that appears when a data set is opened by nVISION. Its best uses
   are viewing, analyzing, and editing data. In addition, this report provides the convenience of summarizing a
   specific block of data or interrogating a specific data point within any data set.
   The Strip Chart Report, which is displayed on the screen horizontally, provides a detailed graphical
   representation of SpO2, pulse rate, and respiration rate data (when applicable), where time is indicated on the
   x-axis of each graph.
   Events are calculated by user-defined analysis parameters and are indicated with black bars above the data in
   each respective graph.
   In the Strip Chart Report, Display Time (as set in the Display Parameters dialog box) is indicated in the lower
   left-hand portion of the status bar. The area at the center of the status bar is Elapsed Time, which is updated
   as you scroll through the report (using the arrows on the scroll bar or on the keyboard). Use the right mouse
   button to display specific data at the cursor point in the lower left-hand region of the status bar.
   Use the arrow keys on the keyboard or the arrow symbols on each side of the scroll bar to navigate the Strip
   Chart Report.




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   NOTE: In order for stored data to correlate to a 24-hour clock (international time), the time and date must be
   set in the pulse oximeter before recording patient data. If time and date were not set in the pulse oximeter
   before recording patient data, nVISION will automatically assign the time of download, as set in the PC, as the
   time associated with that data set.
   NOTE: The Strip Chart Report will print 1 page of on-screen data, providing users with a convenient method
   for documenting specific data sections.

Full Study Report
   The Full Study Report, provides full graphical representations all of the data—arranged on as many pages as
   it take to print that data to the scale selected in the Display Parameters dialog box. The Full Study Report is
   displayed on-screen vertically, and users scroll through the data using the Page Up/Page Down Keys or the scroll
   bar on the right side of the screen.
   Crosshatched patterns are indicated on the graphs to document segments excluded from analysis.

Respiration Rate Report
   The Respiration Rate Report provides respiration rate data for the patient during the monitoring period. In
   addition to respiration rate data, the Respiration Rate Report provides summaries of respiratory pause data, a
   graphic summary of all data, and a bar graph of respiration rate frequency distribution.
   NOTE: The Respiration Rate Report is only available when patient respiration data is gathered from appropriate
   Nonin devices.
   NOTE: You can turn the Respiratory Rate display on the Strip Chart on and off using the Display Parameters
   command from the Options pull-down menu.

Summary Report
   The Summary Report provides a convenient data summary of the patient data during the monitoring period.
   The Summary Report is a one-page summary that focuses primarily on event data as defined by the analysis
   parameters. The report is divided into six sections:
      • Patient Data
      • Numerical Data Summary - Detailed event, %SpO2, and pulse rate data.
      • Analysis Parameters - Parameters used to analyze the data set and calculate and report events.
      • Graphic Summary - Includes a graphic summary of SpO2 and pulse rate data if selected by the display
        settings. A red dashed line on the SpO2 graph indicates the threshold as set by desaturation event
        criteria (an analysis parameter).
      • Interpretation Area - A place for reviewer comments.
      • Physician Signature Block - Allows documentation for insurance and record-keeping purposes.

6-Minute Walk Report
   The 6-Minute Walk Report provides a convenient form for six minute walk studies. It has fields that can be
   modified by double clicking on the report and can display data in either 30 second or one minute intervals. It
   lists all data points on subsequent pages after the initial report.




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Printing Reports
   Use the following procedure to print reports using nVISION software:

   •   Press the Print icon   on the toolbar.
   –or-
   •   Select Print from the File pull-down menu.
   The Print dialog box appears when either of these printing methods is used. Make the appropriate printing
   selections from the Print dialog box, and then press OK to print the report(s).
   nVISION offers a Print Setup command, which includes networked and local printers, as part of the File pull-
   down menu. For previewing reports, a Print Preview icon  on the toolbar allows the user to view the report
   as it would appear when printed.
   See Also:
    Report Descriptions




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Tutorial
Introduction
   This section provides a detailed patient tutorial to help you become familiar with nVISION software. For a basic
   introduction to nVISION, see the Overview of nVISION and the Setup and Use Quick Tour.
   NOTE: Please print a paper copy of this tutorial to use while learning nVISION software.
   Ten sample data sets (patient case studies) are provided with nVISION software.
   •   Six case studies contain pulse oximetry data (SpO2 and pulse rate information).
   •   The seventh case contains pulse oximetry data and respiration rate data.
   These sample case studies are provided for your convenience—so that you can manipulate the patient data and
   practice using nVISION. We will use only one of these sample data sets to walk through this tutorial.
   To access the sample data sets, select the Open Saved Data command from the File pull-down menu. For this
   tutorial, click on the file named “GT Miller 30 Apr 2000 23.57.09-06.14.17,” and then click on Open.

Strip Chart Report
   To prepare the new data for analysis, select Strip Chart from the Report pull-down menu.
   The Strip Chart Report provides a graphical representation of data (in this case, SpO2 and pulse rate). The time
   is indicated on the x-axis of each graph. An “event” is calculated by applying the user-selected, case-specific
   analysis parameters. Events are indicated by a black mark above the data in each graph.
   Notice in the Strip Chart Report that “Display Time” is indicated in the lower left side of the status bar, as
   set in the Time Interval section of the Display Parameters screen. (Check that the All Data check box within
   the Display Parameters screen is not checked.) At the center of the status bar is “Elapsed Time.” Notice that
   the elapsed time is updated as you scroll through the report (using the arrows on the scroll bar or on the
   keyboard.) The right side of the status bar displays data values when the user right-clicks on the data graph.
   NOTE: In order for stored data to correlate to a 24-hour clock (international time), the time and date must
   be set in the pulse oximeter before recording patient data. If time and date are not set in the pulse oximeter
   before recording patient data, nVISION will automatically assign the time set in the PC, as the time associated
   with the data.
   Scroll from the beginning to the end of the report. Use the arrow keys on the keyboard, or click on the arrow
   symbols on the scroll bar.
   For review purposes, we will analyze specific sections in greater detail. Select Display Parameters from the
   Options pull-down menu, or click on the Display Parameters icon        on the toolbar. The settings for each
   display item appear.
   Change the parameter values by highlighting the current numerical value in each box and entering the new
   value. Use your computer’s Tab key to move to the next field, or simply click in that field.
   NOTE: If the Num Lock key is OFF on the keyboard, the keypad will not be active.
   1. De-select the checkbox marked “All Data.”
   2. Set the Time Interval by keying in “01:00.” The Time Interval indicates the amount of data (in hours and
      minutes) that will be displayed on the screen (in this case, 1 hour of data will be displayed).
   3. Enter the Maximum SpO2 of “98.”
   4. Enter the Minimum SpO2 (%) of “70.”

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   5. Enter the Maximum Pulse Rate of “140.”
   6. Enter the Minimum Pulse Rate of “60.”
   7. Click on OK.
   Notice that two SpO2 events and three Pulse Rate events are indicated on the screen for the first hour of this
   study. (See section on setting Analysis Parameters for further information.)

Editing Data (Excluding and Summarizing Data)
   A marker is available in this report (indicated by a red, dashed-line rectangle). The marker can be used to
   identify a specific block of data, to review a statistical summary of data within the rectangle, and to identify
   and mark areas of artifact (noisy data) to be excluded from the analysis.
   NOTE: Excluded data are identified by crosshatched patterns. Excluded data are not excluded from any report.
   On the Oximetry Report, excluded data are included in the calculation of % Artifact. Excluded data are not
   used in any other calculations on the Oximetry Report. Analyzed Time has the excluded data subtracted from
   the Duration.
   To obtain the vertical marker, click and drag within either the SpO2 or Pulse Rate graphs. You will notice that
   when you click and drag the mouse, a rectangle is created in both the SpO2 and Pulse Rate graphs. The size of
   the rectangle changes as the mouse is moved to the left or right.
   For this review, click and hold the mouse within the Pulse Rate graph beginning at minute 6 and releasing at
   minute 11.

   To obtain statistical summary information about the data, click on the Summarize icon       or select Summarize
   from the Edit menu. Notice that the statistical summary of the patient’s data for this rectangle is shown. You
   will also notice that you can exclude data segment(s) from this dialog box. Click on Exclude, and then click on
   OK.

   Another way to exclude data segment(s) is by using the Exclude icon      on the toolbar. For this review, click
   and hold the mouse within the Pulse Rate graph, beginning at minute 21 and releasing at minute 26. After
   clicking and dragging the mouse to create a rectangle, click on the Exclude icon and click on OK. Alternatively,
   you may select Exclude Data from the Edit menu, and then click on OK.

   To clear or undo the excluded data, click on the Exclude icon , or select Exclude Data from the Edit menu. In
   the Exclude Data Segments dialog box, click on Undo All to undo all excluded data, or click on the desired data
   segment (for this example “00:06:01 – 00:11:01”). Notice the data segment is now highlighted. Click on Undo.
   NOTE: The crosshatched pattern is removed when excluded data is cleared (not excluded).

Oximetry Report
   We begin by reviewing the Oximetry Report. Select Oximetry Report from the Report menu.
   The Oximetry Report provides a good overview—using case-specific analysis parameters—of the patient during
   the monitoring period. The report is divided into four sections.
   •   Patient Data
   •   Numerical Data Summary, with detailed event data, %SpO2 data, and pulse rate data
   •   Analysis parameters (parameters used to analyze patient data)
   •   Graphic summary




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   The Oximetry Report includes a number of graphic summaries:
   •   First is a graphical representation of the patient’s SpO2 data.
   •   Directly under this graph is a summary of detected SpO2 events (identified by vertical bars).
   •   Next is a graphical representation of the patient’s pulse rate data.
   •   Directly under this graph is a summary of detected pulse events (identified by vertical bars).
   •   Time is indicated under the last graphic summary (in this case, the Pulse Rate graph). Time is marked to the
       nearest hour.
   At the bottom of the page are the SpO2 summary histograms.
   •   On the left is the % time spent at SpO2 level—the percent time distribution at a given SpO2 level, over the
       monitoring period. Notice that the y-axis is labeled % Time and the x-axis is labeled SpO2 value (100-30%).
       Note the correlation between the basal SpO2 value of 94%—located in the numerical summary near the
       top of the report—and this graph.
   •   On the right is the number of SpO2 events—by SpO2 level, in 5 percent increments. Note the correlation
       of %SpO2 level in the numerical event data summary near the top of the report with the events identified
       to the distribution summary of events: 15 events @ 94-90 %SpO2—indicated by a shorter bar in the graph,
       24 events @ 89-85 %SpO2—indicated by a higher bar in the graph.

Full Study Report
   A Full Study Report is also available through nVISION; however for this review, it will not be discussed in detail.
   As its name implies, the Full Study Report provides full graphical representations of the data. When Print is
   selected in this report, all pages will print according to the display interval selected from the Display Parameters
   dialog box.

Summary Report
   The Summary Report can be selected from the Report pull-down menu. The Summary Report provides a good
   overview—using case-specific analysis parameters—of the patient during the monitoring period. The report is
   divided into four sections:
   •   Patient Data
   •   Numerical Data Summary, with detailed event data, %SpO2 data, and pulse rate data
   •   Analysis parameters (parameters used to analyze patient data)
   •   Graphic summary
   The Summary Report includes a number of graphic summaries:
   •   First is a graphical representation of the patient’s SpO2 data.
   •   Directly under this graph is a summary of detected SpO2 events (identified by vertical bars).
   •   Next is a graphical representation of the patient’s pulse rate data.
   •   Directly under this graph is a summary of detected pulse events (identified by vertical bars).
   •   Time is indicated under the last graphic summary (in this case, the Pulse Rate graph). Time is marked to the
       nearest hour.
   In addition, the Summary Report includes an Interpretation Area (for reviewer comments) and a Physician
   Signature Block (for insurance and record-keeping purposes).




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Saving Data
   In order to save the changes you made to the data set (i.e., any editing, changes to the analysis parameters,
   etc.), you must save the changes before closing the file. To save data to the same file name, select Save from
   the File pull-down menu. Selecting Save As from the File pull-down menu will allow you to save the edited file
   under a different name if you do not wish to overwrite the original data.
   NOTE: If the data set is closed before saving the changes, the data set will revert to the original or most
   recently saved data.

Conclusion
   Nonin Medical Inc. hopes that the overview information provided in this tutorial has provided useful
   information that will allow you to more comfortably explore the unique features of nVISION software.
   See Also:
    Overview of nVISION
    Capturing and Saving Data
    Editing Data
    Analyzing Data
    Printing Reports




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Glossary
A
    Term                           Definition
    adjusted index                 A key sleep screening statistic, calculated as events per hour of “analyzed data”
                                   (that is, a data set minus any excluded data). “Raw” and “adjusted” index values
                                   are included in the Event Data reporting block of the Oximetry Report. For
                                   example, if a patient’s recording contains 300 events over a recording period of 4
                                   hours, and 1 hour of data is excluded, the Adjusted Index is calculated as follows:
                                   300/3 = 100 (events/hour)
    all data                       A check box in the Display Parameters dialog box. When the All Data check box is
                                   selected, the entire data set will be displayed in the Strip Chart Report. (The Time
                                   Interval [HH:MM] option is disabled).
    analysis parameters            Analysis parameters define the criteria by which events are detected and
                                   reported.
    % artifact                     A parameter found on the Oximetry Report. The percent of time data were
                                   missing or excluded. For example, if the study is 6 hours long, and 1 hour is
                                   determined to be artifact, the % Artifact is calculated as follows: 1/6 = 16%
    ASCII file                     American Standard Code for Information Interchange. A format that allows you
                                   to save data to be read into other programs (e.g., Excel) for further analysis.
    average                        Sum of the data value divided by the number of data points.
    avg. event dur. (sec)          Average event duration, which is average time in seconds per event.
    avg. low SpO2 (%)              Average of lowest SpO2 seen over all events.
    avg. low SpO2 < 88%            The average of lowest SpO2 seen over all events where the drop exceeded the
                                   special desaturation criteria level.
    avg. pulse rate (BPM)          Found in the Pulse Data summary section of the Oximetry Report, the average
                                   pulse rate is the average beats per minute of the heart during the measured time
                                   period.
    avg. respiration rate (BrPM)   The average respiration rate is the average breaths per minute recorded during
                                   the data set.

B
    Term                           Definition
    basal SpO2 (%)                 Steady-state SpO2. The basal SpO2 is the average of the SpO2 readings that
                                   are not included in any desaturation event. The basal SpO2 is displayed on the
                                   Oximetry Report.
    BMI                            Body mass index.
    body mass index (BMI)          A body measurement that takes only height and weight into account. A method
                                   of determining caloric nutritional status. Body mass index is calculated as follows:
                                   BMI = weight (kg)/height (m)2
                                   A BMI over 25 is an indication of overweight; this may be a risk factor for sleep
                                   apnea episodes. Because BMI does not consider lean body mass, its results are
                                   usually most reliable for non-athletes.
    BPM                            Beats per minute—a measure of pulse rate. BPM should not be confused with
                                   breaths per minute (BrPM).
    BrPM                           Breaths per minute–a measure of respiration. BrPM should not be confused with
                                   beats per minute (BPM)




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C
    Term                            Definition
    capnography                     The monitoring of the concentration or partial pressure of carbon dioxide in the
                                    respiratory gases.
    capture                         When the oximeter plays back patient data from memory, the PC will catch the
                                    data coming in over the serial communications port.
    case study                      An example based on real data used for teaching or analysis. Also called “data
                                    set” within this Help file.
    comm port                       Communications port. A port on the computer where the serial cable is attached.
                                    You can choose the Communications Port setting by selecting Comm Port under
                                    the Options pull-down menu.
    comma-separated value file      An ASCII file with the data values separated by commas, with one line for each
                                    sample. (For example, the format would look like xx, yy, zz, ....)
    communications port (comm       A port on the computer where the serial cable is attached. Often called a “comm
    port)                           port.” You can choose the Communications Port setting using the Comm Port
                                    command under the Options pull-down menu.
    configure communications port   A dialog box that appears when the Comm Port command under the Options
                                    pull-down menu is selected. You can choose the computer serial cable
                                    connection setting using the Comm Port command.
    cursor time                     Cursor Time (in HH:MM:SS) is displayed at the bottom of the Data Display and
                                    Editing Window when the cursor is dragged across a Strip Chart Report to select
                                    a time interval to exclude or summarize.
    Customer Support                Phone: 1.800.356.8874 (USA and Canada only)
                                    +1.763.553.9968
                                    +31 (0)13 - 79 99 040 (Europe)
                                    Fax: +1.763.553.7807
                                    +31 (0)13 - 79 99 042 (Europe)
                                    E-mail: technicalservice@nonin.com
                                    technicalserviceintl@nonin.com
                                    Web: nonin.com
                                    Mailing address:
                                    Nonin Medical, Inc.
                                    13700 1st Avenue North
                                    Plymouth, MN 55441-5443, U.S.A.
                                    Nonin Medical B.V.
                                    Prins Hendriklaan 26
                                    1075 BD Amsterdam, Netherlands
                                    NOTE: When calling Nonin Customer Support, you will be asked to provide the
                                    nVISION software key code, which is displayed in the About nVISION window,
                                    and is also printed on the nVISION CD-ROM jacket.

D
    Term                            Definition
    data capture                    To download or retrieve data from a Nonin pulse oximeter using nVISION
                                    Software.
    data display and editing        The Strip Chart Report window allows the user to adjust the display parameters
    window                          for the full report and to exclude noisy or otherwise suspect data from analysis.
    data path                       A command, located under the Options pull-down menu, that allows you to
                                    select the folder where nVISION data is stored.


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    Term                          Definition
    data set                      A single captured recording file. Also called “case study” within this Help file.
    data storage path             A command, located under the Options menu, that allows you to select the
                                  folder where nVISION data is stored.
    default setting               When the user chooses Defaults, all parameters will be set to other preset values.
                                  Example: Choosing defaults with Case Specific Analysis Parameters will set them
                                  to the System Analysis Parameters.
    desaturation                  When SpO2 shows a decreasing trend.
    desaturation criteria level   A value that is set using the Analysis Parameters command.
    desaturation event            Defined by values set using the Analysis Parameters command. Both Percent Drop
                                  for Event (%) and Minimum Event Duration (sec) criteria must be met in order for
                                  an event to appear (graphically shown as a solid black bar).
    directory                     A specific location within a computer server or hard drive. For example, nVISION
                                  users can import an exported data set from an ASCII file into the “DataSets”
                                  directory and the patient history database.
    display parameters            Parameter items set up or modified to obtain desired report output. Selecting
                                  the Display Parameters command from the Options pull-down menu brings up
                                  a dialog box to adjust the scales for viewing the data. Through this dialog box,
                                  you can select how much time on the x-axis will fit in the window and adjust the
                                  range of values for pulse rate, saturation, or respiration rate on the y-axis.
    display time                  The length of time currently displayed on a single screen in the Strip Chart Report.
    DOB                           Date of Birth. This data must be entered in the format “YYYY/MM/DD”. (For
                                  example: 1977/04/05.)
    download                      To capture or retrieve data from a Nonin pulse oximeter using nVISION Software.
    duration (dur)                The length of time of a captured recording or event.

E
    Term                          Definition
    edit                          To change or update program parameters. The Edit menu includes Summarize
                                  Data, Exclude Data, Patient Info, and Patient History File. These commands
                                  contain information that can be changed or updated.
    edit menu                     See Edit Menu Commands
    elapsed time                  The length of time that has passed in the captured recording to get to the data
                                  shown in the window of the Strip Chart Recording.
    event                         A pattern in the recorded data that provides objective documentation that a sleep
                                  disorder might be present. The pulse rate must exceed both the rate change and
                                  the event duration criteria to qualify as an event. The saturation must drop more
                                  than the percentage change criteria and exceed the minimum duration criteria to
                                  qualify as an event.
    event data                    The event data block presents summary statistics for both pulse rate and %SpO2.
    event distribution            A way of summarizing event data to look at the dispersion pattern of low SpO2
                                  and duration.
    event duration                The length of time that an event lasts.
    exclude                       To remove, eliminate, or reject suspect data from the analysis.
    exclude data                  To remove, eliminate, or reject suspect data from the analysis.
    exclude data segments         A list box that allows the user to arrange excluded data during analysis.
    exit                          The Exit command is under the File pull-down menu. When Exit is selected, the
                                  nVISION program will terminate.


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    Term                     Definition
    export                   The Export command allows you to export data from nVISION to a comma-
                             separated value file, so it can be read into a spreadsheet program such as
                             Microsoft Excel or Lotus 1-2-3.
                             Selecting Export from the File pull-down menu allows you to write the currently
                             open data set to an ASCII file. This allows you to save the data in a form that can
                             be read into a spreadsheet program for further analysis. The Export command
                             converts a data set from the internal format to a fixed format ASCII character file,
                             where the individual data fields are separated by commas.

F
    Term                     Definition
    file menu                See File Menu Commands
    full study report        The Full Study Report provides full graphical representations all of the data—
                             arranged on as many pages as it take to print that data to the scale selected in
                             the Display Parameters dialog box. The Full Study Report is displayed on-screen
                             vertically, and users scroll through the data using the Page Up/Page Down keys or
                             the scroll bar on the right side of the screen.
                             Crosshatched patterns are indicated on the graphs to show segments excluded
                             from analysis.

H
    Term                     Definition
    help                     nVISION Software comes with an online Help system to help you use the
                             software.
                             To Use nVISION Help:
                             1. Select Help Topics from the Help menu.
                             2. Choose the Contents tab to review the table of contents.
                             -or-
                             Choose the Index tab to search the index entries.
                             -or-
                             Choose the Find tab to search for specific entries in the Help Topics.
    help menu                The Help menu includes Help Topics and About nVISION. The Help menu allows
                             users to access the nVISION Help system.
    help topics              The Help Topics command is under the Help menu. When the Help Topics
                             command is selected, a dialog box with Contents, Index, and Find tabs appears.

I
    Term                     Definition
    ID number                Patient identification number. This number can be any user-defined number, or it
                             can be left blank if desired.
    import                   The Import command allows you to import data that has previously been
                             exported from nVISION. Selecting Import from the File pull-down menu allows
                             you to import an exported data set from an ASCII file into the “DataSets”
                             directory and the patient history database.
    index                    A key sleep study statistic, calculated as events per hour. “Raw” and “adjusted”
                             index values are included in the Event Data reporting block of the Oximetry
                             Report.




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K
    Term                           Definition
    key code                       The software key code printed on the nVISION CD-ROM jacket. The key code
                                   is entered during nVISION Software installation and is displayed in the About
                                   nVISION window.
                                   During the nVISION Software installation process, the install program will ask for
                                   a key code. The installation will not proceed if an invalid key code is entered. (The
                                   key code must be entered as it appears—including dashes.) When calling Nonin
                                   Technical Support, the user will be asked to provide this key code.

L
    Term                           Definition
    language                       A command under the Options pull-down menu that allows you to change the
                                   language used in reports, menus, etc.
    left-click                     Click using the left mouse button.
    low pulse rate (BPM)           A statistic displayed on the Oximetry Report that defines the single lowest pulse
                                   rate in the recording.

M
    Term                           Definition
    main window                    The Main window allows selection of the functions needed for data capture,
                                   editing of data sets, analysis, or report printing.
    maximum pulse rate (BPM)       A parameter in the Display Parameters dialog box that sets the value shown at
                                   the top of the y-axis for pulse rate graphs.
    maximum SpO2(%)                A parameter in the Display Parameters dialog box that sets the value shown at
                                   the top of the y-axis for SpO2 graphs.
    min. SpO2(%)                   Lowest single SpO2 value seen. This parameter is displayed in the Oximetry
                                   Report.
    min. respiration rate (BrPM)   Lowest single respiration rate value seen. This parameter is displayed on the
                                   Respiration Rate Report.
    minimum event duration (sec)   Values that are set using the Analysis Parameters command; the minimum
                                   duration (which is measured in seconds) must be exceeded to qualify as an SpO2
                                   or pulse rate event.
    minimum pulse rate (bpm)       A parameter in the Display Parameters dialog box that sets the value shown at
                                   the bottom of the y-axis for pulse rate data graphs.
    minimum SpO2(%)                A parameter in the Display Parameters dialog box that sets the value shown at
                                   the bottom of the y-axis for SpO2 data graphs.

N
    Term                           Definition
    new data capture               The New Data Capture command, which is located under the File pull-down
                                   menu, is used to capture and download data sets from Nonin pulse oximeters.
    nmi files                      The file type suffix (.nmi) added to Nonin Oximetry data files. (Literally: Nonin
                                   Medical, Inc.)




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O
    Term                      Definition
    open saved data           Using the Open Saved Data command under the File pull-down menu allows
                              users to open a saved data set.
    options menu              See Options Menu Commands. The commands in the Options menu allow the
                              user to configure several nVISION parameters. The selected configuration options
                              are saved by nVISION. If no settings are changed by the user, nVISION will use the
                              default configuration.
    oximeter                  A pulse oximeter. A device that measures blood oxygen saturation (%SpO2) and
                              pulse rate.
    oximetry report           The Oximetry Report provides an overview—using user-defined analysis
                              parameter settings—of the patient during the monitoring period. The Oximetry
                              Report is a one-page summary that focuses primarily on event data as defined by
                              the analysis parameters. The report is divided into four sections:
                              • Patient Data
                              • Numerical Data Summary, with detailed event data, %SpO2 data, and pulse
                              rate data
                              • Analysis parameters (parameters used to analyze patient data and calculate
                              events)
                              • Graphic summaries
                              The Oximetry Report includes a number of graphic summaries, including SpO2
                              data, detected SpO2 events, pulse rate data, detected pulse rate events, and
                              time. Events are calculated by user-defined analysis parameters and are indicated
                              with vertical black lines below the data in each respective graph.
                              The Oximetry Report is used primarily for data summary and overview purposes.

P
    Term                      Definition
    parameter                 A value or setting.
    patient data              Patient information. To begin entering patient information to be associated with a
                              saved recording, the Patient History File appears. If you want to enter new patient
                              information to be associated with a downloaded data set, select the New button
                              on the Patient History File. The Save Data Set to File dialog box allows patient
                              data to be entered.
    patient history file      The Patient History File, located under the Edit pull-down menu, serves as
                              a “starting point” for downloading patient data. It is used to store and
                              update entered patient information. The Patient History File recalls the patient
                              information to be associated with a new data file so that the user does not have
                              to re-enter it.
                              NOTE: Six example case studies are placed in the “DataSets” directory and the
                              Patient History File as part of the initial installation of nVISION.
                              Patient history information can be seen on any of nVISION’s reports between the
                              two black lines at the top of the reports.
    patient ID                An identification number used to sort the Patient History File. The Patient ID field
                              accepts up to 12 characters (alphabetic and numeric, as well as some special
                              characters). This number can be any user-defined number, or it can be left blank if
                              desired.




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    Term                           Definition
    patient information (patient   The Patient Info selection in the Edit pull-down menu brings up the Edit Patient
    info)                          Information dialog box, which allows users to store case-specific data without
                                   changing the entire patient history file.
                                   • When Update is selected, the patient information is updated and the dialog
                                   box closes.
                                   • When Cancel is selected, any changes made will be lost and the dialog box
                                   closes.
                                   NOTE: When patient information is updated in the Edit Patient Information
                                   dialog box, those updates will only be reflected in the currently open recording
                                   or report. This allows nVISION users to track and record patient changes without
                                   changing the patient history file.

                                       Tip
                                   NOTE: If you need to delete text Comments fields, enter one space (press the
                                   Space bar one time) before clicking the Update button.
    popup window                   This window is a popup window–a Help window that opens when the underlined
                                   popup text is left-clicked once. The popup window closes when the mouse is left-
                                   clicked a second time. Popup windows are often used to define glossary terms.
    percent drop for event (%)     A value that is set using the Analysis Parameters command. nVISION uses an
                                   SpO2 drop of 4% as the default setting for the Percent Drop For Event (%).
    playback mode                  A stage of operation where the oximeter will play back the patient data stored in
                                   memory.
    print                          All nVISION print functions use a standard Windows Print dialog box.
    print preview                  When Print Preview is selected, the report is displayed on screen as it would
                                   appear when printed. This option is available in the File pull-down menu.
    print setup                    When Print Setup is selected from the File pull-down menu, the standard
                                   Windows dialog box for print setup will appear.
    progress bar                   The progress bar shows the download progress for the recording currently being
                                   captured.
    pulse                          Rhythmic dilation of an artery through the contraction of the heart.
    pulse event                    Defined by values set using the Analysis Parameters command. Both Rate Change
                                   for Event (bpm) and Minimum Event Duration (sec) criteria must be met. In
                                   addition to the user-defined criteria, a downward trend must drop below 60 BPM
                                   or an upward trend must exceed 100 BPM to be classified as an event.
    pulse rate                     Heart rate
    pulse rate graph enabled       A check box in the Display Parameters dialog box. Checking this box allows you
                                   to display pulse rate data in the Strip Chart and Full Study Reports.
    pulse rate parameters          Values that are set using the Analysis Parameters command under the Options
                                   pull-down menu.

R
    Term                           Definition
    radio button                   A radio button is a control or switch used to select between two or more options
                                   in a dialog box.
    rate change for event (BPM)    The rate change for an event is one of the user-defined parameters used as
                                   criteria for a pulse rate event.




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    Term                             Definition
    recording date                   The date at which the data was recorded. The file name for storing the data set
                                     is generated from the name, recording date, and recording time. If you wish to
                                     change the name at any time, you may use the “Save As” option.
    recording time                   The time at which the data was recorded. The file name for storing the data set
                                     is generated from the name, recording date, and recording time. If you wish to
                                     change the name at any time, you may use the “Save As” option.
    report                           Options available from the Report pull-down menu are as follows: Oximetry
                                     Report, Strip Chart Report, Full Study Report, Respiration Rate Report, Summary
                                     Report, 6 Minute Walk Report, and Report Title. Each report contains distinct
                                     information. The currently selected report type is indicated with a checkmark to
                                     the left of the report in this menu. The default report type is Strip Chart Report
                                     when a data set is opened.
    report menu                      See Report Menu Commands.
    report title                     The title that is automatically applied to a report. The report title is often the
                                     name of a hospital or medical facility. Report titles can be changed by selecting
                                     Report Title from the Report pull-down menu.
    respiration rate                 Respiration rate is calculated as breaths per minute; i.e., 60 seconds divided by
                                     the interval (in seconds) since the last breath. This measurement is a breath-by-
                                     breath averaging, to respond quickly to changes in patient status. Essentially,
                                     respiration rate is the time interval since the previous breath occurred.
    respiration rate graph enabled   A check box on the Display Parameters dialog box. Checking this box allows you
                                     to graphically display respiration data, when it is available.
    respiration rate report          When you select the Respiration Rate Report option from the Report pull-down
                                     menu, the Respiration Rate Report is drawn in the main view for the currently
                                     open data set. The vertical scroll bars can be used to examine the report data.
                                     The Respiration Rate Report is only available when respiration data has been
                                     captured and downloaded.
    respiratory pause                A respiratory pause is a time between breaths that is longer than that set by
                                     criteria using the Analysis Parameters command.
    respiratory pause parameters     A value that is set using the Analysis Parameters command under the Options
                                     pull-down menu.
    right-click                      Click using the right mouse button.

S
    Term                             Definition
    saturation criteria              The Analysis Parameters command under the Options pull-down menu allows you
                                     to select the percentage drop in saturation criteria over which the saturation must
                                     continue dropping in order to be considered an event.
    save                             Save the file. When the Save command is selected from the File pull-down menu,
                                     the opened case and any changes made to the case are saved to disk.
    save data as                     The Save As command allows you to save any data set with a different file
                                     name. For example, you may choose to perform some specific data analysis on
                                     an existing data set but not want to modify or overwrite results from a previous
                                     analysis. The Save As command allows you to perform modifications to existing
                                     data sets and save them with different file names while maintaining the original
                                     data sets.




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Term                            Definition
save data set to file           When you select a patient and choose OK, the Save Data Set To File dialog box
                                appears with information about the selected patient appearing in the dialog box.
                                This dialog box appears after downloading data from a pulse oximeter, and
                                should not be confused with the Save As command.
save XML data                   This command will cause the Oximetry Report data to be saved in an XML file
                                with the same name as the .nmi file the study is saved in. Two other files in a
                                .png format will be saved with the same name plus SpO2 or Pulse added to the
                                name. These are the SpO2 and Pulse graphs which are referenced in the XML file.
                                All three files must remain in the same directory to display properly. This can be
                                opened in Microsoft Internet Explorer or any other XML utility.
                                The Save XML Data command will be grayed out on all reports except the
                                Oximetry Report. Once the XML files have been saved, they cannot be saved
                                again until the study has been reopened with the Open Saved Data option in the
                                File menu.
search criteria                 A selection found in the Patient History dialog box. You can choose to search and
                                list the patients by Last Name or Patient ID.
select recordings               When all data sets have been downloaded, the Select Recordings dialog box is
                                shown. The user must highlight the recording to be saved and click on Save.
serial cable                    Nonin Pulse Works with Serial Cable
                                Oximeter
                                2120 UNI-RS232
                                2500, 2500A 1000MC or 1000RTC
                                3100 1000SC-WO
                                3150 Bluetooth wireless
                                4000 UNI-RS232
                                8500M 1000MC or 1000RTC
                                8600M 1000PFC
                                8600FOM 1000PFC
                                9600, 9700 UNI-RS232
                                9843, 9845, 9847 1000MC or 1000RTC
sleep screening (sleep study)   Also known as “sleep study.” An examination of sleeping patterns and data.
                                The key sleep study statistic, called the “index,” is calculated as events per hour.
                                Summary statistics for events are total number of events, cumulative time spent
                                in events, average event duration, raw index value and the adjusted index where
                                artifact and excluded data are not used.
                                NOTE: Do not use nVISION data as the sole basis for making a medical
                                diagnosis!
SpO2                            A measure of arterial hemoglobin percent oxygen saturation.
SpO2 enabled                    A check box on the Display Parameters dialog box. Checking this box displays
                                SpO2 data on the Strip Chart and Full Study Reports.
SpO2 events                     Events that are marked by SpO2 dropping a user-specified number of percentage
                                points—and maintaining that drop for longer than the user-specified number of
                                seconds criteria.
%SpO2 level                     A parameter found on the Oximetry Report where the number of events
                                occurring at each SpO2 level is shown.
SpO2 parameters                 Values that are set using the Analysis Parameters command under the Options
                                pull-down menu.
spreadsheet program             An alternative data analysis program.
strip chart characteristics     A group of parameters in the Display Parameters dialog box.



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    Term                           Definition
    strip chart report             The Strip Chart Report is the default report that appears when a data set is
                                   opened in nVISION software. The Strip Chart Report, which is displayed on the
                                   screen horizontally, provides a detailed graphical representation of SpO2, pulse
                                   rate, and respiration data (when applicable), where time is indicated on the x-axis
                                   of each graph.
                                   Events are calculated according to selected analysis parameters and are indicated
                                   with black marks above the data in each respective graph.
    summarize                      A function used with the rectangle and Strip Chart Report to investigate data and
                                   display summary statistics.
    summarize data                 A function used with the rectangle and Strip Chart Report to investigate data and
                                   display summary statistics.
    summary statistics             The Summary Statistics text box appears by choosing the Summarize Data
                                   command from the Edit pull-down menu or clicking the tool bar icon           after
                                   marking data on the Strip Chart report with a rectangle. Statistics listed include
                                   the Time interval of the data enclosed by the rectangle; Average, Minimum and
                                   Maximum numbers for collected data categories, as well as Number of Events per
                                   data category.

T
    Term                           Definition
    time in events (min)           The sum of time durations for all events. Time in events is also a statistic on the
                                   Oximetry report.
    time interval (HH:MM)          The Time Interval can be edited in the Display Parameters dialog box. All
                                   information must be displayed as HH:MM. To set a time interval, deselect “All
                                   Data,” and then either manually enter a time interval or use the up and down
                                   arrows to select the desired interval.
    time since last breath (sec)   The criteria for marking a Respiration Pause, which is set using the Analysis
                                   Parameters command. nVISION uses 30 seconds as the default setting for the
                                   Time Since Last Breath (Sec).
    toolbar                        The nVISION toolbar provides shortcuts to some frequently used commands.
    total events                   The total number of events during any measured time period.
    tutorial                       An example based on real data used for teaching or analysis.

U
    Term                           Definition
    units of measure               A Radio Button control in the Report Title dialog box. Used for selecting the
                                   desired English or metric units (in/lb or cm/kg) for entering the height and weight
                                   in the Patient History File. (These units are displayed on reports.)
                                   NOTE: Before capturing (downloading) data for the first time, choose the Report
                                   Title command from the Report menu. A dialog box appears. Enter the report
                                   title (usually a hospital name). The dialog box also contains the Units of Measure
                                   radio button for in/lb or cm/kg. Select the desired English or metric units.

X
    Term                           Definition
    XML options                    See XML options.




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FAQs (Frequently Asked Questions)
    How do I contact Customer Support?

Working with Data Sets
    How do I open a saved data set?
    How do I close a data set?
    How do I save an opened data set using the same file name?
    How do I save a data set using a new file name?
    How do I import nVISION data as a new data set?
    How do I export nVISION data as a new data set?
System Requirements
   What are the minimum system requirements?
   •    IBM-compatible PC with an 80486 or faster CPU
   •    Windows XP SP3, Windows Vista, Windows 7 (32 bit and 64 bit) or Windows 8 (32 bit and 64 bit)
        operating systems
   •    At least 256Mb of RAM (memory)
   •    At least 20Mb free space on the hard drive
   •    CD-ROM drive (24X speed or better)
   •    Video card with 800 x 600 VGA resolution
   •    At least 1 serial communications port

Downloading Data
    How do I capture a new data set from a Nonin pulse oximeter?
   What is the minimum amount of stored data that can be analyzed?
       In order for data to be stored in the pulse oximeter’s memory, the monitoring duration must be at least
       one minute.

   If the download is not successful, will any error messages be displayed?
       Yes, nVISION will prompt the user with error messages if the download is not successful.

   After data is downloaded to a computer, is the data erased from the pulse oximeter’s memory?
       No, the data remains in the pulse oximeter’s memory until it is erased, following the procedure to erase
       data stored in memory for the respective pulse oximeter.

   At what point is data identified as an event?
       An event is determined by user selected analysis parameters. In general, after both criteria are met or
       exceeded, the event occurs.

       SpO2 data are also evaluated based on known patterns of desaturation occurrences during sleep. The
       data might not be marked as an event if the desaturation is gradual, for longer than two minutes in
       duration.

       Pulse rate is evaluated based on trends recorded. The current value is compared to the previous value
       to see if both event criteria are met or exceeded. In addition, if the trend is upward, 100 must be
       exceeded; if the trend is downward, the pulse rate must drop below 60 BPM.



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   How is the Adjusted Index calculated?
     Adjusted Index = Number of events / non-artifact time (hours)

   What is Body-Mass Index and how is it calculated?
     Body-mass index (“BMI”) is a measurement of an individual’s height-weight ratio. It is an individual’s
     weight in kilograms divided by the square of that individual’s height in meters.

   Is data ever removed or deleted by nVISION?
     Data is never removed or deleted. However if the pulse oximeter is not able to track an individual’s
     blood oxygen saturation, pulse rate and/or respiration rate, a missing data marker is used for that
     sample interval. This unavailable or “missing” data will appear as a gap in the graphical representation
     of the patient’s SpO2, pulse rate, or respiration rate. Depending upon the scale chosen for the report,
     the missing data may or may not be noticeable.

   With what Windows software is nVISION not verified?
     nVISION has not been verified with Windows® ME.

Using Reports
   Can I change the report title?
     Yes, the title of a specific patient report can easily be changed to customize your reports.

     The report title can be modified when all saved data sets are closed. All data sets printed thereafter
     will contain the new report title.

   Can I combine two or more data sets into one data set?
     To merge two or more data sets, highlight the data sets you wish to merge in the Select Recordings
     dialog box, and then click Save. In the Strip Chart and Full Study reports, the merged recordings will be
     shown with a “gap” to identify that the data is not contiguous. The gap is indicated by crosshatched
     shading.

     If the date and time are not set in the pulse oximeter before data is recorded, the gap between the
     merged recordings will default to 10 minutes.

     NOTE: When a 3100 or 3150 Wrist Oximeter is used, data sets that have been recorded with different
     sample rates cannot be merged. This means that when users select the first data set, only data sets
     that have the same sample rates may also be selected.

   How are excluded data identified on the reports?
     On the Oximetry Report, excluded data is identified in the summary information listed as “% Artifact.”

     On all reports, the “Time Analyzed” has the excluded data removed. In short, Duration minus Time
     Analyzed = Excluded Data.

     The excluded data time is also added to the missing data-so that the % Artifact is both the missing
     and excluded data.

   Can I convert data to an ASCII format?
     Yes, data can be exported from a data set. Exported data is saved in ASCII format, comma delimited.
     This may be helpful if interested in evaluating the data in an Excel spreadsheet for example.



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Printing Data and Reports
   Can I print on-screen data?
     Yes, the Strip Chart report allows you to print on-screen data. The Oximetry Report is a one-page
     summary of a patient’s entire monitoring session. Additionally, the Full Study Report prints all the data.
   How do I print the current report?
   How do I preview the current report on the screen as it will appear printed?
   How do I select a printer and printer connection?
   How do I program the 3100 or 3150 Wrist Oximeter?
Storing Data
   Will nVISION “auto save” my open files?
     No, any changes made to a file must be saved (using Save or Save As) before closing the file. If a file is
     closed without saving the changes, the changes will be lost.

   When should I archive my patient files/data sets?
     Archive and storage of patient records are important issues that will need to be addressed by the
     user. At a minimum, we recommend backing up all patient files—copying the files from the Nonin and
     Nonin\Data Sets directory on the PC’s hard drive onto a network drive or another medium such as
     floppy disk or CD-Rom.

System Defaults
   Can I change the system defaults for the analysis and display parameters?
     Yes, nVISION features the ability to change the system defaults. The system analysis parameters and
     default parameters can be accessed if all data sets are closed.

     NOTE: After the system defaults are modified, all data sets collected thereafter will be analyzed based
     on the new parameters unless case-specific parameters changes are made.




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Customer Support
Contacting Customer Support
  Phone: 1.800.356.8874 (USA and Canada only)
  +1.763.553.9968
  +31 (0)13 - 79 99 040 (Europe)
  Fax: +1.763.553.7807
  +31 (0)13 - 79 99 042 (Europe)
  E-mail: technicalservice@nonin.com
  technicalserviceintl@nonin.com
  Web: nonin.com
  Mailing address:
  Nonin Medical, Inc.
  13700 1st Avenue North
  Plymouth, MN 55441-5443 U.S.A.
  Nonin Medical B.V.
  Prins Hendriklaan 26
  1075 BD Amsterdam, Netherlands
  NOTE: When calling Nonin Customer Support, you will be asked to provide the nVISION software key code,
  which is displayed in the About nVISION window, and is also printed on the nVISION CD-ROM jacket.




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 shall be of no force or effect unless contained in a subsequent written modification signed by both parties.
 Should you have any questions concerning this agreement, you may contact NONIN MEDICAL, INC. as follows:
 Nonin Medical, Inc.
 13700 1st Avenue North
 Plymouth, MN 55441-5443 USA
 www.nonin.com
 Telephone: +1 (763) 553-9968
 E-mail: technicalservice@nonin.com




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 fins d’interprétation ou de mise en application des termes du présent Contrat, la partie ayant gain de cause est en droit de recouvrer ses
 honoraires d’avocats, coûts et dépenses réels.
 6. INTÉGRALITÉ DU CONTRAT : Le présent document constitue l’intégralité de l’accord entre les parties aux présentes et toute
 représentation ou modification orale sera sans effet, sauf si elle apparaît dans une modification écrite ultérieure signée des deux parties.
 Pour toute question concernant ce contrat, vous pouvez contacter NONIN MEDICAL, INC. comme suit :
 Nonin Medical, Inc.
 13700 1st Avenue North
 Plymouth, MN 55441-5443 USA
 www.nonin.com
 Téléphone : +1 (763) 553-9968
 E-mail : technicalservice@nonin.com




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SOFTWAREVEREINBARUNG FÜR EINGESCHRÄNKTE NUTZUNG
NONIN MEDICAL, INC. („Lizenzgeber“) knüpft die Erteilung einer Lizenz für die beiliegende nVISION® Software und das schriftliche Material
(„Software“) an die Bedingung, dass Sie („Lizenznehmer“) alle in der vorliegenden Lizenzvereinbarung festgelegten Bestimmungen und
Bedingungen akzeptieren. Bitte lesen Sie diese Bestimmungen sorgfältig durch, da Sie sich durch Öffnen der versiegelten Datenträger-
Verpackung einverstanden erklären, die Bestimmungen dieser Vereinbarung einzuhalten. Wenn Sie diesen Bestimmungen nicht zustimmen,
wird Ihnen der Lizenzgeber keine Lizenz erteilen. In diesem Fall sollten Sie das Produkt sowie alle Verpackungsmaterialien umgehend an
NONIN MEDICAL, INC. zurückgeben, damit Ihre Lizenzgebühr rückerstattet werden kann.
1. LIZENZERTEILUNG: NONIN MEDICAL, INC. erteilt Ihnen hiermit eine einfache, nicht übertragbare Lizenz zum Gebrauch einer Kopie der
nVISION® Software („Programm“) auf einem Einzelcomputer, gemä den in dieser Software-Lizenzvereinbarung festgelegten Bestimmungen
und Einschränkungen. Sie dürfen das Programm wie folgt nicht verwenden: auf mehr als einem Netzwerkterminal, auf einem
Mehrplatzsystem, auf einem Teilnehmersystem, in einem Datenverarbeitungsbetrieb oder auf einem System, bei dem das Programm von
mehr als einem Computer gleichzeitig verwendet werden könnte.
2. NUTZUNGS- UND ÜBERTRAGUNGS-EINSCHRÄNKUNGEN: Diese Lizenz gibt dem Lizenznehmer das Recht, Kopien der lizenzierten
Software ausschließlich für folgende Zwecke zu erstellen: (a) Für die ausschließliche Verwendung durch den Lizenznehmer, der auf Ihrer
nVISION® Registrierungskarte identifiziert ist, und (b) für Sicherungs- oder Archivierungszwecke. Mit Ausnahme der oben aufgeführten
Zwecke darf der Lizenznehmer die Software (ganz oder teilweise) ohne vorherige schriftliche Genehmigung des Lizenzgebers weder
vervielfältigen, kopieren, verteilen, verkaufen, vergeben, ausleihen, übertragen noch einer anderen natürlichen oder juristischen Person
zuteilen. Darüber hinaus darf der Lizenznehmer die Software weder umkehrtechnisch analysieren, dekompilieren oder disassemblieren
noch anderen Personen dies gestatten.
3. EIGENTUMSANSPRUCH: Die beiliegende Software und das Begleitmaterial sind und bleiben das alleinige und ausschließliche Eigentum
von NONIN MEDICAL, INC. und sind durch US- und internationale Urheberrechte geschützt. Diese Lizenz erteilt dem Lizenznehmer nur das
Recht, die lizenzierte Software gemä den Bestimmungen dieser Vereinbarung zu nutzen.
4. BESCHRÄNKTE GARANTIE: Der Lizenzgeber garantiert für den Zeitraum von 90 Tagen ab Datum des Softwareempfangs, dass die
Software im Wesentlichen gemä dem schriftlichen Begleitmaterial funktionieren wird. Für Unterstützung, Wartung, Schulung und den
ordnungsgemäßen Einsatz der Überwachungs- und Schnittstellengeräte, auf denen die Software von NONIN MEDICAL, INC. verwendet
wird und die die Leistung der Software beeinträchtigen könnten, ist der Lizenzgeber nicht verantwortlich. Demzufolge erteilt der
Lizenzgeber keine Garantie oder Zusicherung in Bezug auf die Genauigkeit und die Verwendung der Software.
UNTER KEINEN UMSTÄNDEN IST DER LIZENZGEBER FÜR DIAGNOSE- ODER PROGNOSEFEHLER ODER SCHÄDEN, EINSCHLIESSLICH
GEWINNVERLUSTEN, VERLUSTEN VON ERSPARNISSEN ODER ANDEREN NEBEN- ODER FOLGESCHÄDEN, DIE SICH AUS DER NUTZUNG
BZW. UNFÄHIGKEIT DER NUTZUNG DER SOFTWARE SEITENS DES LIZENZNEHMERS ERGEBEN, HAFTBAR. DER LIZENZGEBER LEHNT
ALLE ANDEREN GEWÄHRLEISTUNGEN, OB AUSDRÜCKLICH ODER STILLSCHWEIGEND, AB, EINSCHLIESSLICH, ABER NICHT DARAUF
BESCHRÄNKT, STILLSCHWEIGENDE GEWÄHRLEISTUNGEN DER HANDELSÜBLICHKEIT, EIGNUNG FÜR EINEN BESTIMMTEN ZWECK UND
NICHTVERLETZUNG DER RECHTE DRITTER.
Die einzige Haftung des Lizenzgebers und der ausschließliche Rechtsbehelf des Lizenznehmers sind, je nach Ermessen des Lizenzgebers,
entweder: (a) Rückerstattung des Kaufpreises oder (b) Ersatz der Software, die der beschränkten Garantie des Lizenzgebers nicht entspricht
und die an den Lizenzgeber mit einer Kopie der Lizenznehmerquittung zurückgegeben wurde. Für die Ersatz-Software wird eine Garantie
für den Rest der ursprünglichen Garantiedauer oder für einen Zeitraum von 30 Tagen gewährt, wobei die jeweils längere Frist gilt. Diese
beschränkte Garantie (die außerhalb der USA nicht erhältlich ist) gilt nicht, wenn die Softwaremängel Folge einer Änderung an der
Software, eines Unfalls, eines Missbrauchs oder eines unsachgemäßen Gebrauchs sind.
5. ANSPRÜCHE: Der Lizenznehmer erklärt sich einverstanden, den Lizenzgeber, seine Führungskräfte, Aufsichtsratsmitglieder und Aktionäre
in allen Fällen von vermutlichen oder bewiesenen medizinischen Fehldiagnosen oder ärztlichen Behandlungsfehlern schadlos zu halten.
Bei einem Rechtsstreit oder einem Anspruch in Bezug auf diese Lizenz erklären sich die Parteien damit einverstanden, diesen durch
ein bindendes Schiedsverfahren zu schlichten. Der Gerichtsstand für alle Ansprüche in Bezug auf diese Vereinbarung ist Minneapolis,
Minnesota, USA. In dem Fall, dass ein Prozess, eine Schlichtung oder ein Verfahren zur Auslegung oder Durchsetzung der Bestimmungen
dieser Vereinbarung eingeleitet wird, ist die obsiegende Partei berechtigt, ihre tatsächlichen Anwaltskosten, Kosten und Auslagen von der
Gegenpartei einzufordern.
6. ALLEINIGE VEREINBARUNG. Dieses Dokument ist die alleinige Vereinbarung zwischen den Parteien. Jegliche mündliche Zusicherungen
oder Änderungen treten nur in Kraft oder sind nur dann gültig, wenn sie in einer von beiden Parteien unterzeichneten, nachträglichen
schriftlichen Änderung enthalten sind.
Falls Sie irgendwelche Fragen bezüglich dieser Vereinbarung haben, wenden Sie sich bitte wie folgt an NONIN MEDICAL, INC.:
Nonin Medical, Inc.
13700 1st Avenue North
Plymouth, MN 55441-5443 USA
www.nonin.com
Telefon: +1 (763) 553-9968
E-Mail: technicalservice@nonin.com




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ACCORDO DI LICENZA SOFTWARE PER USO LIMITATO
 La NONIN MEDICAL, INC. (il “concessore di licenza”) concede in licenza l’allegato software nVISION® e relativo materiale scritto (il
 “Software”) all’utente (il “licenziatario”), unicamente a patto che l’utente accetti tutti i termini e le condizioni stipulati nel presente accordo
 di licenza. Leggere attentamente questi termini poiché all’apertura della confezione sigillata contenente il disco, l’utente accetta di essere
 vincolato alle condizioni del presente accordo. Qualora l’utente non concordi con tali termini, il concessore di licenza non concederà la
 licenza. L’utente dovrà quindi restituire prontamente il prodotto e tutti i materiali di confezionamento alla NONIN MEDICAL, INC., che
 rimborserà all’utente il prezzo pagato per la licenza.
 1. CONCESSIONE DI LICENZA – Con la presente, la NONIN MEDICAL, INC. concede all’utente una licenza non esclusiva e non trasferibile di
 utilizzo di una copia del programma software nVISION® (il “programma”) su un solo computer, in base ai termini e alle limitazioni stipulati
 nel presente accordo di licenza software. L’utente non può usare il programma su più di un terminale di una rete, su un computer usato da
 svariati utenti, su un sistema condiviso a tempo, su una rete di servizi o su qualsiasi altro sistema che consenta di usare il programma su più
 di un computer in qualsiasi momento.
 2. LIMITAZIONI ALL’USO E AL TRASFERIMENTO – La presente licenza concede al licenziatario il diritto di fare copie del software oggetto
 di licenza solo per i seguenti scopi: (a) per uso esclusivo da parte del licenziatario identificato sulla scheda di registrazione nVISION®; (b)
 per scopi di backup o archivio. Ad eccezione degli scopi espressi sopra, al licenziatario non è concesso di riprodurre, copiare, distribuire,
 vendere, donare, prestare, trasferire o assegnare il software, in tutto o in parte, a nessun’altra persona o entità, senza previo permesso
 scritto da parte del concessore di licenza. Inoltre, al licenziatario non è permesso, e non potrà permettere ad altri, di fare operazioni di
 reverse engineering, decompilazione o disassemblaggio del software.
 3. PROPRIETÀ – Il software accluso e il materiale di corredo sono e rimangono di sola ed esclusiva proprietà della NONIN MEDICAL, INC., e
 sono protetti dalle leggi statunitensi e internazionali sui diritti d’autore. Questa licenza concede al licenziatario solamente il diritto di usare il
 software in oggetto, in conformità ai termini del presente accordo.
 4. GARANZIA LIMITATA – Il concessore di licenza garantisce che il software opererà in sostanziale conformità al materiale scritto di corredo
 per un periodo di 90 giorni dalla data di ricevimento del software da parte del licenziatario. Il concessore di licenza non è responsabile per
 il supporto, la manutenzione, l’addestramento e l’uso corretto dei dispositivi di monitoraggio e delle apparecchiature di interfaccia con cui
 opera il software della NONIN MEDICAL, INC., e che possono compromettere le prestazioni del software. Di conseguenza, il concessore di
 licenza non garantisce in alcun modo l’accuratezza e l’uso del software.
 IN NESSUN CASO IL CONCESSORE DI LICENZA POTRÀ ESSERE RITENUTO RESPONSABILE DI ERRORI NELLA DIAGNOSI O NELLA PROGNOSI,
 NÉ DI DANNI, INCLUSE LE PERDITE DI PROFITTI O DI RISPARMI, O ALTRI DANNI INCIDENTALI O INDIRETTI, SUBITI DAL LICENZIATARIO
 IN SEGUITO ALL’USO O ALL’IMPOSSIBILITÀ DI USARE IL SOFTWARE. IL CONCESSORE DI LICENZA NON RICONOSCE ALCUNA ALTRA
 GARANZIA, NÉ ESPLICITA NÉ IMPLICITA, COMPRESE, TRA LE ALTRE, LE GARANZIE DI COMMERCIABILITÀ, DI IDONEITÀ A UN FINE
 PARTICOLARE E DI NON VIOLAZIONE DI DIRITTI ALTRUI.
 L’unica responsabilità del concessore di licenza e l’unico ed esclusivo ricorso del licenziatario sono, a scelta del concessore di licenza: (a) il
 rimborso del prezzo di acquisto o (b) la sostituzione del software che non soddisfa i termini della garanzia limitata del concessore di licenza
 e restituito a costui con una copia della ricevuta del licenziatario. L’eventuale software sostitutivo viene garantito per la parte rimanente
 del periodo di garanzia originale, o per 30 giorni, a seconda del periodo più lungo. Questa garanzia limitata è nulla in caso di difetti del
 software causati da modifiche, incidenti, uso improprio o applicazione impropria.
 5. DISPUTE – In caso di supposti o comprovati errori di diagnosi o errori in altre procedure mediche, il licenziatario accetta di sollevare da
 ogni responsabilità il concessore di licenza, i suoi Amministratori, Direttori e Azionisti. In caso di controversie o dispute provocate dalla
 presente licenza, o ad essa correlate, le parti accettano di sottoporre tali controversie o dispute a transazione tramite arbitrato vincolante.
 La giurisdizione presso la quale saranno presentate tutte le dispute ai sensi dell’accordo sarà Minneapolis, Minnesota, e nel caso di azione
 legale, arbitrato o istruttoria per l’interpretazione o l’applicazione dei termini del presente accordo, la parte vincente avrà il diritto di
 rimborso degli effettivi onorari legali, costi e spese.
 6. INTERO ACCORDO – Questo strumento contiene l’intero accordo tra le parti sopraindicate e qualsiasi rappresentazione o modifica orale
 non avrà alcuna validità o efficacia se non espressa in una successiva modifica scritta, firmata da entrambe le parti.
 In caso di quesiti concernenti il presente accordo, l’utente può rivolgersi alla NONIN MEDICAL, INC. come segue:
 Nonin Medical, Inc.
 13700 1st Avenue North
 Plymouth, MN 55441-5443 USA
 www.nonin.com
 Telefono: +1 (763) 553-9968
 E-mail: technicalservice@nonin.com




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ACUERDO DE USO LIMITADO DEL SOFTWARE
 NONIN MEDICAL, INC. (el “Cedente”) le concede a usted (el “Licenciatario”) el derecho a utilizar el presente software nVISION® y la
 documentación adjunta (el “Software”) bajo la condición de que acepte todos los términos y condiciones de este Acuerdo de Licencia. Lea
 atentamente los siguientes términos y condiciones. Al abrir el paquete sellado está aceptando los términos de este Acuerdo de Licencia. Si
 usted no está de acuerdo con estos términos y condiciones, el Cedente no concederá la licencia; devuelva inmediatamente el producto y su
 embalaje completo a NONIN MEDICAL, INC. para que le sea reembolsado el importe de esta licencia.
 1. CONCESIÓN DE LICENCIA: NONIN MEDICAL, INC., mediante esta licencia, le otorga una licencia no exclusiva e intransferible para el
 uso de una sola copia del programa de software nVISION® (el “Programa”) en un solo ordenador y sujeto a los términos y restricciones
 establecidos en este Acuerdo de Licencia del software. Usted no está autorizado a utilizar el programa en más de un terminal de red, en un
 ordenador utilizado por múltiples usuarios, en un sistema compartido, en una oficina de servicios ni en cualquier otro sistema en el que el
 Software pudiera ser usado en más de un ordenador al mismo tiempo.
 2. RESTRICCIONES DE USO Y TRANSFERENCIA: Esta Licencia otorga al Licenciatario el derecho a hacer copias del Software objeto de la
 licencia, únicamente con los siguientes propósitos: (a) Para el uso exclusivo del Licenciatario identificado en la tarjeta de registro nVISION®,
 (b) Como respaldo o como copia de archivo. El Licenciatario no puede reproducir, copiar, distribuir, vender, ceder, arrendar, transferir o
 asignar el Software ni ninguna parte del mismo a otra persona o entidad para otro propósito distinto de los anteriormente indicados,
 excepto previa autorización por escrito del Cedente. Así mismo, el Licenciatario no puede modificar la ingeniería del Software ni de
 ninguno de sus componentes, ni descompilarlo o desmontarlo, ni debe permitir a terceros que lo hagan.
 3. PROPIEDAD: El Software adjunto y los materiales que lo acompañan son de propiedad única y exclusiva de NONIN MEDICAL, INC. y
 están protegidos por las leyes estadounidenses e internacionales de propiedad intelectual. Esta Licencia únicamente otorga al Licenciatario
 el derecho a utilizar el Software cedido de conformidad con los términos de este acuerdo.
 4. GARANTÍA LIMITADA: El Cedente garantiza que el Software funcionará básicamente de acuerdo con cuanto se indica en la
 documentación que lo acompaña por un periodo de 90 días a partir de la recepción del Software por el Licenciatario. El Cedente no es
 responsable de la ayuda, el mantenimiento, la formación ni el uso adecuado de los dispositivos de monitorización y equipos de interfaz en
 los que se utilice el software de NONIN MEDICAL, INC. y que puede afectar a su rendimiento. El Cedente tampoco garantiza la exactitud o
 utilidad del Software ni asume compromiso alguno al respecto.
 EL CEDENTE NO SERÁ RESPONSABLE EN NINGÚN CASO DE LOS ERRORES DE DIAGNÓSTICO O PRONÓSTICO NI DE LOS DAÑOS QUE SE
 PUEDAN PRODUCIR, INCLUIDOS EL LUCRO CESANTE, LOS DAÑOS EMERGENTES Y CUALQUIER OTRO DAÑO CONSECUENTE O INCIDENTAL
 DERIVADO DEL USO O INCAPACIDAD DE USO DEL PROGRAMA POR PARTE DEL LICENCIATARIO. EL CEDENTE DECLARA EXPRESAMENTE
 QUE NO CONCEDE NINGUNA OTRA GARANTÍA EXPRESA O IMPLÍCITA, INCLUIDAS ENTRE OTRAS LAS GARANTÍAS IMPLÍCITAS DE
 COMERCIABILIDAD O DE IDONEIDAD PARA UN USO DETERMINADO, Y LAS DE CONFORMIDAD LEGAL.
 La responsabilidad del Cedente, y el derecho a reparación del Licenciatario, se limitará, a elección del Cedente: (a) a la devolución del
 precio pagado o (b) a la sustitución del software que no cumpla con la garantía limitada del Cedente, previa devolución del mismo al
 Cedente junto con una copia del recibo de compra del Licenciatario. En caso de sustitución del Software, la garantía se extenderá por el
 periodo más largo entre los dos siguientes: el periodo restante de la garantía original, o 30 días,. Esta Garantía Limitada quedará sin efecto
 si el mal funcionamiento del Software es resultado de una modificación, accidente, abuso o uso incorrecto.
 5. DECLARACIONES: El Licenciatario se compromete a eximir de responsabilidad e indemnizar al Cedente y a sus responsables, directivos y
 accionistas en caso de error de diagnóstico o mala práctica médica, presunta o probada. En caso de controversia o reclamación originada o
 relacionada con este Acuerdo de licencia, las partes acuerdan someterse a arbitraje vinculante. Cualquier reclamación realizada en relación
 con este Acuerdo de Licencia deberá formalizarse en la ciudad de Minneapolis (Minnesota) y, en caso de que se inicie cualquier acción,
 arbitraje o procedimiento sobre la interpretación o aplicación de este Acuerdo, la parte ganadora tendrá derecho a la restitución de las
 costas y los gastos procesales.
 6. TOTALIDAD DEL ACUERDO: Este instrumento contiene la totalidad del acuerdo entre las partes y cualquier rectificación o modificación
 verbal del mismo no tendrá fuerza ni efecto a menos que esté contenida en una enmienda por escrito firmada por ambas partes.
 Si tuviese alguna duda acerca de este acuerdo, puede dirigirse a NONIN MEDICAL, INC. en:
 Nonin Medical, Inc.
 13700 1st Avenue North
 Plymouth, MN 55441-5443 EEUU
 www.nonin.com
 Teléfono: +1 (763) 553-9968
 Correo electrónico: technicalservice@nonin.com




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ACORDO DE SOFTWARE DE UTILIZAÇÃO LIMITADA
 NONIN MEDICAL, INC. (“Licenciador”) licença o Software nVISION® acompanhante e material escrito (o “Software”) a si, (o “Licenciado”)
 apenas na condição de aceitar todos os termos e condições estabelecidos neste Acordo de Licença. Por favor, leia cuidadosamente estas
 condições porque ao abrir o selo da embalagem lacrada com o disco estará a concordar em ficar sujeito aos termos deste Acordo. Se não
 concordar com estes termos, o Licenciador não lhe irá emitir esta licença e deverá devolver imediatamente o produto e todos os materiais
 de embalagem a NONIN MEDICAL, INC. e a sua taxa de licença será reembolsada.
 1. CONCESSÃO DA LICENÇA: NONIN MEDICAL, INC. concede por este meio uma licença não exclusiva e não transmissível para a utilização
 de uma cópia do programa de Software nVISION® (o “programa”) num único computador, sujeito aos termos e restrições estabelecidos
 neste Acordo de Licença de Software. Não poderá usar o programa em mais do que um terminal de uma rede, num computador multi-
 utilizador, num sistema de partilha de tempo (“time-sharing”), numa agência de serviços ou em qualquer outro sistema em que o Programa
 possa ser usado em mais do que um computador em qualquer momento.
 2. RESTRIÇÕES RELATIVAS À UTILIZAÇÃO E TRANSFERÊNCIA: Esta Licença confere ao Licenciado o direito para fazer cópias do Software
 licenciado somente para as seguintes finalidades: (a) Para a utilização exclusiva do licenciado identificado no seu cartão de registo
 nVISION®, (b) Para fins de cópia de segurança ou arquivo. Excepto para as finalidades acima descritas, o Licenciado não poderá reproduzir,
 copiar, distribuir, vender, dar, emprestar, transferir ou atribuir o Software, nem qualquer parte deste, a qualquer outra pessoa ou entidade,
 excepto nos casos em que tenha previamente recebido autorização por escrito do licenciador. Para além disso, o Licenciado não pode, e
 não deverá permitir a outros proceder a procedimentos de engenharia inversa, descompilação ou desassemblagem do Software.
 3. PROPRIEDADE: O Software e materiais acompanhantes em anexo são, e permanecem, propriedade única e exclusiva de NONIN
 MEDICAL, INC. e encontram-se protegidos pelas leis de direitos de autor dos EUA e internacionais. Esta Licença apenas concede ao
 Licenciado o direito de utilizar o Software licenciado de acordo com os termos deste acordo.
 4. GARANTIA LIMITADA: O Licenciador garante que o Software irá apresentar um desempenho substancialmente em conformidade com
 o material escrito acompanhante durante um período de 90 dias a partir da data de recepção do Software pelo Licenciado. O Licenciador
 não é responsável pelo apoio, manutenção, formação e utilização adequada de dispositivos de monitorização e do equipamento de
 interface no qual corre o Software da NONIN MEDICAL, INC. e que poderão afectar o desempenho do Software. Para além disso, o
 Licenciador não emite qualquer garantia nem representação relativamente ao rigor e utilização do Software.
 EM NENHUMA CIRCUNSTÂNCIA DEVERÁ O LICENCIADOR SER RESPONSÁVEL POR ERROS DE DIAGNÓSTICO OU PROGNÓSTICO NEM
 POR DANOS, INCLUINDO QUALQUER PERDA DE LUCROS, POUPANÇAS OU OUTROS DANOS INCIDENTAIS OU CONSEQUENCIAIS
 DECORRENTES DA UTILIZAÇÃO OU INCAPACIDADE DO LICENCIADO PARA UTILIZAR O SOFTWARE. O LICENCIADOR NEGA TODAS AS
 OUTRAS GARANTIAS DE QUALQUER TIPO, EXPRESSAS OU IMPLÍCITAS, INCLUINDO, MAS NÃO SE LIMITANDO, A GARANTIAS IMPLÍCITAS
 DE MERCANTIBILIDADE, APTIDÃO PARA DETERMINADA FINALIDADE E NÃO INFRACÇÃO.
 Toda a responsabilidade do Licenciador e solução exclusiva do Licenciado irão consistir, ao critério do Licenciador, em: (a) devolução
 do valor pago ou (b) substituição do software que não cumpra a garantia limitada do Licenciador e que seja devolvido ao Licenciador
 com uma cópia do recibo do Licenciado. Qualquer Software de substituição irá apresentar garantia para o resto do período de garantia
 original ou de 30 dias, consoante o que for mais longo. Esta Garantia Limitada anula-se se a falha do Software tiver sido consequência de
 modificação, acidente, abuso ou aplicação inadequada.
 5. REIVINDICAÇÕES: O Licenciado concorda em desresponsabilizar e absolver o Licenciador, seus Oficiais, Directores e Accionistas, em
 todos os casos de alegado diagnóstico médico incorrecto ou negligência médica. Caso ocorra alguma controvérsia ou reivindicação
 decorrente ou relacionada com esta Licença, as partes concordam em submetê-la a arbitragem. A jurisdição para todas as reivindicações
 feitas no âmbito do Acordo será de Minneapolis, Minnesota e na eventualidade de que qualquer acção, arbitragem ou procedimento seja
 iniciado para interpretar ou obrigar os termos deste Acordo, a parte prevalente será intitulada a recuperar os honorários, custos e despesas
 do seu advogado.
 6. TOTALIDADE DO ACORDO: Este instrumento contém a totalidade do acordo das partes e quaisquer representações ou modificações
 orais não deverão ter qualquer força ou efeito excepto quando presentes numa modificação escrita subsequente, assinada por ambas as
 partes.
 Caso tenha alguma questão relativa a este acordo, poderá entrar em contacto com a NONIN MEDICAL, INC. da seguinte forma:
 Nonin Medical, Inc.
 13700 1st Avenue North
 Plymouth, MN 55441-5443 USA
 www.nonin.com
 Telefone: +1 (763) 553-9968
 E-mail: technicalservice@nonin.com




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OVEREENKOMST VOOR BEPERKT GEBRUIK VAN DE SOFTWARE
NONIN MEDICAL, INC. (“de licentiegever”) verleent een licentie voor deze nVISION® software en schriftelijke documentatie (“de software”)
aan u (de “licentiehouder”), doch uitsluitend op voorwaarde dat u alle in deze licentieovereenkomst vermelde voorwaarden aanvaardt. Lees
deze voorwaarden zorgvuldig door, aangezien u zich door het openen van de verzegelde verpakking van de disk akkoord verklaart met
de voorwaarden in deze overeenkomst. Als u zich niet akkoord verklaart met deze voorwaarden, verstrekt de licentiegever deze licentie
niet aan u en moet u dit product en al het verpakkingsmateriaal zo spoedig mogelijk aan NONIN MEDICAL, INC. retourneren, waarna de
licentiekosten aan u zullen worden vergoed.
1. LICENTIEVERLENING: NONIN MEDICAL, INC. verleent u bij deze de niet-exclusieve, onoverdraagbare licentie voor gebruik van
één exemplaar van de nVISION® software (het “programma”) op één computer volgens de voorwaarden en beperkingen in de
licentieovereenkomst voor software. U mag het programma niet gebruiken op meer dan één terminal van een netwerk, op een computer
met meerdere gebruikers, op een time-sharesysteem, op een servicebureau of op andere systemen waar het programma op elk willekeurig
tijdstip door meerdere computers gebruikt kan worden.
2. BEPERKINGEN VOOR GEBRUIK EN OVERDRACHT: Deze licentie verleent de licentiehouder het recht om kopieën van de onder licentie
verstrekte software te maken, doch uitsluitend voor de volgende doeleinden: (a) voor exclusief gebruik door de licentiehouder zoals
vermeld op de nVISION® registratiekaart, (b) als reservekopie of voor documentatiedoeleinden. Het is de licentiehouder verboden om
voor andere doeleinden dan die welke hierboven vermeld staan, de software of een deel ervan te reproduceren, te kopiëren, aan andere
personen of entiteiten te distribueren, te verkopen, te overhandigen, uit te lenen, over te dragen of toe te kennen zonder voorafgaande
schriftelijke toestemming van de licentiegever. Het is de licentiehouder eveneens niet toegestaan om door anderen reverse engineering,
decompilatie of disassemblage van de software te laten uitvoeren.
3. EIGENDOM: De meegeleverde software en het bijbehorende materiaal zijn en blijven het exclusieve eigendom van NONIN MEDICAL,
INC. en vallen onder Amerikaanse en internationale copyrightwetgeving. Deze licentie verleent de licentiehouder uitsluitend het recht tot
gebruik van de onder licentie verstrekte software volgens de voorwaarden in deze overeenkomst.
4. BEPERKTE GARANTIE: De licentiegever garandeert dat de software in feite zal functioneren volgens de beschrijving in de meegeleverde
schriftelijke documentatie gedurende een periode van negentig dagen vanaf de datum van ontvangst van de software door de
licentiehouder. De licentiegever is niet verantwoordelijk voor ondersteuning, onderhoud, opleidingen en correct gebruik van monitor- en
interface-apparatuur waarop de software van NONIN MEDICAL, INC. draait, en die van invloed kan zijn op de prestaties van de software.
Bijgevolg verstrekt de licentiegever geen garantie en doet geen toezeggingen aangaande de nauwkeurigheid en het gebruik van de
software.
DE LICENTIEGEVER IS ONDER GEEN BEDING AANSPRAKELIJK VOOR FOUTEN IN DE DIAGNOSE OF PROGNOSE, NOCH VOOR SCHADE,
INCLUSIEF WINSTDERVING, VERLIES VAN SPAARGELDEN OF ANDERE INCIDENTELE OF GEVOLGSCHADE, DIE VOORTVLOEIT UIT HET
GEBRUIK, OF HET NIET KUNNEN GEBRUIKEN VAN DE SOFTWARE DOOR DE LICENTIEHOUDER. DE LICENTIEGEVER WIJST ALLE ANDERE
GARANTIES AF, ONGEACHT OF DEZE UITDRUKKELIJK OF IMPLICIET ZIJN, INCLUSIEF MAAR NIET BEPERKT TOT IMPLICIETE GARANTIES VAN
VERKOOPBAARHEID, GESCHIKTHEID VOOR EEN BEPAALD DOEL OF HET NIET INBREUK MAKEN OP DE RECHTEN VAN DERDEN.
De enige aansprakelijkheid van de licentiegever en het exclusieve verhaal van de licentiehouder omvat, naar keuze van de licentiegever,
óf (a) vergoeding van de betaalde prijs óf (b) vervanging van de software die niet aan de voorwaarden in de beperkte garantie van de
licentiegever voldoet, en die aan de licentiegever geretourneerd wordt met een kopie van de kassabon van de licentiehouder. Voor ter
vervanging verstrekte software geldt een garantie voor de resterende duur van de oorspronkelijke garantieperiode of voor dertig dagen,
afhankelijk van welke het langste is. Deze beperkte garantie vervalt als de tekortkoming in de software het resultaat is van modificatie,
ongelukken, misbruik of onjuiste toepassing.
5. SCHADECLAIMS: De licentiehouder verklaart bij deze de licentiegever, zijn personeel, directie en aandeelhouders te vrijwaren en
schadeloos te stellen in geval van beweerde of bewezen onjuiste medische diagnoses of nalatige behandeling. Mocht er zich vanwege
of in verband met deze licentie onenigheid of een schadeclaim voordoen, verklaren de partijen zich bereid dit door middel van bindende
arbitrage te schikken. Alle volgens deze overeenkomst ingediende claims moeten naar Minneapolis, Minnesota, VS worden gezonden , en
indien er een gerechtelijke actie, arbitrage of procedure wordt aangegaan voor een interpretatie of het afdwingen van de voorwaarden
in deze overeenkomst, zal de winnende partij gerechtigd zijn tot restitutie van de feitelijk betaalde honoraria aan advocaten en
gerechtskosten.
6. GEHELE OVEREENKOMST: Dit document bevat de gehele overeenkomst tussen de betrokken partijen; mondelinge verklaringen of
wijzigingen zijn niet geldig of van kracht, tenzij opgenomen in een aanvullende, schriftelijke en door beide partijen ondertekende wijziging.
Mocht u vragen hebben over deze overeenkomst, dan kunt u zich richten tot NONIN MEDICAL, INC. op het volgende adres:
Nonin Medical, Inc.
13700 1st Avenue North
Plymouth, MN 55441-5443, VS
www.nonin.com
Telefoon: +1 (763) 553-9968
E-mail: technicalservice@nonin.com




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AVTAL OM BEGRÄNSAD ANVÄNDNING AV PROGRAMVARA
NONIN MEDICAL, INC. (“licensutfärdaren”) ger Dig (“licensinnehavaren”) härmed licens för användning av medföljande nVISION®
programvara och skriftligt material (“programvaran”) endast under förutsättning att Du accepterar samtliga villkor som anges i detta
licensavtal. Läs igenom dessa villkor noga, eftersom Du genom att öppna den förseglade diskettförpackningen därmed accepterar villkoren
i detta Avtal. Om du inte accepterar dessa villkor kommer licensutfärdaren inte att utfärda denna licens till Dig, och Du skall omgående
återsända denna produkt och allt förpackningsmaterial till NONIN MEDICAL, INC. varvid din licensavgift kommer att betalas tillbaka.
1. LICENSENS OMFATTNING: NONIN MEDICAL, INC. ger Dig härmed en icke-exklusiv, ej överförbar licens att använda en uppsättning
nVISION® programvara (“programmet”) på en enstaka dator, enligt de villkor och restriktioner som anges i detta licensavtal för
programvara. Användning av programmet i mer än en arbetsstation i ett nätverk, i en dator för flera användare, i ett interaktivt system,
vid en serviceavdelning eller i något annat system i vilket programmet vid någon tidpunkt skulle kunna användas av mer än en dator, är ej
tillåten.
2. RESTRIKTIONER AVSEENDE ANVÄNDNING OCH ÖVERFÖRING: Denna licens ger licensinnehavaren rätt att göra kopior av den
licensierade programvaran enbart i följande syften: a) För exklusiv användning av den licensinnehavare som anges på nVISION®
registreringskortet, samt b) för säkerhetskopiering eller arkiveringsändamål. Förutom de ändamål som ovan anges, får licensinnehavaren
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eller inrättning, utan att föregående skriftligt tillstånd har erhållits av licensutfärdaren. Licensinnehavaren får inte heller, och får ej heller
tillåta andra personer att utföra reverse engineering, dekompilera eller demontera programvaran.
3. ÄGANDERÄTT: Bifogade programvara och medföljande material är och skall förbli, NONIN MEDICAL, INC:s exklusiva egendom och
skyddas av amerikanska och internationella lagar om upphovsrätt. Denna licens ger endast licensinnehavaren rätt att använda den
licensierade programvaran, enligt villkoren i detta avtal.
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skriftliga dokumentationen, under 90 dagar från det datum då licensinnehavaren mottog programvaran. Licensutfärdaren ansvarar ej
för support, underhåll, utbildning och korrekt användning av övervakningsanordningar och sådan gränssnittsutrustning i vilken NONIN
MEDICAL, INC.:s programvara används och vilka kan påverka programvarans prestanda. Licensutfärdaren ger följaktligen varken garanti
eller intygande avseende programvarans korrekthet och användning.
LICENSUTFÄRDAREN SKALL UNDER INGA FÖRHÅLLANDEN HÅLLAS ANSVARIG FÖR FELAKTIG DIAGNOS ELLER PROGNOS, ELLER FÖR
SKADOR, INKLUSIVE VINSTFÖRLUST, FÖRLUST AV BESPARINGAR ELLER ANDRA TILLFÄLLIGA ELLER EFTERFÖLJANDE SKADOR SOM
UPPSTÅR VID LICENSINNEHAVARENS ANVÄNDNING ELLER OFÖRMÅGA ATT ANVÄNDA PROGRAMVARAN. LICENSUTFÄRDAREN
FRISKRIVER SIG FRÅN ALLA ANDRA GARANTIER, VARE SIG UTTRYCKTA ELLER UNDERFÖRSTÅDDA, INKLUSIVE MEN EJ BEGRÄNSAT TILL
UNDERFÖRSTÅDDA GARANTIER AVSEENDE SÄLJBARHET, LÄMPLIGHET FÖR VISST ÄNDAMÅL SAMT ICKE-INTRÅNG.
Licensutfärdarens enda ansvar och licensinnehavarens enda gottgörelse skall , enligt Licensutfärdarens gottfinnande, antingen utgöras
av: a) återbetalning av köpesumman, eller b) utbyte av den programvara som inte uppfyller licensutfärdarens begränsade garanti och som
returneras till licensutfärdaren tillsammans med en kopia av licensinnehavarens kvitto. Garanti för varje utbytt programvara kommer att
lämnas under återstoden av den ursprungliga garantiperioden eller 30 dagar, beroende på vilken period som är längst. Denna begränsade
garanti upphör att gälla om felfunktionen i programvaran beror på modifiering, olyckshändelse, misskötsel eller felaktigt användningssätt.
5. ANSPRÅK: Licensinnehavaren går med på att hålla licensutfärdaren, dennes anställda, chefer och aktieägare skadeslösa och att gottgöra
dessa i händelse av fall av påstådd eller bevisad medicinsk feldiagnos eller felbehandling. I händelse av tvist eller skadeståndsanspråk som
uppstår på grund av eller relaterat till denna licens, överenskommer parterna att lösa tvisten genom bindande skiljedom. Jurisdiktionsort
för alla yrkanden som görs enligt avtalet skall vara Minneapolis, Minnesota, och i händelse av inledande av talan, skiljeförfarande eller
rättegångsförhandling i syfte att tolka eller verkställa villkoren i detta Avtal, skall den vinnande parten ha rätt till ersättning för sina faktiska
advokatsarvoden, kostnader och utgifter.
6. HELA AVTALET: Denna handling innehåller hela avtalet mellan avtalsparterna och varje muntlig framställning eller ändring skall vara
ogiltig om den inte upptas i en efterföljande skriftlig ändring underskriven av båda parter.
Om ni har frågor angående detta avtal var vänlig kontakta NONIN MEDICAL, INC. på nedanstående adress:
Nonin Medical, Inc.
13700 1st Avenue North
Plymouth, MN 55441-5443 USA
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Tel: +1 (763) 553-9968
E-post: technicalservice@nonin.com




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BEGRÆNSET SOFTWARELICENSAFTALE
NONIN MEDICAL, INC. (“Licensgiver”) udsteder licens på vedlagte nVISION® Software og skriftigt materiale (“Softwaren”) til dig,
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MEDICAL, INC., hvorpå licensgebyret vil blive refunderet.
1. TILDELING AF LICENS: NONIN MEDICAL, INC. tildeler dig en ikke-eksklusiv licens, der ikke kan overdrages, til brug af én kopi af
nVISION® Software program (“Programmet”) på en enkelt computer, i overensstemmelse med de begrænsninger og betingelser, der er
opstillet i denne Softwarelicensaftale. Programmet må ikke bruges på mere end en enkelt netværksterminal, på en flerbrugercomputer,
et timeshare-system, servicebureau eller i et hvilket som helst andet system, i hvilket Programmet på et hvilket som helst tidspunkt kan
anvendes på mere end en enkelt computer.
2. BEGRÆNSNINGER I BRUG OG OVERDRAGELSE: Licensaftalen giver Licenstageren ret til at kopiere Licenssoftwaren til følgende formål: (a)
Udelukkende til brug for Licenstageren, der er identificeret på nVISION® registreringskortet, (b) til sikkerhedskopiering eller arkivering. Ud
over ovenstående formål må Licenstageren ikke reproducere, kopiere, distribuere, sælge, give, udlåne, overdrage eller afstå softwaren, eller
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engineering af, dekompilere eller demontere Softwaren, og han/hun må ikke give andre tilladelse dertil.
3. EJENDOMSRET: NONIN MEDICAL, INC. har, og vedbliver at have, de eksklusive ejendomsrettigheder på vedlagte Software og tilhørende
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til at bruge Licenssoftwaren i overensstemmelse med betingelserne i Licensaftalen.
4. BEGRÆNSET GARANTI: Licensgiveren garanterer, at Softwaren vil køre for størsteparten i overenstemmelse med tilhørende skriftlig
dokumentation i 90 dage efter Licenstagerens modtagelse af Softwaren. Lincensgiveren er ikke ansvarlig for support, vedligeholdelse,
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påvirke Softwarens funktion. I henhold hertil giver Licensgiveren hverken nogen garanti eller erklæring med hensyn til nøjagtighed og brug
af Softwaren.
LICENSGIVEREN KAN UNDER INGEN OMSTÆNDIGHEDER DRAGES TIL ANSVAR FOR FEJL I DIAGNOSER, PROGNOSER ELLER
SKADESERSTATNINGER, HERUNDER TABT FORTJENESTE, MISTEDE BESPARELSER ELLER TILFÆLDIGE SKADER ELLER FØLGESKADER PGA.
LICENSTAGERENS BRUG ELLER MANGLENDE EVNE TIL AT BRUGE SOFTWAREN. LICENSGIVEREN FRASKRIVER ALLE ANDRE GARANTIER,
BÅDE UDTRYKKELIGE ELLER UNDERFORSTÅEDE, HERUNDER, UDEN BEGRÆNSNING, UNDERFORSTÅEDE GARANTIER FOR SALGBARHED,
EGNET TIL ET BESTEMT FORMÅL OG IKKE-KRÆNKELSE.
Licensgiverens fulde ansvar og Licenstagerens eneste afhjælpning er, efter Licensgiverens skøn, enten: (a) tilbagebetaling af den betalte
pris, eller (b) erstatning af den software, som ikke opfylder Lincensgiverens begrænsede garanti, og som returneres til Licensgiveren
sammen med en kopi af Licenstagerens kvittering. Enhver erstattet Software garanteres i resten af den oprindelige garantiperiode eller 30
dage, afhængigt af hvad der er længere. Denne begrænsede garanti er ugyldig, hvis fejl i Softwaren er opstået som følge af ændringer,
uheld, misbrug eller forkert brug.
5. KRAV: Lincenstageren erklærer sig enig i at friholde Licensgiveren, dennes repræsentanter, bestyrelsesmedlemmer og aktionærer, i
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relaterer til denne Licensaftale, skal parterne erklære sig indforståede med at henvise og afgøre endeligt enhver uoverensstemmelse ved
voldgift. Værneting over alle krav fremsat i henhold til Licensaftalen er Minneapolis, Minnesota, USA, og i tilfælde af at en handling,
voldgift eller sag træder i kraft for at fortolke eller gøre betingelserne i denne Licensaftale gældende, skal den vindende part have ret til at
godtgøre sine faktiske advokathonorarer, omkostninger og udgifter.
6. HELE LICENSAFTALEN: Dette dokument udgør hele aftalen mellem parterne heri, og enhver mundtlig repræsentation eller ændring vil
ikke være gældende, medmindre denne repræsentation eller ændring forefindes i en efterfølgende skriftlig ophævelse, som er underskrevet
af begge parter.
Hvis du har spørgsmål vedrørende denne Licensaftale, kan du kontakte NONIN MEDICAL, INC. på følgende adresse:
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13700 1st Avenue North
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www.nonin.com
Tlf.: +1 (763) 553-9968
E-mail: technicalservice@nonin.com




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              Protective Order
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   APPLE INC.,                              )
                                            )
                 Plaintiff,                 )
                                            )   C.A. No. 22-1377-MN-JLH
         v.                                 )
                                            )   JURY TRIAL DEMANDED
   MASIMO CORPORATION and                   )
   SOUND UNITED, LLC,                       )
                                            )
            Defendants.                     )
   MASIMO CORPORATION,                      )
                                            )
                 Counter-Claimant,          )
                                            )
                 v.                         )
                                            )
   APPLE INC.,                              )
                                            )
                 Counter-Defendant.         )
   APPLE INC.,                              )
                                            )
                 Plaintiff,                 )
                                            )
         v.                                 )   C.A. No. 22-1378-MN-JLH
                                            )
   MASIMO CORPORATION and                   )   JURY TRIAL DEMANDED
   SOUND UNITED, LLC,                       )
                                            )
             Defendants.                    )
   MASIMO CORPORATION and                   )
   CERCACOR LABORATORIES, INC.,             )
                                            )
                 Counter-Claimants,         )
                                            )
         v.                                 )
                                            )
   APPLE INC.,                              )
                                            )
                 Counter-Defendant.         )




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                      AGREED PROTECTIVE ORDER
       REGARDING THE DISCLOSURE AND USE OF DISCOVERY MATERIAL

                 Plaintiff and Counter-Defendant Apple Inc. (“Plaintiff”), Defendants and Counter-

  Claimants Masimo Corporation and Sound United, LLC and Counter-Claimant Cercacor

  Laboratories, Inc. (together, “Masimo”) anticipate that documents, testimony, or information

  containing or reflecting confidential, proprietary, trade secret, and/or commercially sensitive

  information are likely to be disclosed or produced during the course of discovery, initial

  disclosures, and supplemental disclosures in these cases and request that the Court enter this

  Order setting forth the conditions for treating, obtaining, and using such information.

                 Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds

  good cause for the following Agreed Protective Order Regarding the Disclosure and Use of

  Discovery Material (“Order” or “Protective Order”).

         1.      PURPOSES AND LIMITATIONS

                 (a)     Protected Material designated under the terms of this Protective Order shall

  be used by a Receiving Party solely for these cases, and shall not be used directly or indirectly for

  any other purpose whatsoever.

                 (b)     The Parties acknowledge that this Order does not confer blanket protections

  on all disclosures during discovery, or in the course of making initial or supplemental disclosures

  under Rule 26(a). Designations under this Order shall be made with care and shall not be made

  absent a good faith belief that the designated material satisfies the criteria set forth below. If it

  comes to a Producing Party’s attention that designated material does not qualify for protection at

  all, or does not qualify for the level of protection initially asserted, the Producing Party must

  promptly notify all other Parties that it is withdrawing or changing the designation.




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                 (c)     Other Proceedings. By entering this order and limiting the disclosure of

  information in these cases, the Court does not intend to preclude another court from finding that

  information may be relevant and subject to disclosure in another case. Any person or party subject

  to this order who becomes subject to a request or motion that would require disclosure of another

  party’s information designated “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES

  ONLY,” or “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE CODE,”

  pursuant to this Order shall promptly notify that party of the request or motion so that the party

  may have an opportunity to appear and be heard on whether that information should be disclosed.

         2.      DEFINITIONS

                 (a)     “Affiliate” means any corporation, company, or other business entity over

  which a Party has the power to direct or cause the direction of the management, policies, or legal

  actions through: (1) at least 50% ownership of voting securities; or (2) contract; or (3) other means.

                 (b)     “Discovery Material” means all items or information, including from any

  non-party, regardless of the medium or manner generated, stored, or maintained (including, among

  other things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated

  in connection with discovery or Rule 26(a) disclosures in these cases.

                 (c)     “Outside Counsel” means (i) outside counsel who appear on the pleadings

  as counsel for a Party and (ii) partners, associates, and staff of such counsel to whom it is

  reasonably necessary to disclose the information for this litigation.

                 (d)     “Patents-in-suit” means U.S. Patent Nos. D735,131, D883,279, D947,842,

  D962,936, 10,076,257, 10,627,783, 10,942,491, 10,987,054, 11,106,352, 11,474,483, 10,912,501,

  10,912,502, 10,945,648, 10,687,743, 10,687,745, 10,722,159, 7,761,127, 8,190,223, 10,736,507,




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  and 10,984,911 and any other patent asserted in these cases, as well as any related patents, patent

  applications, provisional patent applications, continuations, and/or divisionals.

                 (e)     “Party” means any party to these cases, including all of its officers,

  directors, employees, consultants, vendors, retained experts, and outside counsel and their support

  staffs.

                 (f)     “Producing Party” means any Party or non-party that discloses or produces

  any Discovery Material in these cases.

                 (g)     “Protected Material” means any Discovery Material that is designated as

  “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL

  - OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE CODE,” as provided for in this Order.

  Protected Material shall not include: (i) advertising materials that have been actually published or

  publicly disseminated; and (ii) materials that show on their face they have been disseminated to

  the public.

                 (h)     “Receiving Party” means any Party who receives Discovery Material from

  a Producing Party.

                 (i)     “Source Code” means computer code, scripts, assembly, binaries, object

  code, source code listings (e.g., file names and path structure), descriptions of source code (e.g.,

  descriptions of declarations, functions, and parameters), object code listings and descriptions of

  object code, Hardware Description Language (HDL) or Register Transfer Level (RTL) files that

  describe the hardware design of any ASIC or other chip, and native Computer Aided Design

  (CAD) files that describe the hardware design of any component, the disclosure of which to another

  Party or non-party is likely to cause harm or competitive disadvantage to the Producing Party. To

  avoid any doubt, still images of CAD files are not Source Code and will not be subject to the




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  disclosure and review restrictions in Section 11. Still images of CAD files may be designated as

  “CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” as provided for in

  this Order.

         3.      COMPUTATION OF TIME

                 The computation of any period of time prescribed or allowed by this Order shall

  be governed by the provisions for computing time set forth in Federal Rules of Civil

  Procedure 6.

         4.      SCOPE

                 (a)     The protections conferred by this Order cover not only Discovery Material

  governed by this Order as addressed herein, but also any information copied or extracted

  therefrom, as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,

  conversations, or presentations by Parties or their counsel in court or in other settings that might

  reveal Protected Material.

                 (b)     Nothing in this Protective Order shall prevent or restrict a Producing Party’s

  own disclosure or use of its own Protected Material for any purpose, and nothing in this Order

  shall preclude any Producing Party from showing its Protected Material to an individual who

  prepared the Protected Material.

                 (c)     Nothing in this Order shall be construed to prejudice any Party’s right to

  use any Protected Material with the consent of the Producing Party or by order of the Court.

                 (d)     This Order is without prejudice to the right of any Party to seek further or

  additional protection of any Discovery Material or to modify this Order in any way, including,

  without limitation, an order that certain matter not be produced at all.




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                  (e)    Any use of Protected Material at trial shall be governed by the orders of the

  trial judge and other applicable authorities. This Order does not govern the use of Protected

  Material at trial.

          5.      DURATION

                  Even after the termination of these cases, the confidentiality obligations imposed

  by this Order shall remain in effect until a Producing Party agrees otherwise in writing or a court

  order otherwise directs.

          6.      ACCESS TO AND USE OF PROTECTED MATERIAL

                  (a)     Basic Principles. All Protected Material shall be used solely for these cases

  or any related appellate proceedings, and not for any other purpose whatsoever, including without

  limitation, any other litigation, patent prosecution or acquisition, patent reexamination or reissue

  proceedings, or any business or competitive purpose or function. Protected Material shall not be

  distributed, disclosed, or made available to anyone except as expressly provided in this Order.

                  (b)    Patent Prosecution Bar. After the adoption of this provision by the parties,

  Outside Counsel and any person associated with a Party who receives a Producing Party’s material

  designated “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “CONFIDENTIAL –

  ATTORNEYS’ EYES ONLY – SOURCE CODE” under this Protective Order or who has access

  to, accesses, or otherwise learns of, in whole or in part, said material designated

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “CONFIDENTIAL – ATTORNEYS’

  EYES ONLY – SOURCE CODE” under this Protective Order shall not prepare, prosecute,

  supervise, advise, counsel, or assist in the preparation or prosecution of any patent application

  seeking a patent on behalf of the Receiving Party or its acquirer, successor, predecessor, or

  Affiliate in the field of non-invasive monitoring and/or consumer wearables (generally or as




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  described in any patent in suit) during the pendency of this Action and for two years after final

  termination of this action, including all appeals. To avoid any doubt, “prosecution” as used in this

  section does not include representing or advising a Party before a domestic or foreign agency in

  connection with a reissue, ex parte reexamination, covered business method review, inter partes

  review, opposition, cancelation, or similar proceeding; though in connection with any such foreign

  or domestic agency proceeding involving the patents-in-suit, any attorney who has access to,

  accesses, obtains, receives, or otherwise learns, in whole or in part, any other Party’s

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “CONFIDENTIAL – ATTORNEYS’

  EYES ONLY – SOURCE CODE” shall not: (i) participate in the preparation, prosecution,

  supervision, advice, counsel, or assistance of any amended claims; (ii) reveal a Producing Party’s

  Protected Material to any prosecuting reexamination counsel or agent; or (iii) use a Producing

  Party’s Protected Material for any purpose not permitted by Section 1.

                 (c)     Secure Storage, No Export. Protected Material must be stored and

  maintained by a Receiving Party at a location in the United States and in a secure manner that

  ensures that access is limited to the persons authorized under this Order. To ensure compliance

  with applicable United States Export Administration Regulations, Protected Material may not be

  exported outside the United States or released to any foreign national, even if within the United

  States. This applies to such information regardless of whether it is in the form of a stand-alone

  document or as an exhibit, attachment, or appendix to anything, including but not limited to briefs,

  reports, letters to counsel, discovery responses, or court filings—whether drafts or final versions.

  Foreign nationals shall not include the Parties’ Outside Counsel who reside in the United States,

  agreed to be bound by the provisions of the Protective Order by signing a copy of Exhibit A,

  and who are identified in writing to the Producing Party. However, the Parties’ Outside Counsel




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  may access briefs, reports, letters to counsel, discovery responses, and court filings (including

  drafts) that contain Protected Material for purposes of working on these cases while traveling

  temporarily outside the United States, exclusive of any exhibits or appendices that attach or

  substantially reproduce or summarize documents, data, or testimony that have been designated by

  any other party as Protected Material. The Parties will use their best efforts to minimize the amount

  of Protected Materials in those documents (including without limitation by redacting references to

  Protected Materials that are not necessary for the work performed outside of the United States) to

  help ensure the security of the Parties’ Protected Materials. Also, if this case eventually requires

  depositions or experts located outside the United States, the parties will revisit this issue and

  attempt to agree about exporting specific materials to the extent necessary. The Parties agree that

  neither Party waives the right to seek amendment of this Protective Order by the Court, following

  a meet and confer, if other circumstances concerning exportation arise in this case.

                 (d)     Legal Advice Based on Protected Material. Nothing in this Protective Order

  shall be construed to prevent counsel from advising their clients with respect to these cases based

  in whole or in part upon Protected Materials, provided counsel does not disclose the Protected

  Material itself except as provided in this Order.

                 (e)     Limitations. Nothing in this Order shall restrict in any way a Producing

  Party’s use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any

  way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become

  publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or known

  to the Receiving Party independent of the Producing Party; (iii) previously produced, disclosed

  and/or provided by the Producing Party to the Receiving Party or a non-party without an




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  obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

  Producing Party; or (v) pursuant to order of the Court.

         7.      DESIGNATING PROTECTED MATERIAL

                 (a)     Available Designations. Any Producing Party may designate Discovery

  Material with any of the following designations, provided that it meets the requirements for such

  designations as provided for herein: “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’

  EYES ONLY,” or “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE

  CODE.”

                 (b)     Written Discovery and Documents and Tangible Things.                 Written

  discovery, documents (which include “electronically stored information,” as that phrase is used in

  Federal Rule of Procedure 34), and tangible things that meet the requirements for the

  confidentiality designations listed in Section 7(a) may be so designated by placing the appropriate

  designation on every page of the written material prior to production. For digital files being

  produced, the Producing Party may mark each viewable page or image with the appropriate

  designation, and mark the medium, container, and/or communication in which the digital files were

  contained.   In the event that original documents are produced for inspection, the original

  documents shall be presumed “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” during the

  inspection and re-designated, as appropriate during the copying process.

                 (c)     Native Files. Where electronic files and documents are produced in native

  electronic format, such electronic files and documents shall be designated for protection under this

  Order by appending to the file names or designators information indicating whether the file

  contains     “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or

  “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE CODE,” material, or




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  shall use any other reasonable method for so designating Protected Materials produced in

  electronic format. When electronic files or documents are printed for use at deposition, in a court

  proceeding, or for provision in printed form to an expert or consultant pre-approved pursuant to

  Section 12, the party printing the electronic files or documents shall affix a legend to the printed

  document corresponding to the designation of the Producing Party and including the production

  number and designation associated with the native file. The parties reserve the right to object to

  the use of any image format version of a document produced in native format to the extent any

  information has been altered.

                  (d)     Depositions and Testimony. Parties or testifying persons or entities may

  designate depositions and other testimony with the appropriate designation by indicating on the

  record at the time the testimony is given or by sending written notice of how portions of the transcript

  of the testimony are designated within fifteen (15) days of receipt of the transcript of the testimony.

  If no indication on the record is made, all information disclosed during a deposition shall be

  deemed “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the time within which it may

  be appropriately designated as provided for herein has passed. Any Protected Material that is used

  in the taking of a deposition shall remain subject to the provisions of this Protective Order, along

  with the transcript pages of the deposition testimony dealing with such Protected Material. In such

  cases the court reporter shall be informed of this Protective Order and shall be required to operate

  in a manner consistent with this Protective Order. In the event the deposition is videotaped, the

  original and all copies of the videotape shall be marked by the video technician to indicate that the

  contents of the videotape are subject to this Protective Order, substantially along the lines of “This

  videotape contains confidential testimony used in this case and is not to be viewed or the

  contents thereof to be displayed or revealed except pursuant to the terms of the operative




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  Protective Order in this matter or pursuant to written stipulation of the parties.” Counsel for

  any Producing Party shall have the right to exclude from oral depositions, other than the

  deponent, deponent’s counsel, the reporter and videographer (if any), any person who is not

  authorized by this Protective Order to receive or access Protected Material based on the

  designation of such Protected Material. Such right of exclusion shall be applicable only during

  periods of examination or testimony regarding such Protected Material.

         8.      DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL”

                 (a)     A       Producing    Party   may     designate    Discovery     Material    as

  “CONFIDENTIAL” if it contains or reflects confidential, proprietary, and/or commercially

  sensitive information.

                 (b)     Unless otherwise ordered by the Court, Discovery Material designated as

  “CONFIDENTIAL” may be disclosed only to the following:

                         (i)       The Receiving Party’s Outside Counsel, such counsel’s immediate

  paralegals and staff, and any copying or clerical litigation support services working at the direction

  of such counsel, paralegals, and staff;

                         (ii)      Officers or employees of the Receiving Party, who may be, but need

  not be, in-house counsel for the Receiving Party, as well as their immediate paralegals and staff,

  to whom disclosure is reasonably necessary for this case, provided that each such person has

  agreed to be bound by the provisions of the Protective Order by signing a copy of Exhibit A;

                         (iii)     Any outside expert or consultant retained by the Receiving Party to

  assist in these cases, provided that disclosure is only to the extent necessary to perform such work;

  and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

  Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current




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  officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

  of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

  such expert or consultant accesses the materials in the United States only, and does not transport

  them to or access them from any foreign jurisdiction (however, to avoid doubt, such expert or

  consultant may access reports (including drafts) that contain the materials for purposes of working

  on these cases while traveling temporarily outside the United States); and (d) no unresolved

  objections to such disclosure exist after proper notice has been given to all Parties as set forth in

  Section 12 below;

                         (iv)    Witnesses at depositions or hearings in these cases and the

  witnesses’ counsel, provided however that the disclosure shall only be made to: (1) a witness

  who is an employee of the Producing Party, or identified on the document as an author,

  addressee, or recipient of the material in question, or if there are other indicia (such as from

  metadata, cover emails, or other records of distribution) that the witness has seen or had access

  to the document previously; or (2) a witness who has been designated to testify on behalf of

  the Producing Party on the subject matter of the material in question, provided however that

  the Protected Material shown to such a witness shall be limited to Protected Material of the

  Producing Party;

                         (v)     Court reporters, stenographers and videographers retained to record

  testimony taken in these cases, and their staff;

                         (vi)    The Court, jury, and court personnel;

                         (vii)   Graphics, translation, design, trial consulting personnel, and/or

  other professional vendors, having first agreed to be bound by the provisions of the Protective

  Order by signing a copy of Exhibit A;




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                          (viii)     Mock jurors having first agreed to be bound by the provisions of the

  Protective Order by signing a copy of Exhibit A.

                          (ix)       Any mediator who is assigned to hear these matters, and his or her

  staff, subject to their agreement to maintain confidentiality to the same degree as required by this

  Protective Order; and

                          (x)        Any other person with the prior written consent of the Producing

  Party.

           9.    DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL –
                 ATTORNEYS’ EYES ONLY”

                 (a)      A        Producing    Party   may     designate    Discovery     Material   as

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” if it contains or reflects information that is

  extremely confidential and/or sensitive in nature and the Producing Party reasonably believes that

  the disclosure of such Discovery Material is likely to cause harm or significant competitive

  disadvantage to the Producing Party. The Parties agree that the following information, if non-

  public, shall be presumed to merit the “CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

  designation:   trade secrets, pricing information, financial data, sales information, sales or

  marketing forecasts or plans, business plans, sales or marketing strategy, product development

  information, engineering documents, testing documents, employee information, and other non-

  public information of similar competitive and business sensitivity.

                 (b)      Unless otherwise ordered by the Court, Discovery Material designated as

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” may be disclosed only to:

                          (i)        The Receiving Party’s Outside Counsel, provided that such Outside

  Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,

  730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such


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  Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support

  services working at the direction of such counsel, paralegals, and staff;

                         (ii)    Any outside expert or consultant retained by the Receiving Party to

  assist in this action, provided that disclosure is only to the extent necessary to perform such work;

  and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

  Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

  officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

  of retention to become an officer, director, or employee of a Party or of a competitor of a Party;

  (c) such expert or consultant is not involved in competitive decision-making, as defined by U.S.

  Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a

  competitor of a Party; (d) such expert or consultant accesses the materials in the United States

  only, and does not transport them to or access them from any foreign jurisdiction (however, to

  avoid doubt, such expert or consultant may access reports (including drafts) that contain the

  materials for purposes of working on these cases while traveling temporarily outside the United

  States); and (e) no unresolved objections to such disclosure exist after proper notice has been given

  to all Parties as set forth in Section 12 below;

                         (iii)   Witnesses at depositions or hearings in these cases and the

  witnesses’ counsel, provided however that the disclosure shall only be made to: (1) a witness

  who is identified on the document as an author, addressee, or recipient of the material in

  question, or if there are other indicia (such as from testimony, metadata, cover emails, or other

  records of distribution) that the witness has previously seen or had access to the document or

  the information contained therein; or (2) a witness who has been designated to testify on behalf

  of the Producing Party on the subject matter of the material in question, provided however that




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  the Protected Material shown to such a witness shall be limited to Protected Material of the

  Producing Party;

                          (iv)     Court reporters, stenographers and videographers retained to record

  testimony taken in this action, and their staff;

                          (v)      The Court, jury, and court personnel;

                          (vi)     Graphics, translation, design, trial consulting personnel, and/or

  other professional vendors, having first agreed to be bound by the provisions of the Protective

  Order by signing a copy of Exhibit A;

                          (vii)    Any mediator who is assigned to hear this matter, and his or her

  staff, subject to their agreement to maintain confidentiality to the same degree as required by this

  Protective Order; and

                          (viii)   Any other person with the prior written consent of the Producing

  Party.

                 (c)      In addition, a Party may disclose arguments and materials derived from

  Discovery Material designated as “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to mock

  jurors who have signed an undertaking or agreement agreeing not to publicly disclose Protected

  Material and to keep any information concerning Protected Material confidential. A Party may

  not disclose to mock jurors any original, as-produced materials or information (including, for

  example, documents, deposition testimony, or interrogatory responses) produced by another Party

  designated as “CONFIDENTIAL - ATTORNEYS’ EYES ONLY.”

           10.   DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL –
                 OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE CODE”

                 (a)      To the extent production of Source Code becomes necessary to the

  prosecution or defense of the cases, a Producing Party may designate Source Code as



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  “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE CODE” if it comprises

  or includes confidential, proprietary, and/or trade secret Source Code.

                 (b)     Nothing in this Order shall be construed as a representation or admission

  that Source Code is properly discoverable in these cases, or to obligate any Party to produce any

  Source Code.

                 (c)     Unless otherwise ordered by the Court, Discovery Material designated as

  “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE CODE” shall be

  subject to the provisions set forth in Section 11 below, and may be disclosed, subject to Section

  11 below, solely to:

                         (i)     The Receiving Party’s Outside Counsel, provided that such Outside

  Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,

  730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

  Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support

  services working at the direction of such counsel, paralegals, and staff;

                         (ii)    Any outside expert or consultant retained by the Receiving Party to

  assist in this action, provided that disclosure is only to the extent necessary to perform such work;

  and provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

  Protective Order by signing a copy of Exhibit A; (b) such expert or consultant is not a current

  officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

  of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

  such expert or consultant is not involved in competitive decision-making, as defined by U.S. Steel

  v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of

  a Party; (d) such expert or consultant accesses the materials in the United States only, and does not




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  transport them to or access them from any foreign jurisdiction; and (e) no unresolved objections

  to such disclosure exist after proper notice has been given to all Parties as set forth in Section 12

  below;

                          (iii)   Witnesses at depositions or hearings in these cases and the

  witnesses’ counsel, provided however that the disclosure shall only be made to: (1) a witness

  who is identified on the material as an author, addressee, or recipient of the material, or if there

  are indicia (such as from testimony, metadata, emails, or other records of distribution) that the

  witness has seen or had access to the materials previously; or (2) a witness who has been

  designated to testify on behalf of the Producing Party on the subject matter of the material in

  question, provided however that the Protected Material shown to such a witness shall be

  limited to Protected Material of the Producing Party;

                          (iv)    Court reporters, stenographers and videographers retained to record

  testimony taken in this action, and their staff;

                          (v)     The Court, jury, and court personnel;

                          (vi)    Any mediator who is assigned to hear this matter, and his or her

  staff, subject to their agreement to maintain confidentiality to the same degree as required by this

  Protective Order; and

                          (vii)   Any other person with the prior written consent of the Producing

  Party.

           11.   DISCLOSURE AND REVIEW OF SOURCE CODE

                 (a)      Any Source Code that is produced by Plaintiff will be made available for

  inspection at the San Francisco office of its outside counsel, Desmarais LLP, or any other location

  mutually agreed by the Parties. Any Source Code that is produced by Masimo will be made




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  available for inspection at the Orange County office of their outside counsel, Knobbe Martens

  Olsen & Bear LLP, or any other location mutually agreed by the Parties. Source Code will be made

  available for inspection between the hours of 8 a.m. and 6 p.m. on business days (i.e., weekdays

  that are not Federal holidays), although the Parties will be reasonable in accommodating

  reasonable requests to conduct inspections at other times.

                 (b)     Prior to the first inspection of any requested Source Code, the Receiving

  Party shall provide ten (10) days’ notice of its intent to review the Source Code that has been made

  available by the Producing Party and, if known, the specific Source Code the Receiving Party

  intends to inspect. The Receiving Party shall provide seven (7) days’ notice prior to any additional

  inspections.

                 (c)     Source Code that is designated “CONFIDENTIAL – OUTSIDE

  ATTORNEYS’ EYES ONLY - SOURCE CODE” shall be produced for inspection and review

  subject to the following provisions, unless otherwise agreed by the Producing Party:

                         (i)    All Source Code shall be made available by the Producing Party to

  the Receiving Party’s Outside Counsel and/or experts in a secure room on a secured computer

  without Internet access or network access to other computers and on which all access ports have

  been disabled (except for one printer port), as necessary and appropriate to prevent and protect

  against any unauthorized copying, transmission, removal or other transfer of any Source Code

  outside or away from the computer on which the Source Code is provided for inspection (the

  “Source Code Computer” in the “Source Code Review Room”). The Producing Party shall install

  tools that are sufficient for viewing and searching the code produced, on the platform produced, if

  such tools exist and are presently used in the ordinary course of the Producing Party’s business.

  The Receiving Party’s Outside Counsel and/or experts may request that commercially available




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  software tools for viewing and searching Source Code be installed on the secured computer,

  provided, however, that (a) the Receiving Party possesses an appropriate license to such software

  tools; (b) the Producing Party approves such software tools (approvals will not be unreasonably

  denied); and (c) such other software tools are reasonably necessary for the Receiving Party to

  perform its review of the Source Code consistent with all of the protections herein. The Receiving

  Party must provide the Producing Party with the CD or DVD or other media containing such

  licensed software tool(s) at least seven (7) days in advance of the date upon which the Receiving

  Party wishes to have the additional software tools available for use on the Source Code Computer.

                        (ii)    No recordable media or recordable devices, including without

  limitation sound recorders, computers, cellular telephones, peripheral equipment, cameras, CDs,

  DVDs, or drives of any kind, shall be permitted into the Source Code Review Room.

                        (iii)   The Receiving Party’s Outside Counsel and/or experts shall be

  entitled to take notes relating to the Source Code but may not copy the Source Code into the notes

  and may not take such notes electronically on the Source Code Computer itself or any other

  computer.

                        (iv)    The Producing Party may visually monitor the activities of the

  Receiving Party’s representatives during any Source Code review, but only to ensure that no

  unauthorized electronic records of the Source Code and no information concerning the Source

  Code are being created or transmitted in any way.

                        (v)     No copies of all or any portion of the Source Code may leave the

  room in which the Source Code is inspected except as otherwise provided herein. Further, no

  other written or electronic record of the Source Code is permitted except as otherwise provided

  herein. The Producing Party shall make available a laser printer with commercially reasonable




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  printing speeds for on-site printing during inspection of the Source Code. The Receiving Party

  may print limited portions of the Source Code only when necessary to prepare court filings or

  pleadings or other papers (including a testifying expert’s expert report). The Receiving Party may

  print the Source Code in 12-point font and with information necessary to later identify that Source

  Code, such as, but not limited to, a header or footer, that identifies the file name and directory path.

  Any printed portion that consists of more than fifteen (15) pages of a continuous block of Source

  Code shall be presumed to be excessive, and the burden shall be on the Receiving Party to

  demonstrate the need for such a printed copy. The Receiving Party may print out no more than

  200 pages total without prior agreement from the Producing Party or order of the Court. The

  Receiving Party shall not print Source Code in order to review blocks of Source Code elsewhere

  in the first instance, i.e., as an alternative to reviewing that Source Code electronically on the

  Source Code Computer, as the Parties acknowledge and agree that the purpose of the protections

  herein would be frustrated by printing portions of code for review and analysis elsewhere, and that

  printing is permitted only when necessary to prepare court filings or pleadings or other papers

  (including a testifying expert’s expert report). Upon printing any such portions of Source Code,

  the printed pages shall be collected by the Producing Party. The Producing Party shall Bates

  number, copy, and label “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY -

  SOURCE CODE” any pages printed by the Receiving Party. Within seven (7) days, the Producing

  Party shall either (i) provide one copy set of such pages to the Receiving Party or (ii) inform the

  Requesting Party that it objects that the printed portions are excessive and/or not done for a permitted

  purpose. If, after meeting and conferring, the Producing Party and the Receiving Party cannot

  resolve the objection, the Receiving Party shall be entitled to seek a Court resolution of whether the

  printed Source Code in question is narrowly tailored and was printed for a permitted purpose. The




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  burden shall be on the Receiving Party to demonstrate that such printed portions are no more than

  is reasonably necessary for a permitted purpose and not merely printed for the purposes of review

  and analysis elsewhere. The printed pages shall constitute part of the Source Code produced by

  the Producing Party in these cases.

                         (vi)    All persons who will review a Producing Party’s Source Code on

  behalf of a Receiving Party, including members of a Receiving Party’s outside law firm, shall be

  identified in writing to the Producing Party at least five (5) days in advance of the first time that

  such person reviews such Source Code. Such identification shall be in addition to any other

  disclosure required under this Order. All persons viewing Source Code shall sign on each day they

  view Source Code a log that will include the names of persons who enter the locked room to view

  the Source Code and when they enter and depart. The Producing Party shall be entitled to a copy

  of the log upon one (1) day’s advance notice to the Receiving Party.

                         (vii)   Unless otherwise agreed in advance by the Parties in writing,

  following each day on which inspection is done under this Order, the Receiving Party’s Outside

  Counsel and/or experts shall remove all notes, documents, and all other materials from the Source

  Code Review Room. The Producing Party shall not be responsible for any items left in the room

  following each inspection session, and the Receiving Party shall have no expectation of

  confidentiality for any items left in the room following each inspection session without a prior

  agreement to that effect. Proper identification of all authorized persons shall be provided prior

  to any access to the secure room or the computer containing Source Code. Proper identification

  requires showing, at a minimum, a photo identification card sanctioned by the government of any

  State of the United States, by the government of the United States, or by the nation state of the

  authorized person’s current citizenship. Access to the secure room or the Source Code Computer




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  may be denied, at the discretion of the supplier, to any individual who fails to provide proper

  identification.

                          (viii)   Other than as provided above, the Receiving Party will not copy,

  remove, or otherwise transfer any Source Code from the Source Code Computer including, without

  limitation, copying, removing, or transferring the Source Code onto any recordable media or

  recordable device. The Receiving Party will not transmit any Source Code in any way from the

  Producing Party’s facilities or the offices of its Outside Counsel of record.

                          (ix)     The Receiving Party’s Outside Counsel of record may make no

  more than three (3) additional paper copies of any portions of the Source Code received from a

  Producing Party pursuant to Section 11(c)(v), not including copies attached to court filings or used

  at depositions, and shall maintain a log of all paper copies of the Source Code. The log shall

  include the names of the reviewers and/or recipients of paper copies and locations where the paper

  copies are stored. Upon one (1) day’s advance notice to the Receiving Party by the Producing

  Party, the Receiving Party shall provide a copy of this log to the Producing Party.

                          (x)      The Receiving Party’s Outside Counsel of record and any person

  receiving a copy of any Source Code shall maintain and store any paper copies of the Source Code

  at their offices in a manner that prevents duplication of or unauthorized access to the Source Code,

  including, without limitation, storing the Source Code in a locked room or cabinet at all times

  when it is not in use. No more than a total of fifteen (15) individuals identified by the Receiving

  Party shall have access to the printed portions of Source Code (except insofar as such code appears

  in any court filing or expert report).

                          (xi)     For depositions, the Receiving Party shall not bring copies of any

  printed Source Code. Rather, at least seven (7) days before the date of the deposition, the Receiving




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  Party shall notify the Producing Party about the specific portions of Source Code it wishes to use at

  the deposition, and the Producing Party shall bring printed copies of those portions to the deposition

  for use by the Receiving Party. The Producing Party shall also accommodate reasonable requests

  from the Receiving Party to make a Source Code Computer available at the deposition for use at the

  deposition. Copies of Source Code that are marked as deposition exhibits shall not be provided to

  the Court Reporter or attached to deposition transcripts; rather, the deposition record will identify

  the exhibit by its production numbers. All paper copies of Source Code brought to the deposition

  shall remain with the Producing Counsel’s Outside Counsel for secure destruction in a timely

  manner following the deposition.

                         (xii)   Except as provided in this section, absent express written permission

  from the Producing Party, the Receiving Party may not create electronic images, or any other

  images, or make electronic copies, of the Source Code from any paper copy of Source Code for

  use in any manner (including by way of example only, the Receiving Party may not scan the Source

  Code to a PDF or photograph the code). Images or copies of Source Code shall not be included in

  correspondence between the Parties (references to production numbers shall be used instead), and

  shall be omitted from pleadings and other papers whenever possible. If a Party reasonably believes

  that it needs to submit a portion of Source Code as part of a filing with the Court, the Parties shall

  meet and confer as to how to make such a filing while protecting the confidentiality of the Source

  Code and such Source Code will not be filed absent agreement from the Producing Party that the

  confidentiality protections will be adequate. If a Producing Party agrees to produce an electronic

  copy of all or any portion of its Source Code or provide written permission to the Receiving Party

  that an electronic or any other copy needs to be made for a Court filing, access to the Receiving

  Party’s submission, communication, and/or disclosure of electronic files or other materials




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  containing any portion of Source Code (paper or electronic) shall at all times be limited solely to

  individuals who are expressly authorized to view Source Code under the provisions of this Order.

  Where the Producing Party has provided the express written permission required under this

  provision for a Receiving Party to create electronic copies of Source Code, the Receiving Party

  shall maintain a log of all such electronic copies of any portion of Source Code in its possession

  or in the possession of its retained consultants, including the names of the reviewers and/or

  recipients of any such electronic copies, and the locations and manner in which the electronic

  copies are stored. Additionally, any such electronic copies must be labeled “CONFIDENTIAL -

  ATTORNEYS’ EYES ONLY - SOURCE CODE” as provided for in this Order.

          12.     NOTICE OF DISCLOSURE

                  (a)     Prior to disclosing any Protected Material to any person described in

  Sections 8(b)(iii), 9(b)(ii), or 10(c)(ii) (referenced below as “Person”), the Party seeking to disclose

  such information shall provide the Producing Party with written notice that includes:

                          (i)     the name of the Person;

                          (ii)    an up-to-date curriculum vitae of the Person;

                          (iii)   the present employer and title of the Person;

                          (iv)    an identification of all of the Person’s past and current employment

  and consulting relationships in the past five years, including direct relationships and relationships

  through entities owned or controlled by the Person, including but not limited to an identification

  of any individual or entity with or for whom the person is employed or to whom the person

  provides consulting services relating to the design, development, operation, or patenting of

  technologies relating to non-invasive monitoring and/or consumer wearables (generally or as

  described in any patent in suit), or relating to the acquisition of intellectual property assets relating




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  to non-invasive monitoring and/or consumer wearables (generally or as described in any patent in

  suit);

                          (v)      an identification of all pending patent applications on which the

  Person is named as an inventor, in which the Person has any ownership interest, or as to which the

  Person has had or anticipates in the future any involvement in advising on, consulting on,

  preparing, prosecuting, drafting, editing, amending, or otherwise affecting the scope of the claims;

  and

                          (vi)     a list of the cases in which the Person has testified at deposition or

  trial within the last five (5) years.

  Further, the Party seeking to disclose Protected Material shall provide such other information

  regarding the Person’s professional activities reasonably requested by the Producing Party for it to

  evaluate whether good cause exists to object to the disclosure of Protected Material to the outside

  expert or consultant.

                  (b)     Within ten (10) days of receipt of the disclosure of the Person, the Producing

  Party or Parties may object in writing to the Person for good cause. In the absence of an objection

  at the end of the ten (10) day period, the Person shall be deemed approved under this Protective

  Order. There shall be no disclosure of Protected Material to the Person prior to expiration of this

  ten (10) day period. If the Producing Party objects to disclosure to the Person within such ten (10)

  day period, the Parties shall meet and confer via telephone or in person within four (4) days

  following the objection and attempt in good faith to resolve the dispute on an informal basis. If

  the dispute is not resolved, the Party objecting to the disclosure will have four (4) days from the

  date of the meet and confer to seek relief from the Court and shall have the burden of proving the

  need for a protective order. If relief is not sought from the Court within that time, the objection




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  shall be deemed withdrawn. If relief is sought, designated materials shall not be disclosed to the

  Person in question until the Court resolves the objection.

                   (c)   For purposes of this section, “good cause” shall include an objectively

  reasonable concern that the Person will, advertently or inadvertently, use or disclose Discovery

  Material in a way or ways that are inconsistent with the provisions contained in this Order.

                   (d)   Prior to receiving any Protected Material under this Order, the Person must

  execute a copy of the “Agreement to Be Bound by Protective Order” (Exhibit A hereto) and serve

  it on all Parties.

                   (e)   An initial failure to object to a Person under this Section 12 shall not

  preclude the nonobjecting Party from later objecting to continued access by that Person for good

  cause. If an objection is made, the Parties shall meet and confer via telephone or in person within

  seven (7) days following the objection and attempt in good faith to resolve the dispute informally.

  If the dispute is not resolved, the Party objecting to the disclosure will have seven (7) days from

  the date of the meet and confer to seek relief from the Court. The designated Person may continue

  to have access to information that was provided to such Person prior to the date of the objection.

  If a later objection is made, no further Protected Material shall be disclosed to the Person until the

  Court resolves the matter or the Producing Party withdraws its objection. Notwithstanding the

  foregoing, if the Producing Party fails to move for a protective order within seven (7) business

  days after the meet and confer, further Protected Material may thereafter be provided to the Person.

          13.      CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL

                   (a)   A Party shall not be obligated to challenge the propriety of any designation

  of Discovery Material under this Order at the time the designation is made, and a failure to do so

  shall not preclude a subsequent challenge thereto.




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                 (b)     Any challenge to a designation of Discovery Material under this Order shall

  be written, shall be served on Outside Counsel for the Producing Party, shall particularly identify

  the documents or information that the Receiving Party contends should be differently designated,

  and shall state the grounds for the objection. Thereafter, further protection of such material shall

  be resolved in accordance with the following procedures:

                         (i)     The objecting Party shall have the burden of conferring either in

  person, in writing, or by telephone with the Producing Party claiming protection (as well as any

  other interested party) in a good faith effort to resolve the dispute. The Producing Party shall have

  the burden of justifying the disputed designation;

                         (ii)    Failing agreement, the Receiving Party may bring a request or

  motion to the Court for a ruling that the Discovery Material in question is not entitled to the status

  and protection of the Producing Party’s designation. The Parties’ entry into this Order shall not

  preclude or prejudice either Party from arguing for or against any designation, establish any

  presumption that a particular designation is valid, or alter the burden of proof that would otherwise

  apply in a dispute over discovery or disclosure of information;

                         (iii)   Notwithstanding any challenge to a designation, the Discovery

  Material in question shall continue to be treated as designated under this Order until one of the

  following occurs: (a) the Party who designated the Discovery Material in question withdraws such

  designation in writing; or (b) the Court rules that the Discovery Material in question is not

  entitled to the designation.

         14.     DATA SECURITY

                 (a)     The Receiving Party shall implement an information security management

  system (“ISMS”) to safeguard Protected Materials, including reasonable and appropriate




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  administrative, physical, and technical safeguards, and network security and encryption

  technologies governed by written policies and procedures, which shall comply with at least one of

  the following standards: (a) the International Organization for Standardization’s 27001 standard;

  (b) the National Institute of Standards and Technology’s (NIST) 800-53 standard; (c) the Center

  for Internet Security’s Critical Security Controls, Version 8; or (d) the most recently published

  version of another widely recognized industry or government cybersecurity framework. The

  Parties shall implement encryption of all Protected Materials in transit outside of network(s)

  covered by the Party’s ISMS (and at rest, where reasonably practical). Moreover, the Parties agree

  not to access Protected Materials from public computers.

                 (b)     If the Receiving Party becomes aware of any unauthorized access, use, or

  disclosure of Protected Materials or devices containing Protected Materials (“Data Breach”), the

  Receiving Party shall promptly, and in no case later than 48 hours after learning of the Data Breach,

  notify the Producing Party in writing and fully cooperate with the Producing Party as may be

  reasonably necessary to (a) determine the source, extent, or methodology of such Data Breach, (b)

  recover or protect Protected Materials, and/or (c) to satisfy the Producing Party’s legal, contractual,

  or other obligations. For the avoidance of doubt, notification obligations under this section arise

  when the Receiving Party both (a) learns of a Data Breach, and (b) learns that any of the Producing

  Party’s Protected Materials are potentially subject to the Data Breach. The notification obligations

  set forth in this section do not run from the time the Data Breach itself.

                 (c)     If the Receiving Party is aware of a Data Breach, the Parties shall meet and

  confer in good faith regarding any adjustments that should be made to the discovery process and

  discovery schedule in these cases, potentially including but not limited to (1) additional security

  measures to protect Discovery Material; (2) a stay or extension of discovery pending investigation




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  of a Data Breach and/or implementation of additional security measures; and (3) a sworn assurance

  that Discovery Material will be handled in the future only by entities not impacted by the Data

  Breach. In the event of a Data Breach affecting Protected Material of the Designating Party, at the

  Designating Party’s request, the Receiving Party within 10 business days shall provide a copy of

  its most recent ISMS policies and procedures that relate to the safeguarding of Protected Materials

  and that preceded the Data Breach. Further, the Receiving Party shall submit to reasonable

  discovery concerning the Data Breach.

         15.     SUBPOENAS OR COURT ORDERS

                 (a)    If at any time Protected Material is subpoenaed by any court, arbitral,

  administrative, or legislative body, the Party to whom the subpoena or other request is directed

  shall immediately give prompt written notice thereof to every Party who has produced such

  Discovery Material and to its counsel and shall provide each such Party with an opportunity to

  move for a protective order regarding the production of Protected Materials implicated by the

  subpoena. The Producing Party must also notify in writing the party who caused the subpoena or

  order to issue in the other litigation that some or all of the material covered by the subpoena or

  order is subject to this Protective Order, and include a copy of this Protective Order. The parties

  agree to work together to allow the Producing Party to seek a protective order, after the filing of

  which the Party served with the subpoena or court order shall not produce any information

  designated in this action as “CONFIDENTIAL – ATTORNEYS EYES ONLY” or

  “CONFIDENTIAL – ATTORNEYS EYES ONLY – SOURCE CODE” before a determination on

  the protective order by the court from which the subpoena or order issued, unless the Party has

  obtained the Producing Party’s permission.




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         16.     FILING PROTECTED MATERIAL

                 (a)     Absent written permission from the Producing Party or a court Order

  secured after appropriate notice to all interested persons, a Receiving Party may not file or disclose

  in the public record any Protected Material.

                 (b)     Any Party is authorized under District of Delaware Local Rule 5.1.3 to file

  under seal with the Court any brief, document or materials that are designated as Protected Material

  under this Order. However, nothing in this section shall in any way limit or detract from this

  Order’s requirements as to Source Code.

         17.     INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

                 (a)     Pursuant to Federal Rule of Evidence 502(d) and (e), the inadvertent

  production by a Party of Discovery Material subject to the attorney-client privilege, work-product

  protection, or any other applicable privilege or protection, despite the Producing Party’s reasonable

  efforts to prescreen such Discovery Material prior to production, will not waive the applicable

  privilege and/or protection in any other federal or state proceeding if a request for return of such

  inadvertently produced Discovery Material is made promptly after the Producing Party learns of

  its inadvertent production. For example, the mere production of a privileged or work product

  protected document in this case as part of a production is not itself a waiver. Nothing in this Order

  shall be interpreted to require disclosure of irrelevant information or relevant information protected

  by the attorney-client privilege, work product doctrine, or any other applicable privilege or

  immunity. The parties do not waive any objections as to the production, discoverability,

  admissibility, or confidentiality of documents and ESI. Moreover, nothing in this Order shall be

  interpreted to require disclosure of information subject to privacy protections as set forth in law or




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  regulation, including information that may need to be produced from outside of the United States

  and/or may be subject to foreign laws.

                 (b)     Upon a request from any Producing Party who has inadvertently produced

  Discovery Material that it believes is privileged and/or protected, each Receiving Party shall

  immediately return such Protected Material or Discovery Material and all copies to the Producing

  Party, except for any pages containing privileged markings by the Receiving Party which shall

  instead be destroyed and certified as such by the Receiving Party to the Producing Party.

                 (c)     Nothing herein shall prevent the Receiving Party from preparing a record for

  its own use containing the date, author, addresses, and topic of the inadvertently produced Discovery

  Material and such other information as is reasonably necessary to identify the Discovery Material

  and describe its nature to the Court in any motion to compel production of the Discovery Material.

         18.     INADVERTENT FAILURE TO DESIGNATE PROPERLY

                 (a)     The inadvertent failure by a Producing Party to designate Discovery

  Material as Protected Material with one of the designations provided for under this Order shall not

  waive any such designation provided that the Producing Party notifies all Receiving Parties that

  such Discovery Material is protected under one of the categories of this Order within ten (10) days

  of the Producing Party learning of the inadvertent failure to designate. The Producing Party shall

  reproduce the Protected Material with the correct confidentiality designation within five (5) days

  upon its notification to the Receiving Parties. Upon receiving the Protected Material with the

  correct confidentiality designation, the Receiving Parties shall return or securely destroy, at the

  Producing Party’s option, all Discovery Material that was not designated properly.

                 (b)     A Receiving Party shall not be in breach of this Order for any use of such

  Discovery Material before the Receiving Party receives such notice that such Discovery Material




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  is protected under one of the categories of this Order, unless an objectively reasonable person

  would have realized that the Discovery Material should have been appropriately designated with

  a confidentiality designation under this Order. Once a Receiving Party has received notification of

  the correct confidentiality designation for the Protected Material with the correct confidentiality

  designation, the Receiving Party shall treat such Discovery Material (subject to the exception in

  Section 18(c) below) at the appropriately designated level pursuant to the terms of this Order.

                 (c)     Notwithstanding       the    above,    a    subsequent      designation    of

  “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “CONFIDENTIAL

  – ATTORNEYS’ EYES ONLY – SOURCE CODE” shall apply on a going forward basis and shall

  not disqualify anyone who reviewed “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’

  EYES ONLY” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE”

  materials while the materials were not marked “CONFIDENTIAL – ATTORNEYS’ EYES

  ONLY” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE” from

  engaging in the activities set forth in Section 6(b).

         19.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER

                 (a)     In the event of a disclosure of any Discovery Material pursuant to this Order

  to any person or persons not authorized to receive such disclosure under this Protective Order, the

  Party responsible for having made such disclosure, and each Party with knowledge thereof, shall

  immediately notify counsel for the Producing Party whose Discovery Material has been disclosed

  and provide to such counsel all known relevant information concerning the nature and

  circumstances of the disclosure. The responsible disclosing Party shall also promptly take all

  reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that no

  further or greater unauthorized disclosure and/or use thereof is made.




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                 (b)     Unauthorized or inadvertent disclosure does not change the status of

  Discovery Material or waive the right to hold the disclosed document or information as Protected.

         20.     FINAL DISPOSITION

                 (a)     Not later than ninety (90) days after the Final Disposition of these cases,

  each Party shall return all Discovery Material of a Producing Party to the respective Outside

  Counsel of the Producing Party or destroy such Material, at the option of the Producing Party. For

  purposes of this Order, “Final Disposition” occurs after an order, mandate, or dismissal finally

  terminating these cases with prejudice, including all appeals.

                 (b)     All Parties that have received any such Discovery Material shall certify in

  writing that all such materials have been returned to the respective Outside Counsel of the

  Producing Party or destroyed. Notwithstanding the provisions for return of Discovery Material,

  Outside Counsel may retain one set of pleadings, correspondence and attorney and consultant work

  product (but not document productions) for archival purposes, but must return any pleadings,

  correspondence, and consultant work product that contain Source Code.

         21.     MISCELLANEOUS

                 (a)     Right to Further Relief. Nothing in this Order abridges the right of any

  person to seek its modification by the Court in the future. By stipulating to this Order, the Parties

  do not waive the right to argue that certain material may require additional or different

  confidentiality protections than those set forth herein.

                 (b)     Termination of Matters and Retention of Jurisdiction. The Parties agree that

  the terms of this Protective Order shall survive and remain in effect after the Final Determination

  of the above-captioned matters. The Court shall retain jurisdiction after Final Determination of

  these matters to hear and resolve any disputes arising out of this Protective Order.




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                 (c)     Successors. This Order shall be binding upon the Parties hereto, their

  successors, and anyone, including law firms, who obtains access to Protected Material.

                 (d)     Right to Assert Other Objections. By stipulating to the entry of this

  Protective Order, no Party waives any right it otherwise would have to object to disclosing or

  producing any information or item. Similarly, no Party waives any right to object on any ground

  to use in evidence of any of the material covered by this Protective Order. This Order shall not

  constitute a waiver of the right of any Party to claim in these cases or otherwise that any Discovery

  Material, or any portion thereof, is privileged or otherwise non-discoverable, or is not admissible

  in evidence in these cases or any other proceeding.

                 (e)     Modification by Court. This Order is subject to further court order based

  upon public policy or other considerations, and the Court may modify this Order sua sponte in the

  interests of justice. The United States District Court for the District of Delaware is responsible for

  the interpretation and enforcement of this Order. All disputes concerning Protected Material,

  however designated, produced under the protection of this Order shall be resolved by the United

  States District Court for the District of Delaware.




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   POTTER ANDERSON & CORROON LLP                    PHILLIPS MCLAUGHLIN & HALL, P.A.

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       dmoore@potteranderson.com
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       abrown@potteranderson.com                    and Sound United, LLC

   Attorneys for Plaintiff Apple Inc.

   Dated: June 14, 2023

          IT IS SO ORDERED this 16th day of June, 2023.




                                        The Honorable Jennifer L. Hall
                                        United States District Court Magistrate Judge




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                                             EXHIBIT A


             I,                                    , acknowledge and declare that I have received a

  copy of the Protective Order (“Order”) in Apple Inc. v. Masimo Corp. et al., United States

  District Court, District of Delaware, C.A. Nos. 22-1377-MN-JLH and 22-1378-MN-JLH.

  Having read and understood the terms of the Order, I agree to be bound by the terms of the

  Order and consent to the jurisdiction of said Court for the purpose of any proceeding to enforce

  the terms of the Order.


             Name of individual:

             Present occupation/job description:




             Name of Company or Firm:

             Address:


             Dated:



                                                         [Signature]
  10869538




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